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                             UN ITED STA TES D ISTRICT COU RT
                             SOU TH ERN D ISTR ICT O F FLO RIDA
                                       M iam iD ivision

                                                  M DL N o.2599
                                                  M aster File N o.15-02599-M D-M O R EN O
                                                  Econom ic LossN o.14-24009-C V -M O R EN O

   IN RE:

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                                                             IN TR O D UC TIO N

               This m ultidistrict litigation (4C
                                                M DL'') consolidates allegations of economic loss and
    personalinjury related to airbags manufactured by defendants Takata Corporation and TK
    Holdings(collectively,Cl-l-akata''landequippedin vehiclesmanufacturedbyDefendantsFCA US
    LLC (1$FCA''),GeneralM otorsCompany,GeneralM otorsHoldingsLLC,GeneralM otorsLLC
    (collectively, Cdfleneral M otors'), Daimler AG, M ercedes-Benz USA, LLC (collectively,
    çdM ercedes''),AudiAktiengesellschaft,AudiofAmerica,LLC (collectively,($Audi''),Volkswagen
    Aktiengesellschafl, and Volkswagen Group of America, lnc. (collectively, with Audi,
    itvolkswagen'') (a11automotive manufacturers collectively,ksDefendants'). W hile the Court
    divided theM DL'Scomponentcasesinto two tracks---economiclossforplaintiffsallegingpurely



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   economicdamagesand personalinjury forplaintiffsalleging damagesto aperson- thisOrder
   pertains only to econom ic loss cases.

           TH IS CA U SE com es before the Court upon D efendant FCA 'S M otion to D ism iss

   (D.E.2983),DefendantGeneralM otors'sMoticm toDismiss(D.E.2981),DefendantsMercedes's
   andVolkswagen'sM otiontoDismiss(D.E.2988),andDefendantM ercedes'sSeparateM otionto
   DismissforLack ofStanding (D.E.2982). lndividually,theM otionsseek to dismissallclaims
   alleged in threeseparate Am ended Consolidated ClassAction Complaints:Boyd v.FCA US LLC

   (id#t?y2')(D.E.2758);Whitakerv.GeneralMotorsCompany,etal.tcErF'
                                                                 /k/fclrr''l(D.E.2759);and
   Puhalla v. Volkswagen Aktiengesellschajt,etal.1 (içpuhalla'') (D.E.2762) (collectively,the
    l'AmendedConsolidatedClassActionComplaints'').
           THE COURT has thoroughly reviewed the Amended Consolidated Class Action

    Com plaints,theD efendants'M otionsto Dism iss,the Plaintiffs'O m nibusResponse in O pposition

    (D.E.3034)(theitomnibusResponse''ortdopposition''),andtheDefendants'Reply memoranda
    (D.E.3094,3098,3103).TheCourtalsoheard oralargumentfrom thepartieson certain issues
    raised in the moving papers. (SeeD.E.3139). This Orderpertainsonly to standing,personal
   jurisdiction,and the sufficiency ofPlaintiffs'claimsunderthe Racketeering Influenced and
    CorruptOrganizationsActC(R1CO'').TheCourtreservesrulingona11otherclaimsnotdiscussed
    (includingallclaimsadvancedbytheAutomotiveRecyclerPlaintiffs).Forthereasonsdiscussed
    below ,the Court G R AN TS IN PA R T A N D D EN IES IN PA RT the D efendants' M otions to

    Ilisrniss.

                                            BA CK GR O U N D



            1 The Puhalla Complaint asserts claims against Volkswagen Aktiengesellschafl,
    Volkswagen Group ofAm erica,lnc.,AudiAktiengesellschafl,AudiofAm erica,LLC,M ercedes-
    B enz U SA ,LLC,and D aim lerA G .

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           Plaintiffs are consumers ofDefendants'vehicles thatare equipped with Takata airbags

   containing the propellant am m onium nitrate. Plaintiffs allege am m onium nitrate is an innately

   volatileand unstablepropellantthatimposesan unreasonablerisk ofseriousforeseeableharm or

   death upon driversofDefendants'vehicles.Thecrux ofPlaintiffs'legalclaim sisthatDefendants

   knew orshouldhaveknown ofthesedefectspriorto installingtheTakataairbagsintheirvehicles,

   and thatD efendantsconcealed from ,orfailed to notify,the Plaintiffs and the generalpublic ofthe

   fulland complete nature ofthe defect,despite being awareofproblem sarising during thedesign

   andtestingprocess,and through variousnlptureincidentsand recalls. TheDefendantsvigorously

   contestboththeconstitutionalbasesforthisCourttoexercisejurisdiction,andthesufficiencyof
   the allegations supporting Plaintiffs'substantive legalclaim s.

                                          LEG A L STAN D AR D

            i$A pleading thatstates a claim forreliefm ustcontain ...a shortand plain statem entof

    theclaim showing thatthe pleaderisentitled to relief.'' Fed.R.Civ.P.8(a)(2). To survivea
    m otion to dism iss,a çscom plaintm ustcontain sufficientfactualm atter,accepted as true,to çstate a

    claim to relief that is plausible on its face.'''Ashcroh v. Iqbal, 556 U.S. 662 (2009)
    (quotingBellAtl.Corp.v.Twombly,550 U.S.544 (2007:. Detailedfactualallegationsarenot
    required,buta pleading mustoffermore than S%labelsand conclusions''orçda fonuulaicrecitation

    oftheelem entsofthecauseofaction.'' Twombly,550U .S.at555.

           W hereacauseofaction soundsin fraud,however,FederalRuleofCivilProcedure9(b)
    mustbe satisfied in addition to themorerelaxed standard ofRule8. UnderRule9(b),$çaparty
    m uststate w ith particularity the circum stancesconstituting fraud orm istake,''although ldconditions

          person's m ind,'' such as m alice, intent, and know ledge m ay be alleged generally.

    Fed.R.Civ.P.9(b).Sl-
                       f'
                        hetparticularity'requirementservesanimportantpurposeinfraudactions



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   by alerting defendants to the Cprecise m isconductwith which they are charged'and protecting

   defendantsSagainstspuriouschargesofimmoralandfraudulentbehavior.''' r'
                                                                        frCoastRoohng d:
    Waterproohng, Inc.       Johns M anville, Inc., 287        App'x 81, 86                  2008)
    (quotingZiembav.CascadeIntern.,Inc.,256F.3d 1194,1202(11thCir.2001)).
                                             AN A LYSIS

           D efendants m ove to dism iss the Am ended Consolidated ClassA ction Com plaints in their

    entirety on severaljusticiability grounds,and on groundsthatPlaintiffsfailto adequately plead
    theirsubstantive legalclaims. ThisOrderaddresses:(1)the standing challenges broughtby
    M ercedes,Volkswagen,andGeneralM otors;(2)alltheDefendants'personaljurisdictionattacks;
    and (3)a11theDefendants'objectionsto thesufticiency ofPlaintiffs'RICO claims. TheCourt
    will also address preemption and primary jurisdiction challenges made by Mercedes and
    Volkswagen,andthebackground issueofpendentpersonaljurisdiction.TheCourtwillbeginby
    dccidingtheextensivelybriefedstandingandpersonaljurisdictionissues,andthenproceedtorule
    on the sufticiency ofPlaintiffs'RICO allegations. Then the Courtw illconclude by resolving the

    parties'pendentpersonaljurisdictiondispute.
    1.     STA N DIN G

           M ercedes and Volkswagen,and separately GeneralM otors,m ove to dismiss in fullon

    standing grounds the Puhalla and ïkhitaker Com plaints. M ercedes and Volkswagen argue

    Plaintiffs failto sufficiently plead the diinjury in fact''and Sifairly traceable''elementsofthe
    standingtestestablishedby theUnited StatesSupreme Courtinfujan v.Defendersof Wildlfe,
    504U.S.555(1992).GeneralM otorslimitsitsstandingchallengetothedsinjuryinfact''element.
    TheseDefendantsalsoasktheCourttojudiciallynoticeseveralpiecesofextrinsicevidence.For
    instance,M ercedes asks the Courtto judicially notice the Takata Plea Agreement,and then


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   concludethePlaintiffs'alleged injuriesarenotStfairlytraceable''toM ercedes'sconductbecause
   Takatapleaded guilty to defrauding severalauto m anufacturers. GeneralM otors asksthe Courtto

   judicially notice three çspetitions for Inconsequentiality''thatGeneralM otors filed with the
   NationalHighway Trafsc and Safety Administration ((kNHTSA''),and then conclude Plaintiffs
   havenotsufferedandûinjuryinfact''becausetheallegedairbaginflatordefectshavenotmanifested
   in certain m odels of GeneralM otors vehicles. ln their Om nibus Response,Plaintiffs assertthey

   havem orethan adequately alleged standing,and characterize Defendants'M otionsasan attempt

   to relitigate priorrulingsbased upon selectively chosen,and heavily disputed,extrinsic evidence.

           A.     LEG A L STAN D A RD

           Article111oftheUnited StatesConstitutionlimitsfederalcourtjurisdictiontoactualcases
    and controversies.SeeU.S.Const.art.111,j2,cl.1.çs-l-hestandingdoctrineisanaspectofthis
    case orcontroversy requirem ent,and has itsorigins in dboth constitutionallim itations on federal-

    coul'
        tjurisdictionandpnzdentiallimitationsonitsexercise.'''ConeCorp.v.Fla.Dep 'tofln
                                                                                      rans.,
    921 F.2d 1190,1204 (11th Cir.1991) (citing Flastv.Cohen,392 U.S.83,94-101 (1968);
    quoting Warthv.Seldin,422U.S.490,498(1975:.Standingisjurisdictional,andthusamotion
    todismissforlackofstandingistreatedasamotionforlackofsubject-matterjurisdiction under
    FederalRuleofCivilProcedure12(b)(1).Stalleyexrel.Unitedstatesr.OrlandoReg11Healthcare
    Sys.,Inc.,524 F.3d 1229,1232 (11th Cir.2008)+ercuriam)(citing Cone Corp.,921F.2d at
    1232). The party invoking federaljurisdiction bears the burden of establishing standing.
    SeeLujan,504U.S.at561.
           Each elem entofstanding Slmustbesupported inthesam eway asanyotherm atteron which

    the plaintiffbearsthe burden ofproof.'' 1d. ln am otion to dism iss,tsgeneralfactualallegationsof

    injuryresulting from thedefendant'sconduct''maybesufficientto allegestandingbecauseona
    m otion to dism iss courts presum e that generalallegations em brace those specitic facts that are

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   necessary to supportthe claim, Id (quotingfujan v.Nat1 Wildl# Fed'n,497 U.S.871,889
    (1990)).
          ToestablishArticlcI11standing,aplaintifftsmustallegepersonalinjuryfairlytraceableto
   the defendant's allegedly unlawfulconductand likely to be redressed by the requested relief''

   DaimlerchryslerCorp.r.Cuno,547U.S.332,342(2006)(quotingAllenv.Wright,468U.S.737,
    751(1984)).Morespecifically,constitutionalstandingrequires:(1)thattheplaintiffsufferedan
    injuryinfact aninvasionofalegallyprotectedinterest,whichis(a)concreteandparticularized,
    and (b)actualorimminent,notconjecturalorhypothetical;(2)theremustbeacausalconnection
    between theinjury and the conductcomplained of- theinjury hasto be fairlytraceableto the
    challengedactionofthedefendant;and(3)itmustbelikely,asopposedtomerelyspeculative,that
    theinjurywillberedressedbyafavorabledecision.SeeLujan,504U.S.at560(citationsomitted).
           B.     SCIN JU RY IN FA CT ''
                  1. M ercedcsand Volksw azen

           M ercedes and V olksw agenz argue thatthe Plaintiffs have notestablished they suffered an

    çdinjul'yinfact''becausethePlaintiffsonlyallegettpossiblyfutureinjury,''whichisnotaSlcertainly
    impending''injury.(D.E.2988at65-66.)M ercedesandVolkswagenfurtherarguethatPlaintiffs
    failtoestablishaneconomicinjuryinfactbecauseilallPlaintiffswillreceiveareplacementinflator
    assoon aspartsare available,atno costto them .'' ld at65.

                         a) M anifestation ofDefect




           2 The Puhalla Com plaintm akesclear that(ktvolksw agen'and (V olksw agen Defendants'
    referstoVW AG,VW America,AudiAG,andAudiAmerica.''(D,E.2762at!30.)Accordingly,
    throughoutthis Order,allreferences to Volkswagen necessarily encompassAudiAG (sûAudi
    Aktiengesellschaff')andAudiAmerica(iiAudiofAmerica,LLC''),unlessandtotheextentthat
    the Audientitiesarespecifically discussed.

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           M ercedesand Volkswagen assertthatthereisno injuryin factbecausePlaintiffsdo not
   allege thatçsany Takata intlatoratissue in thiscase ruptured in any vehicle sold by Defendants,''

   and thus,Plaintiffs 'khave alleged only non-actionable hypotheticalharm.'' (D.E.2988 at65
    (emphasisin originall.)
           U pon close review of the Puhalla Com plaint,the Courtfinds that Plaintiffs sufficiently

    allegean injuryinfact.PlaintiffsallegethattsgalllTakataairbagsatissueinthislitigation sharea
    com mon, uniform defect:the use of amm onium nitrate, a notoriously volatile and unstable

    compound,asthepropellantin Defendants'defectively designed intlators.'' (D.E.2762 at!4.)
    Plaintiffs then plead several issues w ith Takata airbags that w ere installed in M ercedes's and

    V olksw agen's vehicles, stem m ing from the use of am m onium nitrate. For exam ple,Plaintiffs

    allege that:M ercedes had concerns about itm odule cover tearing,''idcushion tearingr''and Stthe

    m odule having integrity during and post-deploym enf';M ercedes w as aw are Takata airbags had

    Ssperform ance problem s plaguing the inflators''and had tkdifficulty m eeting U SCAR standards'';

    and M ercedes forwent tskey performance variables'' in order to approve Takata airbags.

    Id at!! 182-84,186.
           Asto Volkswagen,PlaintiffsallegeVolkswagen ç'hadrepeated quality issueswith Takata,''

    includingt'failedairbagmodulesduringtesting''andSsairbagtearing.''Id at!!163-64.Plaintiffs
    then plead thatVolkswagen latertsreported gthejtorn airbag to Takata''and expressed concern
    (soveraflamethatoccurredduringtesting,andapparentcushionruptures.''Id at! 164.Plaintiffs
    also allege incidents ofTakata airbag issues during testing conducted by Volkswagen,such as

    ddammonium-nitrateinflatorsgcomingjapartduringbonfiretesting''and çtan inflatorruptureglin
    Brazil during testing.'' Id at !!165-66. Plaintiffs further allege ts-l-akata also informed
    V olkswagen thata greaterpropellantsurface area ...could significantly increase theburn rate and



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    inflator pressurization, to the point of nlpture,'' and thus V olksw agen knew that Takata's

    ammonium-nitrate propellanttscould be susceptibleto long-term aging and degradation.'' Id at

    ! 167.
           Notwithstanding Plaintiffs'allegaticms- that M ercedes and Volkswagen expcrienced a

    seriesofperformanceissueswith Takata airbagsinstalled in theirvehicles,which were defective

    becausethey contained innately unstable am m onium nitrate- M ercedesand V olksw ageù contend

    thatthe Plaintiffs merely allege dûnon-actionable hypotheticalharm ''because they do notallege

    that Sçany Takata inflator at issue in this case ruptured in any vehicle sold by D efendants.''

    (D.E.2988 at 65 (emphasis in originall.) This argument attempts to relitigate the same
    manifestation ofdefectargumenttheCourtalreadyrejectedearlierin thislitigation.Previously,
    M azdam ovedto dismissccrtain claim sarguingtheplaintiffsdid notallegethatisany otherM azda

    m odel,orany M azda vehicle form odelyears 2003-2007 ...everm anifested the alleged defect.''

    (See D.E.608 at210.) The Courtrejected thisargumentand explained thatSililfTakatahad
    installed grenadesin itsairbagsthatm ay ormaynotexplodeon impact,a coul'twould notrequire

    an explosion to demonstrate manifestation ofa defect.'' In re Takata Airbag Prod.Liab.Litig.,

    193 F.Supp.3c11324,1335 (S.D.Fla.2016). The point,the Courtemphasized,wasthatthe
    defective airbagsmightprotectvehicle occupants,ormay notprotectvehicle occupantsatall,or

    the airbags may create a m ore dangerous situation than having no airbag ata11by expelling m etal

    shrapnel. 1d.

             ln Tershakovec v,Ford M otor Co.,the Courtfollowed its ruling in In re Takata and

    declined to dism iss breach of express w anunty claim s atthe m otion to dism iss stage. 2018 W L

    3405245,at*6(S.D.Fla.July 12,2018). TheCourtexplainedthatitwasSsprematuretodismiss
    claim s at the m otion to dism iss stage because of a plaintiff's failure to encounter the alleged



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    defect,''becausetseventhoughthellFloridaPlaintiffsdidnotexperience (thedefect),thealleged
    breach ofexpresswarranty couldhavemanifested itselfwhen theirvehicleswereassembled.''f#.

    Thus,tsthepossibilityofencountering (thedefectj asalleged wasnothypothetical,butavirtual
    certainty,''ld

           H ere,Plaintiffs allege the airbags installed in M ercedes's and Volksagen's vehicles are

    defective because they contain innately unstable am m onium nitrate, and thus create an

    unreasonableandimminentriskofinjurytovehicleoccupants.ConsistentwiththisCourt'sprior
    rulingsinInreTakata andTershakovec,theCourtfindstheseallegationssufficientlypleadinjury
    in fact,

                         b) EconomicIniurv
           M ercedes and V olksw agen also argue that Plaintiffs fail to allege any econom ic

    injuryin fact. Specifcally,M ercedesandVolkswagen arguePlaintiffscannothave suffered an
    economicinjury becausetherecallnoticesmakeclearthatPlaintiffsçswillrecciveareplacement
    intlatorassoonaspartsareavailable,atnocosttothem.''(D.E.2988at65.)
           lntheEleventhCircuit,çsgelconomicharm andphysicalinjuryarewell-establishedinjuries-
    in-factunderfederalstandingjurispnzdence.'' Adinolfev.United Techs.Corp.,768 F.3d 1161,
    1172 (11th Cir.2014). FollowingAdinolfe,theCourtin Melton v.CenturyArms,Inc.denieda
    m otion to dism issforlack ofstanding where theplaintiffsalleged they suffered dieconom icharm

    such as overpaym ent,loss ofvalue,or loss ofusefulness em anating from the loss oftheirbenefit

    ofthe bargain''stem m ing from an alleged m anufacturing defect. 243 F.Supp.3d 1290,1298-99

    (S.D.Fla.2017).Andearlierinthislitigation,theCourtrejectedtheveryargumentadvancedby
    M ercedes and Volkswagen here, ruling that the plaintiffs adequately pleaded an eccmom ic

    injuryin fact. Previously,Takatamoved to dismissRICO claimsarguing thattheplaintiffsdid
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    notallegeiéanyspecificloss,''andthatçdanylossrelatedtotheintlatordefectgcouldlbealleviated
    ifa consumeravailged)himselfofa free replacementairbag offered aspartof...gthe)recall
    arrangement.''InreTakataAirbagProd Liab.Litig.,2015W L 9987659,at*2(S.D.Fla.Dec.2,
    2015). The Courtdenied Takata's motion to dismiss on this ground,finding sufficientthe
    plaintiffs'allegationsthatthey overpaid forvehicles based on m isinformation regarding vehicle

    safety,they overpaid for airbags w ithin the vehicles,and the vehicles they purchased dim inished

    in valueafterthepublic learned abouttheairbag defect.1d.

           Liketheirpredecessors,thePlaintiffshereassertthey suffered economicinjuriesandare
    entitled to dam agescom prising the valuethey overpaid fortheirvehiclesbased on m isinform ation

    about vehicle safety, and for the dim inution in value of the vehicles follow ing the negative

    publicityaboutvehiclesafety.(D.E.2762 at!! 18,20.) Plaintiffsfurtherallegetheysuffered a
    variety ofothereconomic injuriesincluding out-of-pocketexpensesand costsassociated with
    taking tim eofffrom work,paying forrcntalcarsorothertransportation arrangem ents,and child

    care. Id at!36. Finally,each Plaintiffindividuallyallegesthey would nothavepurchased or
    leasedaclassvehicleiftheyknew abouttheairbagdefect.Seeid at!!39-127.
           ln short,Plaintiffs'allegationsareidenticalto thosetheCourtpreviously found sufficient.

    Accordingly,the CourttindsthatPlaintiffs sufficiently allegean economic injuryinfactasto
    M ercedesand Volkswagen.

                   2. G eneralM otors

           GeneralM otors argues Plaintiffs have notestablished they suffered an injury in fact
    becausethey ûddonot(andcannot)allegeamanifestdefect.'' (D.E.2981at54.) GeneralM otors
    furtherarguesPlaintiffscannotestablishaneconomicinjuryinfactbecausethePlaintiffsCtwhose
    vehiclesdid notmanifestadefectgcannotlhavecognizableclaimsbased on allegationsthatthe



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    vehicleshaveadiminished resalevalue.''Id at53.

                          a) M anifestation ofDefect
           D espite acknow ledging that the Court çspreviously deferred ruling on m anifest defect

    argumentsuntilthesummaryjudgmentstage,''GeneralMotorsmaintainsthatPlaintiffsiddo not
    (andcannot)allegeamanifestdefect''andthustseachandeveryplaintiffshouldbedismissed.''1d.
    at50,54-55.

           Plaintiffs allege that GeneralM otors çdbegan equipping its vehicles w ith Takata's airbags

    intheearly2000s''andthat$çga1llTakataairbagsatissueinthislitigationshareacommon,uniform
    defect: the use of am m onium nitrate, a notoriously volatile and unstable com pound, as the

    propellantin theirdefectively designed intlators.'' (D.E.2759 at!!6,105.) Plaintiffsfurther
    allege Takata airbags m ade for G eneralM otors's vehicles nlptured during testing on num erous

    occasions,seeid.at!!110-11,115-17,andthatGeneralMotorsalso experienced atleastthree
    tleld ruptures, w hich on one occasion lefl the driver û'com pletely blind in one eye,''

    id at!! 119,121. Plaintiffs allege these ruptures,or Esenergetic disassemblies,''involve (dan
    explosion ofthe inflatorthatcausesthe inflatorto break apartand fire m etalparticulate outofthe

    airbag.''fJ.at! 110.AflerreviewingtheWhitakerComplaint,theCourtfinds- asitdidwiththe
    allegationsagainstM ercedesand Volkswagen thatPlaintiffssufficiently allegeinjury in fact
    w ith respectto GeneralM otors.

           G eneralM otors m aintains the allegations leveled againstitStare different''from M ercedes

    and Volkswagen because,assetforth in GeneralM otors'sStpetitionsforlnconsequentiality''filed




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    with NHTSA,S Ssthe Takata airbags in GM T900 vehicles have never nlptured and there is no

    indication any everwill.'' (D.E.2981at51(emphasisinoriginall.) TheGM T900 Slisaspecific
    vehicleplatform thatform sthe stnlcturalfoundation fora variety ofGM trucksand sportutility

    vehicles, including the Chevrolet Silverado 1500, GM C Sierra 1500, Chevrolet Silverado

    2500/3500,GM C Sierra2500/3500,ChevroletTahoe,ChevroletSuburban,ChevroletAvalanche,

    G M C Y ukon,GM C Yukon X L,Cadillac Escalade,Cadillac Escalade ESV ,and CadillacEscalade

    EX T.''4 G eneralM otors does not,how ever,extend this argum entto the Takata airbags installed

    in non-GM T900 vehicles such as the ChevroletCruze,a vehicle the Plaintiffs allege suffered at

    least tw o field intlator ruptures, and w hich left one driver Stcom pletely blind in one eye.''

    (D.E.2759at! 121).AndPlaintiffsalsoallegetheChevroletCruzeiskésubjecttocurrentorfuture
    recalls due to the lnflator D efect,''along w ith several other vehicles m anufactured by G eneral

    M otors that extend beyond the GM T900 platform ,such as the Buick Lacrosse,Cadillac X TS,

    G M C Terrain, Saab 9-3, Saturn A stra, and the Chevrolet Cam aro, Equinox, and M alibu.

    ld at!77.
           Again,GeneralM otors'sargumentisessentiallythesam em anifestationofdefectargum ent

    advanced by M azdaearlierin thislitigation. In m oving to dismissa11damagesclaimsforfailure




           3 General Motors asks the Court to judicially notice the three Petitions for
    lnconsequentiality that it fled with NHTSA. For the sam e reasons stated below regarding
    M ercedes'srequestforjudicialnoticeoftheTakataPleaAgreement,seeinh.a Section I.C.2.a.1,
    the Courttakesjudicialnotice ofthe factGeneralM otorsfiled PetitionsforInconsequentiality
    withNHTSA andthatthecontentssay whatthey say;buttheCourtcannotjudiciallynoticethe
    contentsofthePetitionsfortheirtruth- asto do so would Ssbypassglthesafeguardswhich are
    involved w ith the usual process of proving facts by com petent evidence in district court,''
    Shaharv.Bowers,120F.3d211,214(11th Cir.1997).
          4See GeneralM otorsLLC '
                                 sPetitionforInconsequentiality and RequestforDeferralof
    D eterm ination Regarding Certain Gltff'
                                           ppp Vehicles Equipped w ith Takata ''SPI YP ''and ''PSPI-
    L YD ''PassengerInjlatorsat2,availableathttps://-        .regulations.gov/document?D=NHTsA-
    2016-0124-0002(lastvisitedJune20,2019).

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    to allege m anifestation of a defect, M azda em phasized that the plaintiffs alleged isonly one

    m anifestation ofan InflatorDefectin aM azdavehicle- aDecember31,2014 incidentin a2008

    M azda6- and thatvehicleowner(wasjnotanamedplaintiff.''(D.E.608at10.) M azdafurther
    em phasized thattheplaintiffsfailed to allegeçithatany otherM azdamodel,orany M azdavehicle

    form odelyears2003-2007 ...everm anifested thealleged defect.''Id

           The Courtdeclined to dism iss allclaim s fordam ages againstM azda because- regardless

    of whether ruptures occurred in certain vehicles- plaintiffs' allegations w ere that am m onium

    nitrate wasinnately unstable'
                                ,so (tlbly definition''thisalleged instability would mean thatthe
    defective airbags m ightprotectvehicle occupants,orm ay notprotectvehicle occupants atall,or

    the airbags m ay even create a m ore dangerous situation than having no airbag atal1by expelling

    m etalshrapnel.In re Takata Airbag Prod.Liab.L itig.,193 F.Supp.3d at 1335. A ssuch,because

    there w as Sçno w ay to know w hether the airbags at issue w ould perform satisfactorily in an

    accident,''the Courtrefused to tsrequire an explosion to dem onstrate m anifestation ofa defect.''

    Id ;see also Tershakovec,2018 W L 3405245,at*6 (denying motion to dismissbecause dtthe
    alleged breach of express warranty could have manifested itself when thegl vehicles were
    assembled,'' and thus Ssthe possibility of encountering (the defectl- as alleged- was not
    hypothetical,butavirtualcertaintf'l;Inre GeneralMotorsLLC Ignition Switch Litig.,257 F.
    Supp.3d 372,458 n.30 (S.D.N.Y.2017)(idglltwould be perverse to require gplaintiffjto be
    involved in an accidentto provethathercarmanifested the defect....'')(citing ln re FJ/CJ/J
    AirbagProd Liab.Litig.,193F.Supp.34at1335:.
            Throughoutthis case,the Courthas reapplied this rationale to other defendants seeking

    dism issalon sim ilar grounds.See,e.g.,In re FJO /J Airbag Prod Liab.Litig.,255 F.Supp.3d

     1241,1258 (S.D.Fla.2017)(rejecting Honda'smanifestation ofdefectargumentidgclonsistent



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    withtheCourt'sMazdaOrder'');InreTakataAirbagProd Liab.Litig.,2017W L2406711,at*10
    (S.D.Fla.June 1,2017)(same asto Takata);Inre TakataAirbag Prod.Liab.Litig.,2017 W L
    775811,at*4 (S.D.Fla.Feb.27,2017)(sameastoFord);InreTakataAirbag Prod.Liab.Litig.,
    2016W L5848843,at*5(S.D.Fla.Sept.21,2016)(sameastoToyota);InreTakataAirbagprod
    Liab.Litig,2016W L 6072406,at#10(S.D.Fla.Oct.14,2016)(sameastoBM W ).Andlikea11
    the previousplaintiffs,the Plaintiffshere allege thatTakata airbags installed in GeneralM otors's

    vehicles contain innately unstable am m onium nitrate, and thus create an unreasonable and

    imminentrisk ofinjury tovehicleoccupants.Seesupra.Accepting theseallegationsastrue,the
    CourttqndsthatPlaintiffsadequatelypleadinjuryinfact.
           HoldingasidetheCourt'spriorrulings,thesignificanceofapetition forinconsequentiality

        that, once granted, a m anufacturer's vehicles and replacem ent equipm ent are

    Ctexemptgedj...from the F ationalTraffic and M otorVehicleSafetyAct'sjnotice andremedy
    requirements.''49C.F.R.j556.1.Butfiling apetitiondoesnottsconstituteaconcessionbythe
    m anufacturer of,nor w illitbe considered relevant to,the existence of a defectrelated to m otor

    vehiclesafetyoranonconfonnity.''49 C.F.R.j556.44*.Andtodate,theCourtisnotawareof
    any finalruling by N H TSA on GeneralM otors'sPetitions.So,G eneralM otorsattem ptsto dism iss

    itselffrom thislitigation on the basisthatoneplaform ofitsvehiclesmightbe clearofrecall
    obligationsimposedby NHTSA. TheCourtdeclinesto departfrom itspriorrulingson thisbasis.

                          b) Economiclniurv
           GeneralMotorsalsoassertsthatPlaintiffsfailtoallegeanyeconomicinjuryinfact.Unlike
    M ercedesandVolkswagen,GeneralM otorsarguesthatthereisnoeconomicinjuryinfactbecause
    theldplaintiffswhosevehiclesdidnotmanifestadefectgcannotlhavecognizableclaimsbasedon
     allegationsthatthevehicleshaveadiminishedresalevalue.''(D.E.2981at53.)



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           In support,GeneralM otorsrelieson Cahen v.Toyota M otorCorp.,aNorthern Districtof

    California case where the plaintiffs soughtdamagesbased on isthe risk offuture harm from the

    alleged productdefect(thatdefendants'cars gwerel susceptible to hacking by third partiesl.''
    147F.Supp.3d955,966(N.D.Cal.2015).GeneralM otorscorrectlynotesthatCahenfoundthe
    risk thatSçvehiclesm ightbehacked atsom epointinthefuture''insufficienttoconstitutea(icredible

    risk of hacking.'' 1d. at 969. But G eneralM otors fails to note that Cahen m ade clear that its

    analysiswasçknottosaythatafutureriskofharm canneversatisfyinjuryinfactanalysis,''because
    (sgallthough a speculative futurerisk willnotsuffice,ia credible threatofharm issufficientto
    constituteactualinjuryforstandingpurposes.''' 1d.at968 (quotingRiva v.Pepsico,Inc.,82 F.
    Supp.3d 1045,1052 (N.D.Cal.2015)). In findingthattheplaintiffs'risk ofharm allegations
    lacked credibility,Cahen em phasized thatthe plaintiffs did notallege ûlthatanybody outside ofa

    controlledenvironmentghadjeverbeenhacked.''ld at969.5
           H ere,unlike the alleged risk of future harm in Cahen,the Whitaker Com plaint sets forth

    numerous allegations ofa universalvehicle defect(Le.the airbags are inherently dangerous
    because they contain innately unstable ammonium nitrate),which are further supported by
    numerous alleged instances of GeneralM otors's vehicles experiencing airbag ruptures during

    testing and in the field. (See D.E.2759 at!!6,110-11,115-17,119,                  Taking these
    allegations astrue,the Courtfinds Plaintiffs credibly allege a risk offuture harm sufficientto

    establishstanding.SeelnreChrysler-Dodge-leep EcodieselM ktg,SalesPractices,tfrProd Liab.




           5EventhoughtheplaintiffsinCahen abandonedtheirçsinjuriesfrom therisk ofhacking''
    argum enton appeal,theN inth C ircuitstillaffirm ed the districtcourton thispoint,noting thatthe
    plaintiffs did notallege thatSlany oftheirvehicles (hadj actually been hacked''and thatthe
    plaintiffsdidnotallegeCsthattheygwerelawareofany vehiclesthatghadjbeen hacked outsideof
    controlled environm ents.'' Cahen v. Toyota M otor Corp., 717 F. App'x 720, 723 & n.1
    (9th Cir.2017).

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    Litig.,295F.Supp.3d 927,950 (N.D.Cal.2018)(noting thatin contrastto the allegationsin
    Cahens idwhen a complaint includes concrete allegations of a current universal vehicle

    defect...thoseallegationsplausibly andspecificallysupportanoverpaymenttheory ofinjury'')
    (emphasisinoriginal).AndasexplainedaboveregardingMercedesandVolkswagen,Plaintiffs'
    claims foreconom ic dam ages resulting from the dim inution ofvalue caused by the allegedly

    defective Takata airbags installed in their vehicles,constitute an economic injuryinfact for
    purposesofstanding.See supra;In re TakataAirbag Prod Liab.Litig.,2015 W L 9987659,at*2;

    M elton,243 F.Supp.3d at1298-99. Therefore,GeneralM otors'sM otion to Dism issthe Krhitaker

    Com plaintforlack ofstanding isD EN IED .

           C.     (SFA IRLY TR ACEA BLE''
           N ext,M ercedes and V olksw agen advance several argum ents thatthe Plaintiffs have not

    pleaded thattheirinjuriesareçsfairly traceable''toM ercedes'sand Volkswagen'sactions. Each
    argum entisaddressed in turn.

                  1. V olksw aeen Sub-c lass C laim s and A udiSub-class C laim s

           First, V olkswagen argues the Court should dism iss any claim s asserted against

    Volkswagen by purchasersorlesseesofAudivehicles,and any claimsasserted againstAudiby

    purchasers orlessees ofVolkswagen vehicles,on grounds these Plaintiffscazmotestablish their

    allegedinjuriesareitfairlytraceable''tomanufacturersthattheydidnotpurchaseorleasevehicles
    from. (D.E.2988 at67-68.) In theirOpposition,Plaintiffsarguetheirallegations thatSCVW
    America,AudiAG,andAudiAmericaareçwhollyownedsubsidiargiesl'ofVolkswagenAG''and
    thatVolkswagen and Auditttogetherûengineered,designed,developed,m anufactured orinstalled

    theDefectiveAirbagsintheVolkswagen-andAudi-branded ClassVehiclesg1andapprovedthe
    DefectiveAirbagsforuseinthosevehicles''' aresufficienttoconferstanding.(SeeD.E.3034
    at93(quotingD.E.2762 at!!26-30).)

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           ln the Eleventh Circuit,'kitiswell-settled thatpriorto the certification ofa class...the

    districtcourtmustdetenninethatatleastonenam ed classrepresentative hasArticle l1lstanding

    to raise each class subclaim .'' Prado-steiman ex rel.Prado v.Bush,221 F.3d 1266, 1279

    (11th Cir.2000). Thismeanstieach claim mustbe analyzed separately,and aclaim calmotbe
    assertedon behalfofaclassunlessatleastonenamedplaintiffhassuffered theinjurythatgives
    risetothatclaim.''Id at1280(quotingGrffinv.Dugger,823F.2d 1476,1483(11th Cir.1987)).
           Following Prado-steiman,courtsrepeatedly dism iss claims underthe rule thata nam ed

    plaintiffin aconsum erclassaction ûicannotraiseclaim srelating to thoseotherproductswhich he

    did notpurchase.'' Tobackv.GNC Holdings,Inc.,2013W L 5206103,at*5(S.D.Fla.Sept.13,
    2013)(citing Prado-steiman,221 F.3d at1279-80);see also,e.g.,Garcia v.KashiCo.,43 F.
    Supp.3d 1359,1394 (S.D.Fla.2014)(same);Holliday v.AlbionLabs.,lnc.,2015W L 10857479,
    at*5(S.D.Fla.June9,2015)tsamel;Barronv.Snyder'
                                                 s-Lance,Inc.,2015W L 11182066,at*17
    (S.D.Fla.M ar.20,2015)(same);Bohlkev.Shearer'
                                                s Foods,LLC,2015 W L 249418,at*3-4
    (S.D.Fla.Jan.20,2015)(same).
           Anothercase,feon r.Cont1AG,301F.Supp.3d 1203 (S,D.Fla.2017),isdirectly on
    point. ln Leon,the courtdism issed consum erclassaction claim srelating to M ercedes-Benz G LK

    Classvehiclesthatwerebroughtby plaintiffswho only purchased M ercedes-Benz C Classm odel

    vehicles even though theplaintiffsallegedboth classesofvehiclesi'contained the samedefect.''

    Id at1221-22(skplaintiffshaveArticle1l1standingtobringtheirclaimsagainstM BUSA,withthe
    exception tp/those claimsadvanced on behalfofowners ofvehiclemodelsthey do notown.'')
    (emphasisadded).
           N otably, Leon dism issed claim s against a single defendant concerning products the

    plaintiffsdid notpurchase,butwhich theplaintiffstried to coupletogetherwith claim slinked to



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    productsthey did purchase. f#. The standing analysishere is lessrigorousbecause standing is

    defendantspecific.SeeDaimlerchryslerCorp.,547U.S.at342 (notingthattoestablishArticle
    I11standing,aplaintiffSçmustallegepersonalinjury fairlytraceableto thede# ndant'
                                                                                   sallegedly
    unlawfulconduct....'')(emphasisadded). And here,thePlaintiffsattemptto couple together
    claimsrelated to productspurchased from fwt?dfferentmanufacturers'
                                                                     ,no lessasserting these
    claim s against m anufacturers from which they never purchased or leased their vehicle. For

    exam ple, despite none of the A labam a sub-class Plaintiffs having purchased or leased

    Volkswagen vehicle (see D.E.2762 at!!55,79,111),this sub-class asserts claims against
    VolkswagenunderAlabamastatuteandcommon-law,seeid at!!353,376,411.TheCourtfinds
    the A labam a sub-class Plaintiffs,and the sub-classes that repeat this pleading pattern,Sdcannot

    conceivably allegeany injuriesfrom productsthat(theylneverpurchased orused.'' Dapeerv.
    NeutrogenaCorp.,95F.Supp.3d1366,1373(S.D.Fla.2015)(dismissingitallofPlaintiff'sclaims
    related to unpurchasedproducts''). Therefore,the Audisub-classeslack Article 1IIstanding to
    bring claim sagainstV olksw agen,and vice versa.

           W hile Plaintiffsargue there are Stno m aterialdifferencesbetw een the D efective Inflators in

    AudiClassVehicles and VW Class Vehicles''(D.E.3034 at93),this Slsufficientsimilarity''
    argument(thoughrecognized by someout-of-circuitauthority)hasbeenrejectedtimeand again
    by courts in thisdistrictthathave followed theEleventh Circuit'sruling in Prado-steiman. See

    OhioStateTroopersAss'n,Inc.r.PointBlankEnterprises,Inc.,347F.Supp.3d 1207,1222(S.D.
    Fla.2018) (dismissing claims on standing grounds and rejecting plaintiffs' argum ents that
    defendant's products $da11 contain identical SSB S system s w ith the sam e defect'' because

    klsimilaritybetweenproductsdoesnotconferstandingintheEleventhCircuit'l;feon,301F.Supp.
    3d at 1221-22 (dismissing claims on standing groundsand noting the Sfssufficientsimilarity'



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    argumenthas not been adopted in the Eleventh Circuit');Garcia,43 F.Supp.3d at 1393
    (dismissingclaimson standinggroundsandnotingt(anamedplaintiffinaconsumerclassaction
    lacksstandingtochallengeanon-purchasedproductbecausethereisno injury-in-factasto that
    product,even ifhepurchasedasubstantiallysimilarproduct.'')(citingToback,2013W L 5206103
    at*4-5).
           ,Bohlke,2015 W L 249418,at*4 (dismissing claimson standing groundsand noting
    ktsouthern District of Florida courts have declined to apply the dsufficiently sim ilar'test,citing

    Prado-steiman,andthisCoul'tagreeswiththosewell-reasonedopinions.'')(citationsomitted).
           Plaintiffsalso argue thatcourtshave ttconsistently certified classesagainstV W represented

    byclassrepresentativeswithanAudivehicleandviceversa.''(D.E.3034at93.)Butthisargument
    relies exclusively on non-binding out-of-circuit authority, which is far outweighed by the

    consensus of authority in the Eleventh Circuit that a nam ed plaintiff in a consum er class action

    cannotraise claim s relating to products thathe or she did not purchase. See supra. The Court

    findsno basis to break away from the weightof authority that has rejected the Stsufticient
    sim ilarity''approach.

           Finally, because Article 111 standing m ust be established on a claim -by-claim basis,

    Sldeferring the standing determ ination to the classcertification stage w illyield no differentresult.''

     Toback,2013 W L 5206103,at*4. Thus,the CourtdeclinesPlaintiffs'invitation to deferruling

    onthisstandingobjection.
           Forthesereasons,M ercedes'sand Volkswagen'sM otion to Dism isstheclaim sbroughtby

    the purportcd Audisub-classes againstVolkswagen,and the claims brought by the purported

     Volkswagen sub-classesagainstAudi,is GR ANTED. Accordingly,a11claim sasserted by the

     Alabam a,M ichigan,and Virginiasub-classesagainstVolkswagen'
                                                                ,and al1claim sasserted by the




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    Arizona, Arkansas, California, Colmecticut, lndiana, Kentucky, Ohio, Pennsylvania, South

    Carolina,and W isconsin sub-classesagainstAudi,areDISM ISSED.6

                   2. R em aininz ddFairlv Traceable''A rzum ents

           Next,M ercedesand Volkswagen argue allclaim sshould be dism issed becausePlaintiffs

    havetsmerely pleadgedlthattheyhavebeen harmed by theriskofrupture''andthatsuch risk is
    supported only by allegationsrelating i*solely to incidentsin othervehiclesm anufactured by other

    parties.'' (D.E.2988 at66 (emphasisin originall.) ln supportofthisargument,Mercedesand
    Volkswagen asktheCourttotakejudicialnoticeoftheTakataPleaAgreement,7whichtheyclaim
    tddem onstrates that any fraudulent conductpurportedly experienced by Plaintiffs stem m ed from

    Takata's actions,not Defendants.'' Id A dditionally,M ercedes separately m oves to dism iss a1l

    claim s against them on grounds they are ûtuniquely situated because Takata sentm ultiple letters

    providing specific reassurances'' that the Takata inflators in M ercedes's vehicles Sçw ere not

    defective,''and thus Plaintiffs cannotplead the isfairly traceable''element. (D.E.2982 at4
    (emphasisinoriginall.)
            TheCourtwillfirstaddressM ercedes'sandVolkswagen'srequestforjudicialnotice,and
    then decide w hetherPlaintiffs sufficiently allege the çsfairly traceable''elem ent.

                           a) TheTakataPleaAzreem ent




            6 A s discussed above,supra atn.2,Plaintiffs m ake clear that in the Puhalla Com plaint,
    Sttvolkswagen'and Svolkswagen Defendants'refersto VW AG,VW Am erica,AudiAG,and
    AudiAmerica,''(D.E.2762 at!30).Thus,whiletheallegationswithin each countonly referto
    V olksw agen,the Courtinterprets the Puhalla Com plaint as asserting these counts againstA udi
    A G and AudiAm erica asw ell.
            7SeeRule 11PleaAgreementin Unitedstatesv.TakataCorp.,Case.No.16-20810(E.D.
    M ich.Jan.13,2018),availableathttps://- .
                                            justice.gov/usao-edmi/page/flc/g3o8zl/download
    (lastvisitedJune20,2019).

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                                 (1)RequestforJudicialNotice8
           M ercedesandVolkswagencontendtheTakataPleaAgreementshouldbcjudiciallynoticed
    asa publicrecord because Sçasan agreem entbetween thegovenzmentand certain Defendants,the

    accuracy of such mattercannotbe questioned.'' (D.E.2977 at6-7.) ln theirOpposition to
    Autom otiveDefendants'RequestforJudicialN otice,Plaintiffsassertitwould bediinappropriate''

    totakejudicialnoticeoftheTakataPleaAgreement'scontentsbecause,interalia,thecontentsare
    heavilydisputedandareunclearasto speciscautomanufacturers'conduct.(D.E.3031at9-12.)
    MercedesandVolkswagenreplythattheTakataPleaAgreementcontainsûdadjudicativefacts''that
    relate to the im m ediate parties,w hich cannotbe reasonably disputed because the statem entsw ere

    madeSiunderoath in acourt-approved documentin supportofga1criminalguilty plea,''and its
    sourceasacourt-approvedpublicrecordcannotbereasonablyquestioned.(D.E.3099at5-7.)
           Takingjudicialnoticeoffactsis'kamatterofevidencelaw''andç$ahighlylimitedprocess.''
    Shahar,120F.3dat214.çs-l-
                            hereasonforthiscautionisthatthetakingofjudicialnoticebypasses
    the safeguardsw hich are involved w ith the usualprocess ofproving factsby com petentevidence

    indistrictcourt.''1d UnderFederalRuleofEvidence201(b),theCourtmaytakejudicialnotice
    of certain factswithoutformalproof,butonly where the factin question is Cénotsubjectto
    reasonabledispute''becauseitisSsgenerallyknownwithinthetrialcourt'stenitorialjurisdiction,''
    or because it (scan be accurately and readily determ ined from sources w hose accuracy cannot

    reasonablybequestioned.''Fed.R.Evid.201(b). dtlndisputability isaprerequisite''tojudicial


           8M ercedes'sand Volkswagen'srequestforjudicialnoticeoftheTakataPleaAgreement
    appears to com e from the Request for JudicialN otice in Supportof A utom otive D efendants'
    M otion to D ism iss Recyclers' First A m ended Com plaint, w hich M ercedes and V olksw agen
    joined.(<
            %eeD.E.2977at2.) BecauseM ercedesandVolkswagennoteintheirmovingpaperson
    multipleoccasionsthattheTakataPleaAgreementissubjecttoarequestforjudicialnotice(see
    D.E.2982at9n.3;D.E.2988at30n.7),theCourtinterpretsthesecitationsasincorporatingby
    referencetheargumentsin theAutom otiveDefendants'RequestforJudicialNotice.

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    notice. Grayson v.Warden,Comm 'r,Alabama Doc,869 F.3d 1204,1225 (11th Cir.2017)
    (quoting UnitedStatesv.Jones,29F.3d 1549,1553(11thCir.1994)).iûlfitwerepermissiblefor
    acourttotakejudicialnoticeofafactmerelybecauseithasbeen foundtobetruein someother
    action,thedoctrineof(issuepreclusionlwould besuperfluous.'' J#.(quotingJones,29F.3d at
    1553)(alterationinoriginal).
           H ere,the parties heavily dispute the veracity and m eaning ofthe statem ents in the Takata

    Plea Agreem ent. M ercedes and Volkswagen vigorously argue that Takata's admissions

    dem onstrate that M ercedes and V olksw agen tiw ere fraudulently induced to purchase allegedly

    defective airbag intlators from Takata,''because Takata adm itted thatthroughoutthe course ofits

    business dealingsitSssprovided the (OriginalEquipmentManufacturersjwith materially false,
    fraudulent, and m isleading test inform ation and data' relating to the airbag intlators.''

    (D.E.2982at9(quotingTakataPlcaAgreementatpp.49-50!22;p.53!32).)
           Plaintiffs strenuously dispute the notion that Takata's adm issions absolve M ercedes and

    Volksw agen ofany liability. For instance,Plaintiffs focus on the use ofthe tso riginalEquipm ent

    M anufacturer''language in theTakata Plea A greem entto em phasize thatthe plea agreem entnever

    mentionsikany oftheDefendantsby namer''and thus'dliltispurespeculation,especially atthis
    stage,to assumethatM ercedes,VW ,orAudi,orany particularDefendantispartofthisundefined

    groupofgoriginalEquipmentM anufacturersl.''(D.E.3034at70-71.)Plaintiffscontendthelack
    ofspecifcityisparticularly troublingbecausetheevidencecollectedto supportthepleaagreem ent

    is dkunknow n,''and therefore the governm ent çscould have been relying on evidence relating to

    Takata's dealings w ith otherautom akers.'' 1d.at71. Plaintiffs furtherargue Takata's adm issions

    in the plea agreementcannotStgo to Defendants'state ofm ind and knowledge,''and accordingly

    constitute isunreliable hearsay upon hearsay.'' Id



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           No m atterhow reliable the adm issions in the Takata Plea Agreem entare,or whatthe

    contents mean,prove,ordo notprove,itis clearthe partiesheavily dispute the contents. And

    because Slgijndisputability is a prerequisite''to judicially noticing facts under Rule 201(b),
    Grayson,869F.3dat1225(quotingJones,29F.3dat1553),theCourtcannotjudiciallynoticethe
    TakataPleaAgreement'scontentsfortheirtrtlth.TodosowouldSsbypassllthesafeguardswhich
    are involved w ith the usual process of proving facts by com petent evidence in district court.''

    Shahar, 120 F.3d at214. Consequently,M ercedes's and Volkswagen'sM otion to Dismiss for

    lackofstanding based on thecontentsoftheTakataPleaAgreem entisDENIED.9

           The Courtmay,however,judicially notice apublic record becausea documentfiled in
    anothercourtistscapable ofaccurate and ready determ ination by resortto sourceswhoseaccuracy

    cannotreasonablybequestioned.''Navarrov.City ofRivieraBeach,192F.Supp.3d 1353,1364
    (S.D.Fla.2016)(quotingBryantv.AvadoBrands,Inc.,187F.3d 1271,1278(11th Cir.1999)).
    Theeffectofsuchjudicialnoticeislimited,however,andistakençsnotforthetruthofthematters
    asserted in the otherlitigation,butratherto establish the factofsuch litigation and related filings.''

    Jones,29 F.3d at1553 (quoting Lf#erl.pMut.Ins.Co.v.RotchesPorkPackers,Inc.,969 F.2d
     1384,1388-89(2dCir.1992)).Followingthisguide,theCourtjudiciallynoticesthefactTakata
    entered into acourt-approved crim inalplea agreementand thatthecontentssay whatthey say.

                                   (2)Plaintiffs'déFairlyTraceable''Allegations
           Even withoutthe Takata PleaAgreement,M ercedes and Volkswagen m aintain Plaintiffs

    have notpleaded theirinjuriesareidfairly traceable''to M ercedes'sand Volkswagen'sconduct
    becausethe PlaintiffsSûm erely plead thatthey have been harm ed by therisk ofrupture''and that



           9 M ercedes's Separate M otion to D ism iss reasserts the sam e argum ent concem ing the
    TakataPleaAgreement.(SeeD.E.2982 at8-10.) TheCourt'srulingapplieswithequalforceto
    this separate M otion,w hich isthusalso D EN IED on thispoint.

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    such risk is supported only by allegations relating Gçsolely to incidents in other vehicles

    manufacturedbyotherparties.''(D.E.2988at66(emphasisin originall.)
           Reviewing the Puhalla Complaint, the Court finds Plaintiffs sufticiently allege their

    injuriesare difairly traceable''to M ercedes'sand Volkswagen'sconduct. Plaintiffsallege that
    M ercedesand Volkswagen t'wereintim ately involved in thedesign and testing ofthe airbagsthat

    containedtheInflatorDefect,''andthattsgpjriortoinstallingtheDefectiveAirbagsintheirvehicles,
    (Mercedesand Volkswagenjknew orshouldhaveknown ofthelnflatorDefect,becauseTakata
    inform ed them thattheDefectiveAirbagscontained thevolatile and unstableamm onium nitrate.''

    (D.E.2762at!!7,238.) PlaintiffsfurtherallegeMercedesandVolkswagendsconcealedfrom,or
    failed to notify,Plaintiffs,Class m em bers,and the public ofthe full and com plete nature ofthe

    lnflator Defect''even though M ercedes and Volkswagen Siwere m ade aware through problem s

    arising during the design process,testing, ruptures and other adverse events,public reports of

    rupturesandadverseevents,andregularrecallsstartingnolaterthan2008.''Id at!238.
           Specific to M ercedes,Plaintiffs allege,inter alia,that M ercedes:ûsregularly audited and

    reviewedTakata'sm anufacturingprocesses,includingvisitsto,andchecksof,Takata'sfacilities,''

    id at! 175,
              .tkclosely reviewed proposed airbag designsfrom Takata,and employed extensive
    design and productvalidation processes,''id ;and dEwas aware of Takata's use of am monium

    nitrate,including allteclmicaldetails ofallegedly phase stabilized amm onium -nitrate inflators,

    priorto itsapprovaloftheDefective Airbagsforusein MercedesClassVehicles,''id.at! 180.
    Plaintiffs further allege M ercedes had çlspecific ûconcerns' regarding the perform ance of the

    D efective Inflatorsprior to approving them foruse in the Class V ehicles,''which included issues

    w ith tûm odule covertearing,''çtcushion tearing,''and ttthem odule having integrity during and post-

    deployment.''ld at!!182-83.PlaintiffsalsoallegedtthedefectiveTakataAirbagsfailedtomeet



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    M ercedes'sownrequirementsforapproval,''and allegeseveralinstancesofperform anceissuesto

    supportthisclaim.Seeid.at!! 183-87.Finally,Plaintiffsallegethatûsgnlotwithstandingrecalls
    and notices by other manufacturers, and M ercedes's awareness of the risks and/or dangers

    presented by amm onium -nitrate dependent inflators, M ercedes buried its head in the sand,

    claimingitdid notbecom eawareoftheissuesrequiringrecallsoftheClassVehicles''until2016.

    1d.at! 192.
           Specific to Volksw agen,Plaintiffs allege Volksw agen Slapproved the airbags for use in its

    vehicles''even though it isknew not only thatthe airbags used am m onium nitrate propellant,but

    thatpropellantdegradation could causea lossoftheinflator'sstructuralintegrity.'' 1d.at!8.
    PlaintiffsfurtherallegeS%gpjersistentqualityproblemsanddisturbingtestresultsprovided further
    warningto Volkswagen,includinga num berofinflatorscom ing apartduringtesting in 2004,and

    ruptures during testing in February 2009,''w hich wasSlpunctuated by a rupture in April2009 that

    led Volksw agen and Takata to directly discuss precisely the failure m echanism s and risks.''

    Id at!9.Andasdiscussedabove,PlaintiffsallegeVolkswagenhadidrepeatedqualityissueswith
    Takata'' including: failed airbag m odules during testing'
                                                             , reporting a torn airbag to Takata'
                                                                                                ,

    experiencing airbag tearing; expressing concern over a flam e that occurred during testing, and

    apparent cushion nlptures. See supra Section l.B .1.a. Plaintiffs also allege V olksw agen

    experienced incidents of amm onium -nitrate intlators com ing apart during bonfire testing

    conducted by Volkswagen,andan inflatorruptureinBrazilduring testingby Volkswagen.Seeid.

    Finally,Plaintiffs allege St-l-akata also infonned Volkswagen that a greater propellant surface

    area ...could significantly increase the burn rate and intlator pressurization,to the point of

    rupture,''and therefore dçvolkswagen ...knew in 2009 and earlier- thatTakata's amm onium -

    nitratepropellantcouldbesusceptibletolong-term aginganddegradation.''Id at! 167.



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           Theseallegationssuffcientlypleadthattheallegedinjuriesinfact(i.e.theriskofphysical
    injury,and actualeconomic injuries) are dkfairly traceable''to M ercedes's and Volkswagen's
    conduct,because M ercedes and Volkswagen knew orshould have known ofthe alleged intlator

    defect. Even when considering the factTakata pleaded guilty to çtprovidginglthe (Original
    EquipmentM anufacturersqwithmateriallyfalse,fraudulent,andmisleadingtestinformation and
    data''relatingtotheairbagintlators(D.E.2982at9(quotingTakataPleaAgreementatpp.49-50
    !22;p.53!32)),Plaintiffshavesufficiently allegedM ercedesandVolkswagenhadindependent
    knowledgeoftherisksposed byinstalling Takataairbagsin theirvehicles.Therefore,M ercedes's

    and V olksw agen's M otion to Dism iss allclaim s againstthem ,on grounds thatPlaintiffs failto

    allegethek'fairly traceable''elem entofthefujan standingtest,isDENIED.
                          b) TheTakataLetters
           Finally,M ercedesseparately m ovesto dism iss a11claim s againstthem on groundsthey are

    Séuniquely situated because Takata sentm ultiple letters providing specific reassurances''thatthe

    Takata inflators in M ercedes'svehicles Stw ere notdefective,''and thusPlaintiffscannotplead the

    Sçfairlytraceable''element.(D.E.2982at4(emphasisinoriginall.) M ercedesfactuallyattacksthe
    basis for standing by presenting the Courtw ith three letters from Takata.

           A motiontodismissforlack ofstanding istreated asamotion forlack ofsubject-matter
    jurisdiction underFederalRuleofCivilProcedure 12(b)(1).Stalley,524F.3d at1232.W herea
    litigant factually attacks subject-matterjurisdiction under Rule 12(b)(1),they challenge dithe
    existenceofsubjectmatterjurisdictioninfact,irrespectiveofthepleadings.''fawrencev.Dunbar,
    919F.2d 1525,1529(11thCir.1990)(quotingMenchacav.ChryslerCreditCorp.,613F.2d507,
    511(5th Cir.1980)). In such instances,S'mattersoutside thepleadings,such astestimony and
    affidavits,areconsidered.''Id Butwhen afactualjurisdictionalchallengeimplicatesthemerits


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    oftheunderlying claim ,then itthe propercourse ofaction forthe districtcourt...isto find that

    jurisdiction existsand dealwith theobjection asa directattack on themeritsofthe plaintifps
    case....'' M orrison v.Wwwtzy Corp.,323 F.3d 920,925 (11th Cir.2003)(quoting Garcia r.
    Copenhaver,Bellt:
                    çrAssocs.,M D.'
                                  s,P.A.,104F.3d 1256,1261(11th Cir.1997)).
           Here,the thrustof M ercedes's standing challenge is thatthey did not installdefective

    airbags in any oftheir vehicles,w hich is contsrm ed by Takata's correspondence w ith them ,and

    thus M ercedes did notdefraud any consum ers. ln order words,any purported hanu Plaintiffs

    suffered iican be traced only to Takata's fraudulent conductr'' and not M ercedes's conduct.

    (D.E.2982at3.)M ercedes'schallengedirectlyimplicatesthemeritsofthecasebecauseitattacks
    the Plaintiffs'theory offraud:thatM ercedesw asdtintim ately involved in the design and testing of

    theairbags''and sothey Slknew ,and certainly shouldhaveknown,thattheTakataairbagsinstalled

    in millionsofvehiclesweredefective,''andthusMercedesisliableforhavingçsconcealledqtheir
    know ledge of the nature and cxtentof the defect from the public,w hile continuing to advertise

    theirproductsassafeandreliable.''(D.E.2762at!!7,17.)
           Because M ercedes'sSeparate M otion to Dism issimplicatesthe m eritsofPlaintiffs'case,

    theCourtmusttstreatglthemotionasamotionforsummaryjudgmentunderRule56andrefraingl
    from deciding disputed factualissues.''M orrison,323 F.3d at925.Defendantsmaintain thethree

    Takata letters absolve them ofliability. Plaintiffs argue these lettersl'are clearly notthe entire

    universe ofcommunicationsbetween Takataand M ercedes,''and m aintain thatM ercedesisliable

    forahostofviolationsoffederalandstatelaw.(D.E.3034at76.) lnamultidistrictlitigationcase
    spanning severalyearsand entailing volum inousrecords,the Courtfindsitpremature to decide

    factual issues and dismiss the entire lawsuit against M ercedes on the basis of three letters

    containing unsworn hearsay statem ents,withoutthe benefitofa fully developed factualrecord.



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    Once that record is developed, the Courtwill entertain the expected m otions fOr Sum m ary

   judgment. Atthisstage,however,M ercedes'sSeparateM otionto Dismissforlack ofstanding
    based ontheseTakatalettersisDENIED asprem ature.

           D.     CO N C LU SIO N
           The CourtfindsPlaintiffs'allegationsestablish Article l1lstanding- exceptwith respect

    to the claim s brought by the purported A udi sub-classes against V olkswagen, and the claim s

    broughtby thepurported Volkswagen sub-classesagainstAudi. To beclear,the Court'sanalysis

    and ntling are limited to the nature ofthe m otion to dism iss stage,where the Courtmusttake

    Plaintiffs'allegations astrue. M ercedes,Volkswagen,and GeneralM otorswillsurely have the

    opportunityatsummaryjudgmentortrialtopresentevidenceconcerningtheirknowledgeof,and
    other causes and factors contributing to, the alleged inflator defects. For now , Plaintiffs

    sufticiently allege Article 111standing.

    l1.    JUR ISDIC TIO N

           Recently,the Courtruled theTransferorPlaintiffs'legalactionsCdTransferorActions'')
    wereSiseparatelegalactions''from theDirect-FilePlaintiffs'legalactions(slDirect-FileActions').
    (SeeD.E.3394 at16-19.) TheCourtfurtherexplainedthatfswhen pretrialproceedingsend,the
    Courtwillsevertorrecommend thatthe gludicialPanelon M ultidistrictLitigationlsever)any
    remaining claimsasserted by theTransferorPlaintiffs including any claim samended directly in

    this M D L proceeding.'' Id at19. The Courtfurtherexplained thatthese çilegalactionsw illthen

    çresumetheirseparateidentities'uponremandtotheappropriatetransferorcourt.''1d.(citingIn
    reReh-igerantCompressorsAntitrustLitig.,731F.3d 586,592 (6th Cir.2013)). ln thisOrder,
    then,the Courtwillresolvethepersonaljurisdiction issuesraised by Defendantsby analyzing
    personaljurisdictionovertheclaimsadvancedintheTransferorActionsseparatelyfrom theclaims
    advanced in the D irect-File A ctions.

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           The presence of foreign-based defendants adds additionallayersto the Court'spersonal

    jurisdiction analysis. M ercedes,Volkswagen,and Audi contend the Court lacks personal
    jurisdiction over the foreign-based parent comorations: Daimler                   Volkswagen
    Aktiengesellschaft, and Audi Aktiengesellschaft (collectively, the ksForeign Defendants').
    Accordingly,the Courtwilldivide itsanalysisagain,thistim e between the Foreign Defendants,

    and their dom estic-based subsidiary corporations:FCA ,G eneralM otors,M ercedes-Benz U SA ,

    LLC,Volkswagen Group of America,Inc., and Audi of America,                   (collectively,the
    CiDomesticDefendants'').Finally,withintheconfinesofthe TransferorActionsand theDirect-
    File Actions,the Coul'
                         tm ustalso address- asto both theDomestic Defendantsand the Foreign

    Defendants two types of personaljurisdiction:iççgeneral' (sometimes called dall-purpose')
    jurisdiction and Sspecific'(sometimescalled tcase-linked')jurisdiction.'' Bristol-MyersSquibb
    Co.v.SuperiorCourtofcallornia,SanFranciscoC/y.,137S.Ct.1773,1779-80(2017)(citing
    GoodyearDunlop TiresOperations,S.A.v.Brown,564U.S.915,919 (2011)).
           M oving separately, each Defendant seeks to dismiss with prejudice the Amended
    ConsolidatedClassActionComplaintsunderFederalRuleofCivilProceduze 12(b)(2)forlackof
    personaljurisdiction.DefendantsarguethattheCourtentirelylacksgeneraljurisdictionunderthe
    multidistrictlitigation transferprovision,28 U .S.C.Section 1407,because the Plaintiffs direct-

    flled the complaints in this m ultidistrict litigation transferee court,and because none of the

    DefendantsarejurisdictionallyStathome''in Florida.Defendantsthenprofferseveralreasonsthat
    theCourtentirelylacksspecificjurisdictionoveranyoftheDefendants.First,Defendantsargue
    thatthe Florida long-arm statute,Fla.Stat.Section48.193,doesnotprovide a basisforspecific

    jurisdiction over any Defendant because Plaintiffs failto allege sufficientfactualmatter to
    establish Florida directed conduct by Defendants. Second,Defendants add that because the



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    PlaintiffsfailtostateplausibleRICO claims,thereisnobasistoexercisespecificjurisdictionover
    the Dom estic D efendants pursuantto the RICO statute'snationw ide service ofprocess provision,

    18 U.S.C.Section 1965(d),by way of Federal Rule of CivilProcedure 4(k)(1)(c). Third,
    Defendantsfurtherarguethatthereisno basisto exercisespecificjurisdiction overtheForeign
    Defendantspursuantto FederalRule ofCivilProcedure4(k)(2),the federallong-arm statute.
    Finally,Defendants contend that the Suprem e Court's ruling in Bristol-Myers requires that the

    Courtdismissa11claim sadvanced by thenon-Floridaputativeclassmem bersforlack ofspecific
    '
    Jurisdiction.
           In their Om nibus Response,Plaintiffs articulate severalbases for the Courtto exercise

    personaljurisdiction overDefendants. Specifically,PlaintiffsarguetheCourtcan exercise:(1)
    generaljurisdiction overthe Domestic Defendantsand specific jurisdiction overthe Foreign
    DefendantspursuanttotheCourt'sauthorityasan MDL transfereecourtunderSection 1407;(2)
    specific jurisdiction over al1 Defendants under the Florida long-ann statute; (3) specific
    jurisdictionovertheRICO claimsassertedagainsttheDomesticDefendantspursuanttotheRICO
    statute's nationwide service of process provision;(4)specific jurisdiction over the Foreign
    DefendantspursuanttoFederalRuleofCivilProcedure4(k)(2),thenationallong-arm statute'
                                                                                      ,and
    (5) pendent personaljurisdiction over a1lremaining federal,state,and common-law claims.
    Plaintiffs also assertthe Court'sexercise ofspecificjurisdiction overany ofthe non-Florida
    putativeclassmem bers'claim sagainstanyoftheDefendantsisnotprecluded byBristol-Myers.

           Before diving into the thorny long-arm statute analyses,the Courtw ill quickly resolve

    M ercedes'sandVolkswagen'ssubject-matterjurisdictionchallenge,andtheparties'disputeover
    the role ofBristol-M yers.

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           M ercedes and Volkswagen argue the Court lacks subject-matter jurisdiction over

    Plaintiffs'requestsforinjunctivereliefon groundsthisreliefshouldbedeniedaspreempted by
    the NationalTraffic and MotorVehicle Safety Act,oraltematively,subject to the primary
    jurisdiction of the National Highway Transportation Safety Administration's (CCNHTSA'')
    authoritytoapprove,administer,andsuperviserecalls.(D.E.2988at85-87.) Plaintiffsrespond
    thatthey çtagree notto seek recall-related injunctive reliefthatwould interferewith NHTSA'S
    rcoordinatedRemedyOrder.l''(D.E.3034 at179.) Accordingly,M ercedes'sandVolkswagen's
    contention ismoot.SeeInreTakataAirbag Prod Liab.Litig.,2015W L 12641693,at*3 (S.D.
    Fla.Sept.21,2015)(denyingmotiontostaythecasebasedontheprimaryjurisdictionofNHTSA
    wheretheplaintiffsagreednotto seek recall-related injunctiverelieg. Notwithstanding,tothe
    extentPlaintiffsseekinjunctivereliefgoingforwardthatwillCtundulyanddirectlyinterferewith
    N H TSA 'S investigatory and regulatory functions,'' or interfere w ith N H TSA 'S Coordinated

    Rem edy Order,theCourtcan addressthisissueatthattime.See JJ Accordingly,M ercedes'sand

    V olksw agen'sM otion to D ism isson these groundsisD ENIED .

           B.     R O LE O F BRISTOL-M YERS
           D efendants argue thatthe Suprem e Court'sdecision in Bristol-M yers requiresthe Courtto

    dism iss a1lclaim s advanced by the non-Floridalo putative class m em bers. In Bristol-M yers,a

    group ofplaintiffs consisting of86Californiaresidentsand592 residentsfrom 33 otherStates



            10The Coul'tnotesthatwhile Defendants'Bristol-Myers contentionsare lim ited to non-
    Floridaputativeclassmem bers,theseargumentstargetedthecomplaintsthatweredirect-filedhere
    in Florida. Furtherm ore,Defendants'argum ents were advanced before the Courtclarified the
    relationship betweentheDirect-FileComplaintsandtheTransferorCom plaints.SincetheCourt's
    priororderestablishedthatthere are separatelegalactions(Le.theDirect-FileActionsand the
    TransferorActions),theCourt'sanalysiswillconstruetheDefendants'Bristol-Myersarguments
    asalso precluding theexerciseofspecificjurisdiction by thetransferorcourtsoverthe claims
    advanced by the TransferorPlaintiffswho are notresidentsofthe statesw here those actionsw ere
    filed.

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    filedeightseparatesuitsasamass-tortactioninCaliforniastatecourt,alleginginjuriescausedby
    the pharmaceutical drug Plavix, which was manufactured by Bristol-M yers Squibb,a non-

    California resident. 137 S.Ct.at1777-78,TheSupremc Coul'truledthatforthe Californiastate

    courttoexercisepersonaljurisdictionoverthenonresidentdefendant,idtheremustbean (affliation
    betweentheforum andtheunderlyingcontroversy,principally,ganlactivityoranoccurrencethat
    takesplacein theforum State.''' Id at1780 (quoting Goodyear,564 U.S.at919)(alterationin
    original). The SupremeCourtfurtherexplained thatSsltlhemere factthatotherplaintiffswere
    prescribed,obtained,and ingested gthe drug)in California and allegedly sustained the same
    injuriesasdidthenonresidents doesnotallow the Stateto assertspecificjurisdictionoverthe
    nonresidents'claims.''1d.at1781(emphasisin original;alterationadded).
           A pplying Bristol-M yers,D efendantsargue the non-lzloridaputative classm em bers'claim s

    mustbe dismissed because they are premised on alleged injuriessustained entirely outside of
    Florida,andarebasedonallegedconductthatdidnottakeplaceinFlorida.(SeeD.E.2981at29-
    32;D.E.2983at34-35;D.E.2988at44-46.) Plaintiffsdisagreeand arguethatçinotonesource
    of this Court's authority to exercise personaljurisdiction over Defendants is affected by the
    Supreme Court'sdecision in Bristol-Myers.'' (D.E.3034 at63.) Specifically,Plaintiffsargue
    Bristol-Myers is limited to state courtlitigation,does notapply in the contextof the (sunique

    jurisdiction ofa federalgmultidistrictlitigation transfereej courq''and in any event,doesnot
    precludeexercisingpendentpersonaljurisdiction.161at63-65.
           The Courtagreeswith Plaintiffs,and isttpersuaded by the growing body of1aw am ongst

    district courts in this Circuit holding that Bristol-Myers does not bar claim s of non-resident

    mem bersofaputative classfrom asserting claimsin federalcourt....'' Lee v.Branch Banking

    (f'Fr.Co.,2018W L 5633995,at*6(S.D.Fla.Oct.31,2018)(denyingmotiontodismissclaims



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    bynortresidentputativeclassmembersunderBristol-Myers4;seealsoBeckerv.HBN Media,Inc.,
    314F.Supp.3d 1342,1345(S.D.Fla.2018)(same);Feldmanv.BRP US,Inc.,2018W L 8300534,
    at*5-6 (S.D.Fla.M ar.28,2018)(same);seealso Goodman v.Sun Tan Cf/z,LLC.,2018 W L
    6978695,at*4-5(S.D.Fla.Dec.14,2018)(recommending same),reportand recommendation
    adopted,2019W L 1112258(S.D.Fla.Jan.8,2019).
           A s Plaintiffs pointout,the Suprem e Courtm ade clearthatBristol-M yers applied Eûsettled

    principles gofl specific jurisdictionr''and critically was limited to state courts exercising
    personaljurisdictionovernonresidentdefendants:Stgolurdecisionconcernsthedueprocesslimits
    on the exerciseofspecificjurisdiction bya State,weleaveopen the question whethertheFifth
    Amendmentimposesthe same restrictionson theexercise ofpersonaljurisdiction by a federal
    court.''Id at1781,83-84 (citing OmniCapital1nt'l,Ltd v.RudolfI'
                                                                  Fb/f/'' Co.,Ltd,484 U.S.
    97,102,n.5(1987)).lndeed,severalcourtsinthisdistricthavereliedonthisexplicitlimitationin
    decliningtoapplyBristol-Myerstofederalcourtsexercisingjurisdictionoverclaimsadvancedby
    non-Florida residents. See,e.g.,Becker,314 F.Supp.3d at 1345;fee,2018 W L 5633995,at*6;

    Goodm an,2018 W L 6978695,at *4,report and recom mendation adopteds2019 W L 1112258.

    The Court agrees w ith these w ell-reasoned opinions, and finds that because the federalism

    concerns thatdrove the Bristol-Myers decision are notpresentin this case,there is no basis to

    dism issanyclaimsadvanced by thenon-Floridaputativeclassmem bers.

           There are additional reasons that Bristol-M yers does not require dismissal of claim s

    advanced by thenon-Floridaputative classm embers. Bristol-Myerswasam assaction products

    liabilitycase notaclassaction case which isadçmeaningfuldifferencegl''thathasttpersuaded
    otherdistrictcourtsto rejecteffortsto expand ïBristol-Myersjtothecontextofnationwideclass
    actions,''Feldman,2018W L 8300534,at*5 (citationsomitted). GeneralM otorsmaintainsthat



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    Bristol-Myersappliesequally tomassaction and putativeclassactions. (D.E.2981at30.) But
    thisargumenthasbeen soundlyrejectedbyaplethoraoffederaldistrictcourts,whichhaveruled
    thatBristol-M yersdoesnotapply in theclassaction context. See,e.g.,Sanchezv.Launch Tech.

    WorkforceSols.,LLC,297F.Supp.3d 1360,1369 (N.D.Ga.2018)Ckln sum,theundersigned
    concludesthat...Bristol-M yers sim ply reaffirm scontrolling due-process 1aw and doesnotapply

    to federalclassactions....'');Molock v.Whole Foods al#/c/.,Inc.,297 F.Supp.3d 114,127
    (D.D.C.2018)(stg-flhecourtjoinstheothercourtsthathaveconcludedthatBristol-Myersdoesnot
    require a coul'tto assess personaljurisdiction with regard to a11non-residentputative class
    members.');TicklingKeys,Inc.v.TransamericaFin.Advisors,Inc.,305F.Supp.3d 1342,1351
    (M .D.Fla.2018)($1gT)heCourtdeclinestoextendBristol-Myerstotheclassactioncontext.');In
    reChinese-M anufacturedDryvvallProd.Liab.Litig.,2017W L 5971622,at*16(E.D.La.Nov.
    30,2017)(Clgfrg/tp/-M yers)doesnotspeak to oralterclassactionjurisprudence.'');Fitzhenry-
    Russellv.Dr.PepperSnapple Grp.,lnc.,2017 W L 4224723,at*5 (N.D.Cal.Sept.22,2017)
    ($$gT)heCourtisnotpersuadedtoextendBristol-Myerstotheclassactioncontextonthesefacts.'');
    see also Becker,314 F.Supp.3d at 1345;fee,2018 W L 5633995,at*6;Feldman,2018 W L

    8300534,at*5-6;Goodm an,2018 W L 6978695,at*5,reportandrecomm endation adopted,2019

    W L 1l12258.
           These district courts have explained that in contrast to m ass-tort actions- where iseach

    plaintiffisarealparty in interestto the complaints,m eaningthatthey werenamed asplaintiffsin

    the com plaints'' in putative classactions,Stone orm ore plaintiffsseek to representthe restofthe

    sim ilarly situated plaintiffs,andtheSnamedplaintiffs'aretheonly plaintiffsactually nam ed in the

    complaint.''Becker,314 F.Supp.3dat1345(quotingFitzhenry-Russell,2017 W L 4224723,at
     *5). lndeed,çigtjheclassaction is tan exception totheusualrulethatlitigation isconductedby



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    and on behalfofthe individualnamed parties only.''' Wal-M artStores,Inc.v.Dukes,564 U .S.

    338,348 (2011)(quoting Calfano v.Yamasaki,442 U.S.682,700--01(1979)). Consequently,
    unlike in am ass-tortaction,lifora caseto qualify forclassaction treatm ent,itneedsto meetthe

    additionaldueprocessstandardsforclasscertification underRulez3- num erosity,comm onality,

    typicality,adequacy ofrepresentation,predom inanceand superiority.'' M olock,297 F.Supp.3d

    at126-27(quotingInreChinese-ManufacturedDrywall,2017W L 5971622,at*14).lnlightof
    these'dadditionalelementsofaclassaction gwhichlsupplydueprocesssafeguardsnotapplicable
    in the m asstol'tcontext,''severalfederaldistrictcourts have held thatBristol-Myers çsdoes not

    require a courtto assess personaljurisdiction with regard to a1lnon-residentputative class
    m em bers.'' Id ;see also supra.
           A s a corollary,then,Bristol-M yers does not require federal courts to analyze personal

    jurisdictionastotheclaimsadvancedbya11thenon-Floridaputativeclassmembersthathavebeen
    consolidated in M DL proceedings.SeelnreChinese-Manufactured DrywallProd Liab.Litig,
    2017 W L 5971622,at*20(i*LBristol-Myersjisaboutlimitingastatecourt'sjurisdictionwhen it
    tried to reachout-of-statedefendantson behalfofout-of-stateplaintiffsin amassaction suit.That

    scenario is inapplicable to nationw ide class actions in federalcourt,such asthe cases before this

    M DL Court.''). And imposing such a requirementwould turn-upside down the multidistrict
    litigationstatute'sgoalofpromotingtheEiconvenienceofpartiesandwitnesses''andtheSjustand
    efficientconduct''ofconsolidatedactions.28U.S.C.j1407(a).
           M ercedes and Volkswagen argue Bristol-Myers precludes the Courtfrom exercising

    pendentpersonaljurisdictionoverthenon-Floridaputativeclassmembers'claims.(D.E.2988at
    45n.19.) ButthisargumenttliesinthefaceofseveralrulingsthatBristol-Myersdoesnotpcrse
    preclude federalcourtsfrom exercising pendentpersonaljurisdiction Overclaimsadvanced by


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    nonresidentplaintiffs.See,e.g.,Sloan v.GeneralMotorsLLC,287F.Supp.3d 840,862 (N.D.
    Cal. 2018) (exercising pendent personaljurisdiction over claims advanced by nomesident
    plaintiffsin lightoftheisabsenceofinterstatesovereigntyconcernspresentinBristol-Myerstt);In
    re Packaged Seafood Prod AntitrustLitig.,338 F.Supp.3d 1118,1172-73 (S.D.Cal.2018)
    (rejecting argumentthatpendentpersonaljurisdiction doctrine did notsurvive Bristol-Myersl;
    Allen v.ConAgra Foods,lnc.,2018 W L 6460451,at*4 (N.D.Cal.Dec.10,2018)(exercising
    pendentpersonaljurisdiction overclaimsbroughtby nonresidentplaintiffsand noting Bristol-
    Myers did notapply becauseççthe Suprem eCourtcouldnothaveintended to severely narrow the

    forum choicesavailabletoclassactionplaintiffswhen itdecidedacaseinvolvingamassaction'')
    (emphasisin original).And theonly authority M ercedesandVolkswagenrely on in supportof
    their argument- Greerlc v.M izuho Bank Ltd ,289 F.Supp.3d 870,875 (N.D.111.2017) is
    inappositc because the plaintiffs there brought iéonly state law claims,''id at 871,and thus,

    importantly,therewereno federalclaimsprovidingabasisforpersonaljurisdictionpursuanttoa
    nationw ide service ofprocessprovision,see Azalp LLC v.Silverstein,2015 W L 12711232,at*5

    (S.D.Fla.Aug.17,2015)(noting the doctrineofpendentpersonaljurisdiction arisesSswhere a
    federalstatute authorizesnationwide service ofprocess and the federaland state claim s dderive

    from acommonnucleusofoperativefacts'....'')(quotingKochv.RoyalWineMerchants,Ltd.,
    847F.Supp.2d 1370,1374(S.D.Fla.2012)).
           In short,Bristol-M yers does notper se preclude this Court,orthe transferor courts,from

    exercising specificjurisdiction orpendentpersonaljurisdiction overclaims advanced by the
    nonresidentputativeclassmembers. Therefore,Defendants'M otionsto Dismissclaim sasserted

    by the nonresidentputative classm em bersunderBristol-M yers are DEN IED .




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          TheCourtwillnow turntothecorejurisdictionissuesin dispute theexerciseofgeneral
    and specificjurisdiction overtheForeignand DomesticDefendantsastotheclaimsadvanced in
    thc Transferorand Direct-FileActions.

                  GEN EM L PER SO NA L JUR ISDICT IO N

                  1. D om estic D efendants

           For dom estic based corporations, the dsparadigm forum '' for the exercise of general

    jurisdiction isSsonein whichthecorporaticm isfairlyregardedasathome.''Bristol-Myers,137S.
    Ct.at 1780 (quoting Goodyear,564 U.S.at924). This includes dtthe corporation'splace of
    incom oration and itsprincipalplace ofbusiness.'' BNSF Ry.Co.v.Tyrrell,137 S.Ct.1549,1558

    (2017)(citingDaimlerAG v.Bauman,571U.S.l17,137(2014);Goodyear,564U.S.at924).
           Generally,once a com plaintis filed,the Courtdeterm inesw hetheritcan exercise general

    jurisdictionovertheassertedclaims.Butinmultidistrictlitigationcases,itiswellestablishedthat
    çûltlransfersunderSection 1407 are simply notencumbered by considerationsofin personam
    jurisdictionandvenue.''InreAgentOrangeProd.Liab.Litig.,818F.2d 145,163(2dCir.1987)
    (quoting In re FMC Corp.PatentLitig.,422 F.Supp.1163,1165 (J.P.M .L.1976:. lnstead,
    following transferunderSection 1407,Slthetransfereejudgehasa11thejurisdiction and powers
    overpretrialproceedingsintheactionstransferredtohim thatthetransferorjudgewouldhavehad
    in theabsenceoftransfer.'' 1d.;seealso InreAuto.Rehnishing PaintAntitrustLitig.,358F.3d
    288,297 n.11(3d Cir.2004)(i1Ascorrectlyconcluded bytheDistrictCourt,thetransfereecourt
    can exercise personal jurisdiction to the same extent that thc transferor court cou1d.'').
    Accordingly,forthe TransferorActions,the Courtm ustdeterm inewhetherthetransferordistrict

    courtshadgeneraljurisdiction overthecorresponding DomesticDefendants;and fortheDirect-
    File Actions,the Courtmustdeterminc whethcr itcan cxercise gcncraljurisdiction ovcrthe
    Dom estic Defendants.

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                          a) TransferorActions
           Plaintiffsallege,andtheDomesticDefendantsagree(orotherwisedonotcontest)thatthe
    Transferor Com plaints w ere filed in states where the D om estic D efendants are incorporated or

    hold their principalplaces of business. For instance,the D winnells and Brugaletta Com plaints

    w ere filed in the Eastern D istrict of M ichigan, and Plaintiffs allege in the Boyd and W hitaker

    Com plaints- and FCA and G eneral M otors agree- that FCA and General M otors keep their

    principalplacesofbusinessin Michigan.(SeeD.E.2758at!27;D.E.2983at11-12;D.E.2759
    at!28;D.E.2981 at29.) Next,theM aestriComplaintwasfiled in the Northern Districtof
    Georgia,the M cBride Complaintwastiled in the Eastern DistrictofVirginia,and the Krmpotic

    andA lters Com plaintsw ere filed in the D istrictofN ew Jersey.A nd Plaintiffsallege in thePuhalla

    Com plaint- and the Dom esticDefendants do notcontest- thatM ercedes-Benz USA,LLC kept

    itsprincipalplaceofbusinessinNew Jerseyuntil2015(atwhichtimeitmovedtoGeorgia),that
    V olkswagen Group of Am erica is incorporated in N ew Jersey and keeps its principalplace of

    business in Virginia, and that A udi of A m erica, LLC keeps its principal place of business in

    Virginia.(SeeD.E.2762at!!27,29,33;D.E.2988at21,38.)
           Therefore,because the TransferorCom plaints were filed w here each respective D om estic

    Defendantisjurisdictionally liathome,''the Courtfindsthateach transferorcourtcan exercise
    generaljurisdiction over the appropriate Domestic Defendants. Consequently,as an M DL
    transfereecourt,thisCourtcan exercisegeneraljurisdiction overtheDomesticDefendantsasto
    theTransferorActions. SeeIn reAgentOrangeProd Liab.Litig.,818 F.2d at 163,
                                                                             *In reAuto.

    RehnishingPaintAndtrustLitig.,358F.3dat297n.11.
                          b) Direct-FileActions
           lt naturally follows from the preceding analysis that the Courtcannot exercise general



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    jurisdiction overtheDomestic Defendantsasto the Direct-File Actionsbecause none ofthese
    Defendants are incop orated orhold theirprincipalplacesofbusinessin Florida. SeeBNSF Ry.

    Co.,137S.Ct.at1558(6çTheSparadigm'forumsinwhich acorporatedefendantisçathome,'we
    explained,arethecorporation'splaceofincoporation anditsprincipalplaceofbusiness.'').And
    Plaintiffs do notargue otherw ise.

           There are,however,Sçexceptionalcaselsj''where a corporate defendant's operationsin
    anotherforum Sûm ay be so substantialand ofsuch a nature asto renderthe corporation athom e in

    thatState.''fJ.at1558(quotingDaimlerAG,571U.S.at139 n.19).Butthisisnotoneofthose
    exceptionalcases.Seeid.(citingPerkinsv.BenguetConsol.M ining Co.,342U.S.437,447-48
    (1952)asan exceptionalcircumstancebecausewarforced thedefendantcorporation'sownerto
    tem porarily relocate the enterprise from the Philippines to Ohio,which then becam e the center of

    thecorporation'swalimeactivities).Again,Plaintiffsdonotargueotherwise.
           Therefore,theCourtcannotexercisegeneraljurisdiction overtheDomesticDefendantsas
    to the D irect-File A ctions. A sa result,the Courtm ustfind thatitcan exercise ifspecific''orçicase-

    linked''jurisdictionoverthem.
                   2. Foreizn D efendants- Transferor and D irect-File A ctions

           To exercisegeneraljurisdiction overtheForeign Defendants,theCourtmustdetermine
    theiraffiliationswith theUnited StatesareStso çcontinuousand systematic'asto rendergtheml
    essentiallyathome''intheUnitedStates.DaimlerAG,571U.S.at127(quotingGoodyear,564
    U.S.at191).
           Regarding the Foreign Defendants,Plaintiffs argue thatçdthe transferor courts,and by

    extension thisCourt,may exercisespecificjurisdiction,ascontrasted with generaljurisdiction,
    overPlaintiffs'claims.'' (D.E.3034at52.) Thus,PlaintiffsconcedethatneitherthisCourt,nor



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    thetransferorcourts,can exercise generaljurisdiction overtheForeign Defendants. The Court
    agrees with the Plaintiffs. Consequently,the Courtm ustfind thatit,and the transferorcourts,can

    exercise isspecific''orlscase-linked''l
                                          'urisdiction overthe Foreign Defcndants.

                     3. C onclusion

            Fortheforegoing reasons,theCourtcan exercisegeneraljurisdiction overtheDomestic
    Defendants as to the Transferor Actions;butitcamaotexercise generaljurisdiction overthe
    D om esticD efendantsasto the D irect-File Actions,oroverthe Foreign D efendants asto eitherthe

    Transferor orD irect-File A ctions. N ow ,the Courtw illaddress whether it can exercise specific

    J'urisdiction.

            D.       SPE CIFIC PER SO NA L JU RISDIC TION
            W here a districtcourtdoesnotconductan evidentiary hearing on the question ofpersonal

    jurisdiction,theburdenisonthePlaintiffsto establishaprimafaciecaseofpersonaljurisdiction
    overthe nonresidentD efendants. See Consol.D ev.Corp.v.Sherritt,Inc.,216 F.3d 1286,1291

    (11thCir.2000)(citingM adara v.Hall,916 F.2d 1510,1514 (11th Cir.1990)). A primafacie
    caseofpersonaljurisdiction isestablished ifPlaintiffspresentksenough evidencetowithstand a
    m otion fordirected verdict.''1d.TheCourtmustacceptallegationsastnle,to theextentthatthey

    arcuncontrovertedbytheDefendants'affidavitsand depositions,and mustconstrueallreasonable

    inferencesin favorofthePlaintiffs. Id

            The Courtcan exercise speciticjurisdiction overa norlresidentdomestic defendantif
    authorized by a state long-arm statute ora federalstatute.See Courboin r.Scott,596 F.App'x

    729,732 (11th Cir.2014).W henanalyzingamotiontodismissforlack ofpersonaljurisdiction
    underRule 12(b)(2),the Courtmustitfirstdeterminewhetherthe applicable statutepotentially
    confersjurisdiction overthedefendant,and then detenninewhetherthe exerciseofjurisdiction
    compol'tswithdueprocess.''Republicofpanama v.BcclHoldings(Luxembourg)S.A.,119F.3d

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    935,942(11thCir.1997)(citingSunBank,1 W.,v.E.F Hutton drCo.,Inc.,926F.2d 1030,1033
    (11th Cir.1991);Go-video,Inc.v.AkaiElec.Co.,Ltd.,885F.2d 1406,1413 (9th Cir.1989)).
    Thus,the Coul'tm ustdeterm inew hetherthereisastatutory and a constitutionalbasisforexercising

    specificjurisdictionovereachnonresidentDefendant.
                  1. D om estic D efendantsin D irect-File A ctions

           PlaintiffsarguethisCourtcanexercisespecificjurisdictionovertheDomesticDefendants
    underthe Floridalong-arm statute,oralternatively underthe RICO statute'snationwideserviceof

    processprovision.Defendantscontesttheexerciseofspecificjurisdictiononbothofthesebases.
                         a) FloridaLonz-Arm Statute
           PlaintiffsarguetheFloridalong-arm statutegivesthisCourtspecificjurisdiction because
    thecausesofaction arisefrom theDomesticDefendants:(1)Stgolperating,conducting,engaging
    in,orcarrying on abusinessorbusinessventurein Floridaqorhaving an office oragency in
    Floridal'';or(2)Stlcjomittingatortiousactwithin Floridal.''(D.E.3034at55(quotingFla.Stat.
    j48.193(1)(a)(1)-(2).) FCA,Mercedes,and Volkswagen challenge the exercise ofspecific
    jurisdiction underthe Florida long-ann statute with respectto a1lthe Plaintiffs'claims. (See
    D.E.2983at30-34;D.E.2988at38-41.) GeneralMotors,ontheotherhand,onlychallengesthe
    exerciseofspecificjurisdictionoverthcnon-FloridaPlaintiffs'claims.(SeeD.E.2981at28-32.)
           To establish a defendantis çicarrying on business''under Section48.193(1)(a)(1),the
    activitiesoftheD efendantsttm ustbeconsidered collectively and show a generalcourse ofbusiness

    activity in the stateforpecuniary benefit.''Hard Candy,LLC v.Hard Candy Fitness,LLC,106 F.

     Supp.3d 1231,1239(S.D.Fla.2015)(quotingFutureTech.Today,Inc.v.OSF HealthcareSyl.,
    218F.3d 1247,1249(11thCir.2000)).Relevantfactorsinthisanalysisincludeidthepresenceand
    operation ofanoflicein Florida ...,thepossession andm aintenanceofalicensetodo businessin



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    Florida...,thenumberofFloridaclientsserved...,andthepercentageofoverallrevenuegleaned

    from Floridaclients.''Id (quotingHorizonAggressiveGrowth,L.P.v.Rothstein-Kass,P.A.,421
    F.3d 1162,1167 (11th Cir.2005:. Otherrelevantfactorsare the Defendants'marketing and
    advertisinginFlorida.1d.(citingCarmeldrCo.v.Silverfsh,LLC,2013W L 1177857,at*3(S.D.
    Fla. M ar. 21, 2013)). To establish          defendant committed         tdtortious act'' under
    Section48.193(1)(a)(2),aplaintiffmustallegefactualmattershowingtheDefendants'actscaused
    injurywithinFlorida---eveniftheDefendantscommittedtheactoutsidethestate.Id (citingfouis
    VuittonMalletier,S.A.v.Mosseri,736F.3d 1339,1353n.9(11thCir.2013:.
          lm portantly,the Florida long-arm statute Ssm ust be strictly construed''and Ssany doubts

    about applicability of the statute must be resolved in favor of the defendant and against a

    conclusionthatpersonaljurisdiction exists.''Kestonv.Firstcollect,Inc.,523 F.Supp.2d 1348,
    1352 n.2 (S,D.Fla.2007)(quoting Gadea r.StarCruises,Ltd ,949So.2:11143,1150 (F1a.3d
    DCA 2007)(citingSeabrav.1nt1SpecialtyImp.,Inc.,869So.2d732,733(Fla.4thDCA 2004))).
           Here,evenwhenacceptedastrue,Plaintiffs'allegationsfailtoestablishaprîmafaciecase
    of specifcjurisdiction underthe Florida long-arm statute. Plaintiffs'ktexplicitjurisdictional
    allegations''(D.E.3034 at58),arethat,collectively,theDomesticandForeignDefendants:
           gclonductsubstantialbusinessinthisDistrict;someoftheactionsgivingrisetothe
           Complainttook place in thisDistrict',and some ofPlaintiffs'claims arise outof
           D efendants operating, conducting, engaging in, or carrying on a business or
           businessventure in thisstate orhaving an oftice oragency in thisstate,com m itting
           atortiousactinthisstate,andcausinginjurytopropertyinthisstatearisingoutof
           Defendants'actsand om issionsoutsidethisstate;and atoraboutthetime ofsuch
           injuriesDefendantswere engaged in solicitation orservice activitieswithin this
           state,or products,m aterials,or things processed,serviced,or m anufactured by
           Defendants anywhere were used or consum ed within this state in the ordinary
           courseofcommerce,trade,oruse.ThisCourtalsohaspersonaljurisdiction over
           Defendantsbecausethey consentedtojurisdictionby registeringtodobusinessin
           Florida. ThisCourthaspendgelntorsupplementalpersonaljurisdiction overthe
           claim sofnon-FloridaPlaintiffs.



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    (SeeD.E.2762 at!22;seealsoD.E.2758at!23;D.E.2759at!24.)
           Looking to allegationsleveled againstspecific D om estic D efendants,Plaintiffs allege that

    General M otors t'designlsl, buildgsj, and sellls) cars, trucks, crossovers and
    automobilegsl...worldwide''throughaStdealernetworktoretailcustomers.''(D.E.2759at!30.)
    Plaintiffsthen allege V olkswagen Group ofA m erica asçda w holly-owned U .S.subsidiary''ofits

    G erm an based parentcorporation Volksw agen AktiengesellschaA- dsengagesin businessactivities

    in furtherance of the interest of' Volksw agen A ktiengesellschafl, including dcthe advertising,

    marketingandsaleofVolkswagenautomobilesworldwide.''(D.E.2762at!27.) Plaintiffsassert
    that Audi of Am erica,LLC- as a çsw holly-ow ned U .S.subsidiary of'its Germ an based parent

    corporation A udiA ktiengesellschaft Sçengages in business,including the advertising,m arketing

    andsaleofAudiautomobiles,in al150states.''1(1at!29.Next,PlaintiffsallegethatM ercedes-
    Benz USA, LLC colleciively with its German based ûsparent corporation'' Daimler AG
    Ssengineered, designed, developed, m anufactured, or installed the D efective Airbags in the

    M ercedes-branded ClassV ehicles,and approved the D efective A irbagsforuse in those vehicles,''

    and also itdeveloped,reviewed,and approved them arketing and advertising campaignsdesigned

    toselltheseClassVehicles.''ld at!33.Plaintiffsdonotassertanyanalogousallegationsagainst
    FCA.(SeeD.E.2758at!27.)
           N one ofthese allegations specify or establish any Slgeneralcourse of businessactivity''in

    Florida çkforpecuniary benefit.'' Hard Candy,LLC,106 F.Supp.3d at1239 (quoting Future
    Tech.,218F.3d at1249). Nordo anyoftheseallegationsspecifyorestablish Sçthepresenceand
    operation ofan office in Florida,''çsthe possession and m aintenance ofa license to do business in

    Florida,''Slthe num ber of Florida clients served,''or içthe percentage of overallrevenue gleaned

    from Floridaclients.''Id (quotingHorizonAggressiveGrowth,L.P.,421F.3d at1167).



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           Plaintiffsdirectthe Courtto severalallegationsregarding the advertising and marketing of

    theDomesticDefendants'vehiclesthatwerepurchasedby FloridaPlaintiffs.(SeeD,E.3034at
    55;seealsoD.E,2762at!!47,52,73,8l,86,90,108,114-15,118-19,220-221.) Specifically,
    PlaintiffsallegetheFloridaPlaintiffstsviewed orheard comm ercialstluoughtelevision and radio''

    orfsconducted extensive internetresearch on and read m agazine articles aboutthe quality,safety,

    and durability''ofthe D om estic Defendants'vehicles. Butthese allegations do noteven identify

    the Dom estic Defendantsasthe source orproducers ofthe advertisementsseen orheard by the

    FloridaPlaintiffs letalonethattheadvertisem entswereseen orheard in Floridaorweredirected

    tow ard Florida citizens. The vaguely alleged connection betw een the advertisem ents and the

    FloridaPlaintiffsarefurtherhighlighted by severalallegationsthatdsspecific''representationswere

    made in variousmarketingmaterialsin brochuresSsdistributedatdealerships''(seeD.E.2762 at
    !!220(a)-(g),221(e)-(g)),andsetforthinçdpressreleasegsl''ontheDefendants'ktwebsitegsj,''see
    /t@ at!!221(a)-(d). ln short,Plaintiffs'allegations,even taken astrue,failto establish the
    D om estic D efendants directed theiradvertising and m arketing ofthe allegedly defective vehicles

    tow ard the Florida Plaintiffs.

           ln addition,Plaintiffsdirectthe Courtto severalallegationsthatcertain Plaintiffspurchased

    orleascd theirvehiclesin Floridafrom theDomesticDefendants.(SeeD.E.3034 at55-56;see
    alsoD.E.2762at!!47,52,73,81,86,90,108,114,118-19,123.) ButnoneOfthcseallegations
    establish thatthePlaintiffspurchased orleased theirvehiclesfrom authorized dealerships,orthat

    the dealerships were acting as agents ofthe Dom estic Defendants. See id. Atbest,Plaintiffs

    allege again conclusorily,and in the limited context of certain state 1aw implied warranty

    claims theyhadûssufficientdirectdealingswith eitherDefendantsoritsagents(dealerships)to
    establish privity ofcontract.'' (See,e.g.,D.E.2762 at!!344,701.) These allegationscannot



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    establish an agency relationship between thedealershipsand the Domestic Defendantssuch that

    theCourtcanexercisespecificjurisdiction undertheFloridalong-arm statute.SeeHard Candy,
    LLC,l06 F.Supp.3d at1241(notingthatçigalgency-based personaljurisdiction existswherethe
    parententity exercisesoperationalcontroloverasubsidiary,''in otherwords,ikday-to-day control

    oftheinternalaffairsorbasicoperationsofthesubsidiary'')(quotingYellow PagesPhotos,Inc.v.
    Ziplocal,LP,2012 W L 5830590,at*3(M .D.Fla.Nov.16,2012:;cf Consol.Dev.Corp.,216
    F.3dat1293(notingaparentcorporationiûisnotsubjecttothejurisdictionofaforum statemerely
    becauseasubsidiaryisdoingbusinessthere').
           Despite failing to allege (çspecific facts to fit within'' Sections48.193(1)(a)(1)-(2),
    Plaintiffsarguetheycanplead aprimafacieshowingofpersonaljurisdiction byddtrackgingjthe
    languageofj48.193,withoutpleadingsupportingfacts.''(D.E.3034 at55 (quoting Gregory v.
    EBF drAssocs.tL.P.,595F.Supp.2d 1334,1339(S.D.Fla.2009).) TheCourtdisagrees,asthe
    Eleventh Circuit has held that such (svague and conclusory allegations ...are insufûcient to

    establishaprimafaciecaseofpersonaljurisdiction.''Snow v.DirecTljlnc.,450F.3d 1314,1318
    (11th Cir.2006)(citing Posnerv.Essex Ins.Co.,Ltd ,178F.3d 1209,1217-18(11th Cir.1999)
    +ercuriam4);seealsoCatalystPharm.,Inc.v.Fullerton,748F.App'x944,946(11thCir.2018)
    (ksvagueandconclusory allegationsdonotsatisfy''aplaintiff'sburdentoitmakeoutaprimafacie
    caseofjurisdiction'')(citingSnow,450F.3dat1318).
           R elying on Snow, courts in the Eleventh Circuit have repeatedly declined to exercise

    specificjurisdiction overa nonresidentdefendanton the basis ofgeneralized and conclusory
    allegations like those advanced by Plaintiffs here. See,e.g.,Castillo v.Allegro ResortM ktg.,

    603F.App'x913,916(11thCir.2015)+ercuriamj(affirmingdistrictcourt'sdismissalforlack
    ofpersonaljurisdiction whereplaintiffalleged thatdefendanthad ç'contactswith gFlorida)24/7


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   and365 daysayear,''yetClmadenospecificfactualallegationsofthesecontacts'');Leon,301F.
    Supp.3dat1216& n.6 (fnding generalallegationsthatHondadûconductgedjsubstantialbusiness
    in this District''insufficientto allege specificjurisdiction underthe Florida long-arm statute
    becausethecom plaintcontained $tno detailto supportthisstatement,''which leftthecourtfdunable

    to infer which of Honda's contacts with Florida supportged) specific personaljurisdiction'l;
    AccurateIns.Grp.,Corp.v.AccurateIns.Servs.Inc.,2015W L 11233072,at*2 (S.D.Fla.Mar.
    2,2015)(findingallegationthatSr efendant'sfalseassertionsofinfringementweredirectedtothe
    PlaintiffintheStateofFloridaandassuchDefendantissubjecttothepersonaljurisdiction ofthis
    Court''to be dtvague and conclusory allegations...wholly insufficient to establish personal

    jurisdictionoverDefendantunderFlorida'slong-arm statute');Bul
                                                                pit,LLC v.Decanio,2013W L
    12126313,at*4(S.D.Fla.J.une7,2013)(findingtdnobasis''toexercisespeciûcjurisdictionunder
    Floridalong-arm statutewhereplaintiffallegedthedefendantçtconductgedjbusinessthroughout
    interstatecommerceand in a11fifty statesofthe United States...and in particularconductgedl
    businessinthe Southern DistrictofFlorida');Vision1nt'1Prod.Inc.v.fitecoS.R.L.,2007W L
    9700539,at*4 (S.D.Fla.Aug.8,2007)(findingallegationsthatdefendantdkofferedforsaleand
    continued to offer for sale in this District and elsewhere in the United States dispensing

    capsules...covered by oneormore ofthepatentsin suit''tobeSkformulaicconclusoryavennents

    insufficientto satisfy Plaintiffs'burden''ofestablishing adigeneralcourse ofbusinessactivity in

    theStateforpecuniarybenefit,''asrequiredbytheFloridalong-arm statute).
           Therefore,forthese reasons and the additionalreason thatthe Florida long-arm statute

    (tmustbestrictlyconstnzed''with dlanydoubtsaboutapplicabilityofthestatutegbeing)resolvedin
    favorofthedefendantandagainstaconclusion thatpersonaljurisdiction exists,''Keston,523F.
    Supp.2dat1352n.2(quotingGadea,949So.2(1at1150(citingSeabra,869So.2dat733))- the



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    CourtfindsnobasistoexercisespecificjurisdictionovertheDomesticDefendantsastotheDirect-
    File A ctions under the Florida long-ann statute.11 Consequently,the Courtneed notdetermine

    whetherexercising specificjurisdiction undertheFloridalong-arm statute would comportwith
    dueprocess.SeeHard Candy,LLC,106F.Supp.3d at1250n.7.

                         b) RICO NationwideServiceofProcessProvision
           As an alternative to the Florida long-arm statute,Plaintiffs assertthe Courtcan exercise

    specificjurisdiction overtheDomesticDefendantsasto theRICO claimspursuanttotheRICO
    statute'snationwideserviceofprocessprovision in 18U.S.C.Section 1965(d).Plaintiffsfurther
    contend thatonce the Courtexercisesspecificjurisdiction overthe RICO claims,itcan then
    exercisependentpersonaljurisdictionovertheremainingfederal,state,andcommon-law claims.
    Defendantschallengebothapplicationsofjurisdiction.
           D efendantsvigorously oppose Plaintiffs'theory,arguing thattheRICO nationw ide service

    ofprocessprovisioncannotprovideabasisforspecificjurisdictionbecausePlaintiffsfailtostate
    plausible RICO claim s. Butthe Sigeneralrule''is thatcourts dkaddress issues relating to personal

    jurisdiction beforereachingthemeritsofaplaintiff'sclaims.''Republicofpanama,119F.3dat
    940(citingMadara,916F.2d at1513-14& n.1;CharlesA.W right& ArthurR.M iller,Federal
    PracticeandProcedure,Civil2d j1351,at243-44 (1990))(emphasisadded).Therationalefor
    thisruleisthatSçgaqdefendant...notsubjecttothejurisdiction ofthecourtcannotbeboundby


            11Eventhough GeneralM otorsonlychallenged theexerciseofspeciticjurisdiction over
    thenon-Floridaplaintiffs'claims(seeD.E.2981at28-32),theCourtstillfindsitlacksspecific
    jurisdictionundertheFloridalong-arm statuteastoa1lplaintiffsadvancingclaimsagainstGencral
    MotorsintheDirect-FileComplaints.SeeCourboin,596F.App'x at735($dA districtcourtmay
    on itsown m otion dismissan action astodefendantswhohave notm oved to dismisswhere such
    defendants are in a position sim ilarto thatofm oving defendants orwhere claim s againstsuch
    defendantsareintegrallyrelated.'')(citingfoman Dev.Co.v.DaytonaHoteldrM otelSuppliers,
    Inc.,817F.2d1533,1537(11thCir.1987))Tazoev.AirbusS.A.S.,631F.3d 1321,1336(11thCir.
    2011)).

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    itsrulings.''ld (citingM adara,916F.2d at1514).Consequently,theCourtmustdetermineifit
    hasthepowertobindtheDomesticDefendantswith aruling beforeitcan reach thesufficiency of

    Plaintiffs'RICO allegations.See id.

           Section l965(d)can serveasStthestatutory basisforpersonaljurisdiction.''12 Id at942
    (citingInreChase& SanbornCorp.,835F.2d 1341,1344(11thCir.1988),rev'donothergrounds
    sub.nom,Granhnanciera,S.A.v.Nordberg,492 U.S.33 (1989);Lisak v.MercantileBancorp,
    Inc.,834 F.2d 668,671(7th Cir.1987:.ThisSection providesthatprocessmay beserved Ston
    anypersoninanyjudicialdistrictinwhichsuchpersonresides,isfound,hasanagent,ortransacts
    hisaffairs.'' 18 U.S.C.j1965(d). ButPlaintiffsare Slentitled to take advantage ofgRlCO's1
    nationwide service of process provision''only Slinsofar as''the underlying RICO claim çiis not

    wholly immaterialorinsubstantial.'' Republic of Panama,119 F.3d at942. ln othcrwords,
    whether a basis exists forexercising specific jurisdiction under Section 1965(d) depends on
    whether the D irect-File A ctions state ticolorable''RIC O claim s. Courboin,596 F.A pp'x at732

    (citing Republic ofpanama,119 F.3d at942). Itnccessarily follows,then,thatdetermining
    w hether the D irect-File RICO claim s are lscolorable'' or çdnot w holly im m aterial or

    insubstantial'' is a separate and distinctquestion from w hether the RICO claim s are plausibly

    alleged. See Am.H eritage Enters.,Inc.r.A m.Param ountFin.,Inc.,2011 W L 13225179,at #3-

    4 (S.D.Fla.Feb.14,2011)(addressing whethertheplaintifpsRICO claim waslscolorable''for
    jurisdictionalpurposes,beforeaddressing whethertheRICO claim wasplausiblyalleged under


           12UnderFederalRule ofCivilProcedure4(k)(1)(C),Cigslerving a summonsorfiling a
    waiver ofservice establishespersonaljurisdiction overa defendant...when authorized by a
    federalstatute.'' Here,Plaintiffsand allDefendantsstipulated to waiverofservice. (See D.E.
    2840.) Therefore,theserviceofprocessrequirementissatisfied.Importantly,atthetimeservice
    waswaived,Defendants Ssexpressly reservegdja11argumentsand defenses with respectto the
    actions,including astojurisdiction.'' 1d.at2 n.1. Thus,theCoul' tfindsthatDefendantshave
    properlypreservedtheirjurisdictionchallenges.

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    Twombly,Iqbal,and FederalRule ofCivilProcedure9(b)). Accordingly,atthisjuncture,the
    Courtwillonly determ ine whethertheRICO claim sare Ctnotwholly imm aterialorinsubstantialr''

    and willlateraddressthesufficiency oftheRICO claims.

                                (1)Sscolorable''Claims
           TheCourtfindstheRICO claimsassertedagainsttheDomesticDefendantsarettnotwholly

    im m aterial or insubstantial'' because the underlying allegations are sufficiently sim ilar to

    allegations this Courtpreviously determined to state plausible RICO claims. See In re Takata

    AirbagProd Liab.Litig.,2015W L 9987659,at#1-2(denyingTakata'sandHonda'smotionsto
    dismissRICO claims). Thislimited finding simply meansthe Direct-File Plaintiffsmay istake
    advantageof'theRICO nationwideserviceofprocessprovision.Republicofpanama,119F.3d
    at942. Now theCourtmustdetermine whetherSection 1965(d)çdconfersjurisdiction''overthe
    DomesticDefendants.Id (citingSunBank N A.,926F.2d at10339Go-video,Inc.,885F.2dat

    1413).
                                 (2)StatutoryBasis
           Section 1965(d)requires thatthe Courtexamine the Domestic Defendants'çdaggregate
    contacts with the nation as awhole,''asopposed to theirlicontactswith the forum state.'' 1d.at

    946-47. ThisisbecausethefederalRICO statutewasenacted to dsbestow jurisdictionon federal
    coul'
        ts over nationalconspiracies.'' BanW tlantic r.Coastto Coast Contractors,Inc., 1997 W L

    33807846,at*3(S.D.Fla.Nov.30,1997).Thus,totdensurethatfar-tlungconspiraciesgcouldjbe
    triedtogetherinoneaction,''thestatutecreatedtispecialvenuerulesand gajnationwideserviceof
    Processprovision.'' 1d.




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          lnthiscase,theDom esticDefendantsdo notdisputethatthey conductsubstantialbusiness

    throughouttheUnited States.l3Accordingly, theCourtfindsSection 1965(d)providesastatutory

    basisforexercisingspecificjurisdictionovertheDomesticDefendantsastotheRICO claims.See
    Republicofpanama,119 F.3d at948 (concluding sameasto U.S.based corporatedefendant);
    feon,301F.Supp.3dat1230-31(same).
                                 (3)ConstitutionalBasis
           The Courtmustnow decidewhctherexercising specificjurisdiction comportswith due
    process. Republic of Panama,119 F.3d at942. To evaluate whetherthe Fifth Amendment
    requirem ents of fairness and reasonableness have been satisfied, courts should dfbalance the

    burdensim posed on the individualdefendantagainstthe federalinterestinvolved in the litigation.''

    Id at946 (citingAsahiMetalIndus.Co.v.SuperiorCourtofcalfornia,Solano C/y.,480U.S.
    102,114(1987);World-Wide VollcswagenCorp.v.Woodson,444U.S.286,292(1980:.But,the
    Courtm ustengage in thisbalancing tionly ifadefendanthasestablished thathisliberty interests

    actuallyhavebeen infringed. Only whenadefendantchallengingjurisdiction hasSpresentledja
    compellingcasethat...wouldrenderjurisdictionunreasonable,'should courtsweighthefederal
    interestsfavoringtheexerciseofjurisdiction.''1d.(quotingBurgerKing Corp.v.Rudzewicz,471
    U.S.462,477(1985)),
           In determ ining whether the Dom estic Defendants have metthe burden of establishing

    constitutionally significant inconvenience,the Courtconsiders the factors used in determining

    fairness under the Fourteenth Am endm ent. fJ. Even though the D om estic D efendants have

    m inim um contactswith theUnited Statesasa whole,thisdoesnotddautomatically satisfy the due



            13This standsin contrastto the heavily disputed,generalized and conclusory allegations
    thattheDomesticDefendantscaused injuriesin Florida,and conducted businessactivityin and
    directed toward Florida.

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   processrequirementsoftheFifthAmendment''becauseSsgtlherearecircumstances,althoughrare,
    in which a defendantm ay havesufficientcontactswith the United Statesasa whole butstillwill

    beundulyburdenedby theassertionofjurisdictioninafarawayandinconvenientfonlm.''1d.at
    947.Butdsitisonly inhighlyunusualcasesthatinccmveniencewillrisetoa levelofconstitutional

    concelm.''Id (citingAsahl.M etalIndus.Co.,480U.S.at116 (1987)(Brennan,J.,concurringin
    partandconcurringinthejudgment)(notingthatonlyin çsrarecases''willinconveniencebecome
    constitutionallyunreasonablell).Ultimately,Sfltjheburdenisonthedefendanttodemonstratethat
    the assertion of jurisdiction in the fonzm will lmake litigation 'so gravely difficult and
    inconvenient'thatghe)unfairlyisataiseveredisadvantage'incomparisontohisopponent.'''1d.
    at948(quotingBurgerKing Corp.,471U.S.at478).
           Here,the Dom estic Defendants'm oving papers fail to dem onstrate tdconstitutionally

    signiicant inconvenience.'' lndeed,m odern m eans of com m unication and transportation have

    lessened the burden ofdefending a lawsuitin a distantforum . World-Wide Volkswagen Corp.,

    444 U.S.at292-93 (citing McGee v.Int1LfeIns.Co.,355 U.S.220,222-23(1957:. Given
    m odern comm unication and transportation,the Courtconcludes that defending this law suitin

    Florida willnotbe tdso gravely difficultand inconvenient,''orputthe Domestic Defendantsata

    ûkseveredisadvantage''relativetothePlaintiffs.Assuch,theCourtneed notevaluate whetherthe

    Fifth Am endment requirements of fairness and reasonableness have been satisfied by

    klbalanceging)the burdensimposed on the individualdefendantgslagainstthe federalinterest
    involvedinthelitigation.''Republicofpanama,119F.3d at946(citingAsahiM etalIndus.Co.,
    480U.S.at114,
                *World-WideVolkswagenCorp.,444U.S.at292).
           N ow, FCA argues the Court m ust follow a prior nlling in this case, which dism issed

    directlyfiledpersonalinjurycasesforlackofspecificjurisdiction.(D.E.2983at29(citingD.E.



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    887).) But that ruling dismissed personal injury claims against defendants where Stthe
    accidents...didnottakeplacein Floridaand Plaintiffsfailgedlto indicateanyrelevantconduct
    linkingtheDefendantsto Florida.'' (D.E.887at3.) Thatis,theCourtdismissed thosepersonal
    injury cases because the Plaintiffs did not allege isfacts thatwould give the Courtspecific
    jurisdiction overDefendants.'' Id at2-3. The criticaldistinction here isthattheDirect-File
    Com plaints assertclaim s underthe R IC O statute,which containsa nationw ide service ofprocess

    provision thatcan serveastdthestatutorybasisforpersonaljurisdiction.''Republic ofpanama,
    l19F.3dat942(citationsomitted).Asaresult,thepersonaljurisdiction calculusinthissituation
    isentirelydifferentthaninthecontextofpersonalinjuryclaims.Thus,dismissalon thisground
    isnotappropriate.

           Furtherm ore,FCA suggests thatforthe Courtto rem ain consistentwith its prior ruling-

    andthusdismissthedirectlyfiled claimsforlackofspecificjurisdiction theCourtmustadhere
    to itsow n w ordsthatSiinefficiency doesnotcircum ventD efendants'rightto have suitsfiled against

    them inanappropriatecourt.''(D.E.2983at29(quotingD.E.887at3n.1).)ButtheCourt'slatest
    order- which ruled thatthe TransferorActions would be rem anded to the transferorcourtsfor

    trial resolvedthiscontention.(SeeD.E.3394at19(ûdgW lhenpretrialproceedingsend,theCourt
    willsevert()rrecommendthattherludicialPanelonM ultidistrictLitigationjsever)anyremaining
    claim sasserted by the TransferorPlaintiffs including any claim sam ended directly in thisM D L

    proceeding.'l.) Furthermore,theCourt'spersonaljurisdictionrulinghereisnotpremised on any
    efficiency rationale;the ruling isbased on theRICO nationwide service ofprocessprovision and

    binding interpretive case law .

           Therefore,the Court finds that the Fifth Amendm ent's Due Process clause does not

    precludeexercisingspecifcjurisdictionovertheDomesticDefendantsastotheRICO claimsin



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    theDirect-FileActions;subject,ofcourse,toPlaintiffsadequatelyallegingRICO claims.
                  2. Foreian D efendants in Transferor and D irect-File A ctions

           PlaintiffsarguetheCourtcan exercise specificjurisdiction overtheForeign Defendants
    underFcderalRuleofCivilProcedure4(k)(2),thefederallong-arm statute. ButRule4(k)(2)is
    applicable only ifSçthe defendantisnotsubjectto jurisdiction in any state's courtsofgeneral
    jurisdiction.''Fed.R.Civ.P.4(k)(2)(A);seealsoM erialLtd.v.ClplaLtd.,681F.3d 1283,1294
    (Fed.Cir.2012)(iigolnepreconditionforapplyingRule4(k)(2)isthatthedefendantmustnotbe
    subject to personaljurisdiction in the courts of any state (sometimes called thc tnegation
    requirement'l.''l.l4 Thus,the Courtmustfirstaddressspecificjurisdiction underthelong-arm
    statute ofeach state wherePlaintiffscommenced theirlegalactions Le.Florida,Georgia,New

    Jersey,and V irginia.

           Before beginning this analysis, the Court notes that while the parties briefed the

    applicability ofthe Florida long-arm statute,they did notbriefthe applicability ofthe Georgia,

    N ew Jersey, and V irginia long-arm statutes. This is because the parties did not interpret the

    Plaintiffs'strategic decision to file complaintsin thetransferorcourtsand to also filecom plaints

    directly in this m ultidistrictlitigation proceeding as creating separate legalactions,which require

    additionallayersofjurisdictionalanalysis.Thepartiesdid,however,fullybriefwhetherexercising
    specificjurisdictionovertheDefendantssatisfiedconstitutionaldueprocess.Assuch,theCourt's
    analysis beginsw ith constitutionaldue process.

                            a) ConstitutionalDueProcess


            14 As an aside,this is the reason that Rule4(k)(2)does not apply to the Domestic
    Defendants,a11ofwhicharesubjecttothegeneraljurisdictionofcertainstates.SeesupraSection
    II.C.1.a. Relatedly,Rule4(k)(1)(C)doesnotprovide a basisforspecificjurisdiction overthe
    Foreign Defendants because the RICO service of proccss provision is lim itcd to nationwide
    service,anddoesnotextend to worldwideservice.

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           ln DaimlerAG v.Bauman,theSupreme Courtreversed theNinth Circuit'sagency theory

    ofjurisdictionthatwouldhaveçtswegpt)beyondthetsprawlingview ofgeneraljurisdiction'''that
    wasrejectedinGoodyear.SeeDaimlerAG,571U.S.at136(quotingGoodyear,564at929).The
    Ninth Circuit's agency theory would have subjected foreign-based DaimlerAG to the general
    jurisdictionofCaliforniastatecourtsbecauseDaimlerAG'sdomestic-basedsubsidiaryM ercedes-
    Benz U SA ,LLC    w hich wasD aim ler'sexclusive im porterand distributorin the U nited States

    had multiple California-based facilities and was the largest supplier of luxury vehicles to the

    California market. Id at123,136. ln reversing theNinth Circuit,the Suprem eCourtexplained

    thattheN inth Circuitttpaid littleheed to therisksto internationalcom ity''thatitskdexpansiveview

    ofgeneraljurisdictionposed.''Id at141.TheSupremeCourthighlightedthatinthepast,çéforeign
    governments' objections to some domestic courts' expansive views of generaljurisdiction
    ghad)...impeded negotiations of international agreem ents on the reciprocalrecognition and
    enforcementofjudgments.''Id at141-42 (citingBrieffortheUnited States(citingJuenger,The
    AmericanLJw ofGenerallurisdiction,2001U.CHI.LEGALFORUM 141,161-62)).Inconclusion,
    theSupremeCourtelaborated thattdlcjonsiderationsofinternationalrapport...reinforced ritsj
    determinationthatsubjectingDaimlertothegeneraljurisdictionofcourtsinCaliforniawouldnot
    accord with the Sfairplay and substantialjustice'dueprocessdemandredq.''ld at142 (quoting
    1nt'
       1ShoeCo.v.Washington,326U.S.310,316(1945:.
           TheSupreme Court'scautiousapproach tothe exerciseofjurisdiction overnonresident
    defendants reemerged in Bristol-Myers,thistime in the contextofspecific jurisdiction.
    discussed above,the Supreme Courtin Bristol-Myers ruled thatfor a California state courtto

    exercisespecificjurisdiction overanonresidentdefendant,tstheremustbeanaffiliation between
    the forum and the underlying controversy,principally,ganlactivity oran occurrencethattakes



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    placein the forum Stateand istherefore subjectto the State'sregulation.'' 137 S.Ct.at1780
    (quotingGoodyear,564 U.S.at919). ln applying Stsettled principleslofjspecificjurisdiction,''
    theSupremeCourtnotedthatthefsprimaryconcern''ofjurisdictiongenerallyiststheburdenonthe
    defendant,''and lcgalssessing thisburden obviously requires a courtto consider the practical
    problem s resulting from litigating in the forum ,butitalso encom passes the m ore abstractm atter

    ofsubm itling to the coercive pow erofa State thatm ay have little legitim ate interestin the claim s

    in question.'' Id at 1780 (quoting World-Wide Volkswagen Corp.,444 U.S.at292). Thus,
    firestrictionson personaljurisdiction Saremorethan aguaranteeofimmunity from inconvenient
    ordistantlitigation.They are a consequence ofterritoriallim itationson the pow eroftherespective

    States.'''1d.(quotingHansonv.Denckla,?57U.S.235,251(1958)).
           M indfuloftheSupreme Court'sconcernsforinternationalcom ity,andthepracticalissues

    ofsubjectingforeignentitiestothecoercivepoweroffederalcourts,theCourtwillnow address
    specificjurisdictionovertheForeignDefendants.
            lsDue process requires thata nonresidentdefendanthave certain m inim um contacts w ith

    thefol'um sothattheexerciseofjurisdiction doesnotoffend traditionalnotionsoffairplayand
    substantialjustice.''Meierexrel.M eierr.Sun1nt1Hotels,Ltd,288F.3d 1264,1274(11th Cir.
    2002)(citingInt1Shoe,326U.S.at316;Consol.Dev.Corp.,216F.3dat1291).SkgAjfundamental
    elementofthespeciicjurisdictioncalculusisthatplaintiff'sclaim mustariseoutoforrelatetoat
    leastoneofthe defendant'scontactswith the forum .'' fouis Vuitton M alletier,S.
                                                                                  A .,736 F.3d at

     1355-56(quotingFraserv.Smith,594F.3d842,850(11th Cir.2010)).Thus,theCourtlooksto
    the i'affiliation betw een the fonzm and the underlying controversy,''focusing on any liactivity

    or...occurrencethat(took)placeintheforum State.'' Waitev.AllAcquisition Corp.,901F.3d
     1307,1314(11th Cir.2018)(quotingBristol-Myers,137S.Ct.at1780).



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           lnspecificpersonaljurisdiction cases,theCourtappliesathree-parttest,which examines:
    (1)whetherthePlaintiffs'claimsûkariseoutoforrelateto''atleastoneoftheDefendants'contacts
    with theforum;(2)whetherthenonresidentDefendants(dpurposefullyavailed''themselvesofthe
    privilege ofconducting activitieswithin the forum state,thusinvoking the benefitofthe forum

    state's laws;and (3)whetherthe exercise ofpersonaljurisdiction comportswith çstraditional
    notionsoffairplayandsubstantialjustice.''LouisVuittonMalletier,S.A.,736F.3dat1355(citing
    BurgerKing Corp.,471U.S.at472-75;HelicopterosNacionalesde Colombia,S.A.v.Hall,466

    U.S.408,413-14 (1984);1nt,1Shoe Co.,326 U.S.at316). ThePlaintiffsbeartheburden of
    establishing the firsttw o prongs,and ifthey do so,theD efendantstim ustm ake a ûcom pelling case'

    thatthe exercise ofjurisdiction would violate traditionalnotions offairplay and substantial
    justice.'' Id (quotingDiamond CrystalBrands,Inc.v.Food MoversInt'l,Inc.,593 F.3d 1249,
    1267(11thCir.2010)).
           Here,Plaintiffs generally allege that the Dom estic and Forcign Defendants:itconduct

    substantialbusinessin thisDistrict;some oftheactionsgiving rise to the Complainttook placein

    this D istrict, and som e of Plaintiffs' claim s arise out of D efendants operating, conducting,

    engagingin,orcarryingonabusinessorbusinessventurein(Florida)or...committingatortious
    actin gFloridaq....''(D.E.2762 at!22.) ThePlaintiffsalso generally assertthateachForeign
    Defendant is in the business of designing,developing,m anufacturing,m arketing,and selling

    automobiles. Seeid at!! 26,28,32. ln addition,Plaintiffsgenerally allegethateach Forcign
    DefendantisaGerm an corporation with aprincipalplaceofbusinessin Germ any,seeft
                                                                                  ;l,andthat

    each Dom estic Defendantis $$a wholly-om zed U.S.subsidiary''ofits Foreign Defendantparent

    coporation,id at!(!27,29,orthattheForeign DefendantistheparentcompanyoftheDomestic
    Defendantcounterpart,id.at!33.


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           Asto specific Foreign Defendants,Plaintiffsgenerally allege thatVolkswagen Group of

    America (as the domestic subsidiary of the foreign based Volkswagen Aktiengesellschafl),
    Slengagesin businessactivitiesin furtheranceoftheinterestsof'Volkswagen Aktiengesellschafl,

    Skincluding the advertising, marketing and sale of Volkswagen automobiles worldwide.''

    fJ.at!27. W ith respectto Audi,Plaintiffsgenerally allege AudiofAmerica(asthedomestic
    subsidiary of the foreign based AudiAktiengesellschaft),dtengages in business,including the
    advertising,marketingandsale ofAudiautomobiles,in all50states.''Id at!29.Plaintiffsdo
    notsetforth any allegations specific to M ercedes,butinstead generally allege- asthey allege

    against V olksw agen and Audi- that the dom estic and foreign parent corporations collectively

    ççengineered,designed,developed,m anufactured,orinstalled the DefectiveAirbags''in the class

    vehicles,andisapprovedtheDefectiveAirbagsforuseinthosevehiclesr''whilealsoStdevelopging),
    reviewlingl,andapprovginglthemarketingandadvertisingcampaignsdesignedtoselltheseClass

    Vehicles.''1d.at!!31,33.
           The Courtfinds these generalized allegationsare devoid ofspecificity,and thereby failto

    establish that the Foreign Defendants C'purposefully availed''themselves of the privileges of

    conducting activity in Florida,Georgia,New Jersey,orVirginia. See Castillo,603 F.App'x at

    916 +er curiam) (affrming districtcourt'sdismissalfor lack ofpersonaljurisdiction where
    plaintiffSsmadenospecificfactualallegationsofgdefendant'sqcontacts''with Florida);feon,301
    F,Supp.3dat1216& n.6 (rejecting(igeneralizedstatements''thatweredddevoidofspeciticity''as
    failingto establish specificjurisdiction undertheFlorida long-arm statutel;AccurateIns.Grp.,
    Corp.,2015 W L 11233072,at*2 (rejecting çsvague and conclusory allegations...gaslwholly
    insufticienttoestablish personaljurisdiction overDefendantunderFlorida'slong-al'm statute');
    Bulpit,LLC,2013W L 12126313,at*4(finding Ssnobasis''tocxercisespecificjurisdiction under



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    Florida long-arm statute based on generalized allegationsl;Vision 1nt'1Prod.lnc.,2007 W L
    9700539,at*4(rejectingdçformulaicconclusoryaverments''astkinsuftscient''toestablish specifc
   jurisdiction underFloridalong-arm statutel;seealso CJA?/.
                                                           ,
                                                           Pv.Fry'
                                                                 sElecs.,Inc.,736F.Supp.2d
    1352,1369@ .D,Ga.2010)(adoptingrecommendationthatnonresidentdefendantbedismissed
    where plaintifftdgenerally allegegdjthatthe harm he suffered as a result of gthe norlresident
    defendant'slallegedactionswerecausedbyanactoromissionoutsideGeorgia'');Zelmav.Burke,
    2017W L 58581,at*3(D.
                        N .J.Jan.4,2017)(çdplaintiffs'spcculativeand conclusory allegations
    againstthernonresidentjDefendantsareinsufficientto meettheirburden to proveaprimafacia
    case ofspeciticjurisdiction with reasonableparticularity.''l;Peterson v.HVM LLC,2016 W L
    845144,at*4(D.
                 N .J.M ar.3,2016)(ssotherthan ...basicdescriptors,thecomplaintisdevoidof
    allegations relating to the investors. These allegations are insufficient to establish general or

    specific jurisdiction overthe investors.'');FN Herstal,S.A.v.ClydeArmory,Inc.,2012 W L
    12977880,at*3 & n.3(E.D.Va.M ay30,2012)(finding allegationsthatnonresidentdefendants
    'stransactgedlbusinessin thisdistrict,oroffergedjto selltheirproductsorgmadejtheirproducts
    available or rpromoted) the infringing mark to prospective purchasers within this district''
    insufticientto establish aprimafaciecase ofgeneralorspecificjurisdiction);Askuev.Aurora
    Corp.ofAm.,2012 W L 843939,at *4 (N.D.Ga.M ar.12,2012)(finding allegationsthata
    defendantm anufacturerthatsold products in a m arket çkundoubtedly derived substantialrevenue

    from the sale ofthese products,''and d'engaged in a persistent course of conduct in G eorgia by

    engagingadistributorto sellitsproductsin thism arket,''were idwhollyconclusory andinsufficient

    tosustainaûndingofjurisdictionunderthelong-arm statute'').
           Therefore,the CourtfindsthatPlaintiffsfailto establish aprimafacie case ofspecific
    jurisdictionovertheForeign Defendants.


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           TheForeignDefendantsalsoarguethatPlaintiffsattempttoestablish specificjurisdiction
    overthem underatheory ofagency Le.thattheCourtcanexercisespecificjurisdiction simply
    because the Dom estic Defendantsconductbusinessin the United States and are wholly-owned

    subsidiaries of the Foreign Defendants. éslt is wellestablished thatas long as a parentand a

    subsidiary areseparateand distinctcorporateentities,thepresenceofonein aforum statem aynot

    beattributedtotheother.''Consol.Dev.Corp.,216F.3dat1293(11thCir.2000)(citingCannon
    Manufacturing Co.v.Cudahy Packing Co.,267U.S.333,337(1925)).Thus,ç$aforeignparent
    corporation isnotsubjecttothejurisdictionofaforum statemerelybecauseasubsidiaryisdoing
    businessthere.'' 1d.

           H ere,Plaintiffs'allegations failto overcom e these presum ptions. Plaintiffs set forth no

    allegationsestablishing the nature ofthe corporate relationship between the subsidiary D om estic

    D efendants and their parents,the Foreign Defendants;no allegations that individual plaintiffs

    purchased or leased their vehicles from dealershipsdirectly owned oroperated by the Foreign

    Defendants; and no allegations that Class V ehicles w cre ékengineered, designed, developed,

    m anufactured,or installedr''or thatthe advertising or m arketing cam paigns were itdeveloped,

    reviewcd,gorlapproved,''inorforFlorida,Georgia,New Jersey,orVirginiacitizens.Forthese
    reasons,Plaintiffs'allegationsdo notdemonstrateany Staffiliation betweentheforumlsland the
    underlyingcontroversriesj''based onany (çactivitriesjor...occurrencegsjthatgtookjplaccinthe
    forum Stategsl.''Waite,901F.3dat1314 (quotingBristol-Myers,137S.Ct.at1780).
           Therefore,theCourtconcludesthatbasedontheseallegations,nocourtinFlorida,Georgia,

    New Jersey,OrVirginiacanexercisespecificjurisdictionovertheForeignDefendantsinharmony
    with constitutionaldue process. The Plaintiffs'failure to plead allegations sufticientto satisfy

    constitutionaldue process would allow the Courtto avoid addressing whethertheirallegations



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    satisfyany ofthestatelong-arm statutes.ls Nevertheless,theCourtfindsthatPlaintiffs'allegations

    againstthe Foreign Defendants w ould failto satisfy the Georgia,N ew Jersey,and V irginia long-

    arm statutes forthe sam e reasonsthatPlaintiffs'allegations failto satisfy the Florida long-anu

    statute. See supra Section II.D .1.a.

                           b) FederalLong-Arm Statute
           Plaintiffs also attemptto justify the exercise ofspecificjurisdiction overthe Foreign
    Defendants under Federal Rule of Civil Procedure 4(k)(2), the federal long arm statute.
    tsllule4(k)(2)wasimplementedtofi11alacunain çtheenforcementoffederallaw inintemational
    cases.'''Thompsonv.CarnivalCorp.,174F.Supp.3d1327,1337(S.D.Fla.2016)(citingPorina
    v.M arwardShi
                pping Co.,521F.3d 122,126 (2dCir.2008)(citingFed.R.Civ.P.4(k)advisory
    committee'snotesto 1993 amendmentsl). SsYet,itisarare occurrence when a courtinvokes
    jurisdiction undertherule.''ld
            Here,theForeign Defendantsarenotsubjecttothegeneraljurisdiction ofanystatecourt.
    Seesupra Section 11.C.2.Furtherm ore,the Foreign Defendantshavenotidentifed any otherforum

    wherethey areamenableto suit.Thus,theCourtisentitledto useRule4(k)(2).See Oldheld v.
    PuebloDeBahiaLora,S.A.,558F.3d1210,1218& n.22(11thCir.2009)(1$g11f...thedefendant
    contendsthathe cannotbe sued in the forum stateand refusesto idcntify any otherwhere suitis

    possible,thenthefederalcourtisentitledtouseRule4(k)(2).'')(quoting Isllnt'l,Inc.v.Borden
    LadnerGervaisLLP,256F.3d 548,552 (7th Cir.2001:. Accordingly,theCourtcanaggregate



            15 See Castillo, 603 F.App'x at916 (ti
                                                 Because (plaintiftl failed to plead allegations
    sufficientto satisfydueprocess,weneednotaddresspersonaljurisdiction underFlorida'slong-
    arm statute.'');see also Christian Tours v.Homeric Tourss239 F.3d 366 (5th Cir.2000)+er
    curiam)(decliningtoanalyzestatelong-arm statutebecauscplaintifffailedtosatisfyconstitution
    aldueprocess);ISO ClaimsServs.,Inc.v.Bradford Techs.,Inc.,2011W L 13176209,at*5(M .D.
    Fla.Sept.28,2011)(same).

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    the Foreign Defendants'nationwide contacts to allow for service ofprocess provided thattwo

    conditions are met:(1) Plaintiffs'claims dçarise underfederal1aw'',
                                                                      'and (2)the exercise of
    jurisdiction is Sçconsistentwith the Constitution and lawsoftheUnited States.'' Consol.Dev.
    Corp.,216F.3dat1291(citingFed.R.Civ.P.4(k)(2)).BecausethereisnodisputethatPlaintiffs'
    RICO and M agnuson-M ossW arranty Actclaim sariseunderfederallaw,orany disputethatthe

    RICO statuteallowsfornationwideserviceofprocessunderSection 1965(d),then theCourtcan
    exercise specificjurisdiction overthc Foreign Defendantsso long asitisitconsistentwith the
    Constitution and lawsoftheUnited States'';thatis,comporting with dueprocess.ld

           In specificpersonaljurisdictioncases,theCourtappliesathree-parttest,whichexamines:
    (1)whetherthePlaintiffs'claimsûsariseoutoforrelateto''atleastoneoftheDefendants'contacts
    withtheforum;(2)whetherthenonresidentDefendantsSû
                                                    purposefullyavailed''themselvesofthe
    privilege ofconducting activities w ithin the forum state,thus invoking the benefitof the forum

    state'slaws;and (3)whetherthe exercise ofpersonaljurisdiction comportswith çstraditional
    notionsoffairplayandsubstantialjustice.''LouisVuittonMalletier,S.A.,736F.3dat1355(citing
    BurgerK ing Corp.,471 U .S.at472-73,474-75;H elicopterosN acionales de Colom bia,S.A.,466

    U.S.at413-14;Int'
                    1ShoeCo.,326U.S.at316).ThefirsttworequirementsareSstheconstitutional
    benchmarksofthe minimum contactsanalysisand ensurethatadefendantisonly burdened with

    litigation in a fortzm w herehis iconductand connection with the forum ..,are such thathe should

    reasonably anticipate being haled into courtthere.''' Oldheld,558 F.3d at1220-21 (quoting
     World-WideVolkswagen Corp.,444U.S.at297).
           W heretheCourt'spersonaljurisdiction isinvoked basedon afederalstatuteauthorizing
    nationwide or worldwide service ofprocess,S'the applicable fonzm forthe m inim um contacts




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    analysisistheUnited States.''ld at1220 (quoting Consol.Dev.Corp.,216F.3d at1291n.6)).
    A s the FederalCircuitrecognized:

           Rule4(k)(2)closed a loopholethatexisted priorto the 1993amendmentsofthe
           FederalRulesofCivilProcedure. Before the adoption ofRule4(k)(2),a non-
           residentdefendantwho did nothave(lminimum contacts''with any individualstate
           sufficienttosupportexerciseofjurisdiction,butdid havesufficientcontactswith
           the United States as a whole, could escape jurisdiction in a11 fif'ty states.
           Rule4(k)(2)wasadopted toensurethatfederalclaimswillhavea U.S.forum if
           sufficientnationalcontactsexist.

    Touchcom,Inc.v.BereskindrParr,574F.3d 1403,1414 (Fed.Cir.2009)(citingSynthes(U S.A.)
    v.G.M DosReisJr.Ind.Com deJk/zfJ7.Medico,563 F.3d 1285,1295 (Fed.Cir.2009)(citing
    Fed.R.Civ.P.4(k)(2)advisorycommitteenotesto 1993amendmentl).
           H ere,Plaintiffs fail to allege facts establishing the Foreign D efendants have sufficient

    contactswiththeUnited States,such thattheyStpurposefully availed''them selvesoftheprivileges

    and law s of the U nitcd States. Plaintiffs set forth several generalized allegations that fail to

    dem onstrate specificconductby the Foreign Defendantsthatoccurred in,orwastargeted toward,

    theUnited States. Forexample,Plaintiffsgenerally allege thateach Foreign Defendantisin the

    business of designing, developing,manufacturing,marketing,and selling automobiles (see
    D.E.2762 at!!26,28,32) buttheseallegationstakenastruedonotestablish thattheForeign
    Defendants conducted thisactivity in,or targeted ittoward,the United States. Asfor speciûc

    Foreign Defendants,Plaintiffsgenerally allege thatVolkswagen Group ofAm erica and Audiof

    America Scengagel)in business''activities,such as (tthe advertising,marketing and sale of'
    VolkswagenandAudiautomobiles,id at!27,29- buttheseallegations,againtakenastrue,say
    nothing aboutthe Foreign Defendants'specificconduct,1etalonethatthe conductoccurred in,or

    w astargeted tow ard,the U nited States. Furtherm ore,Plaintiffsgenerally allege that,collectively,

    the dom estic subsidiariesand the foreign parentcom orations çdengineered,designed,developed,



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    m anufactured,or installed the Defective Airbags''in the class vehicles,and ûdapproved thc

    Defective Airbags for use in those vehicles,'' while also (Cdeveloplingl, reviewgingq, and
    approvlingjthemarketingandadvertisingcampaignsdesignedtoselltheseClassVehicles,''id at
    !!31,33.Oncemore,theseallegations,takenastrue,failtoestablishanyspecificconductbythe
    Foreign Defendantsthattook placein,orwastargetedtoward,theUnited States.

           The closest Plaintiffs com e to alleging conduct in the U nited States concenzs only the

    Dom estic Defendants buteven these allegationsare lim ited to the tiadvertising,marketing and

    sale''ofonly VolkswagenandAudivehicles. Id at!!27,29.Notably,theseallegationsfailto
    specify the nature of the Foreign D efendants' involvem ent in, or control over, creating and

    m arketing the Stadvertisements and promotionalmaterials''thatdescribed the ClassVehiclesas

    d%safeandreliable,whileunifonuly omittinganyreferencetotheIntlatorDefect.''Id at!!219-
    222. AndwhilethePlaintiffsallegethey çkviewed orheard comm ercials''prom oting theddsafety,''

    kçdurability,''and Stdependability''of the Class Vehicles,see generally id. at !!39-127,it
    necessarily follow sfrom the deficientadvertising and m arketing allegationsthatPlaintiffsfailto

    allege the Foreign Defendantshad any contactsw ith the U nited Statesrelated to these prom otional

    m aterials.

           Put sim ply, even when taking Plaintiffs' generalized allegations as true, they do not

    establish that the Foreign Defendants had contacts with the United States, such that thcy

    klpurposefully availed''them selvesofthe privilegesand lawsofthe United States.SeeLeon,301

    F.Supp.3d at1229(ruling coul'
                                tlacked specificjurisdiction Overnonresidentdefendantswhere
    complaint alleged tsonly that the Airbag M anufacturer Defendants distributed their products

    generallyacrossthecountryand advertisedtheirproductsovertheinternet'').
                          c) ddstrcam ofCommerce''Theory



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          Plaintiffs also argue the Courtcan exercise specifcjurisdiction underthe çsstream of
    commerce''theory. Thatis,Plaintiffsarguethatspecifcjurisdiction isappropriatebecausethe
    Foreign Defendants designed and m anufactured m illions ofClassVehicles containing defective

    Takataintlators,which werethen soldto theDomesticDefendantsforsalenationally intheUnited

    States,and thustheForeign Defendantsinvokedthcbenefitsand protectionsoftheUnited States.

    (SccD.E.3034at59-62.)
           In a plurality opinion in AsahiM etalIndustry Co.,the Suprem e Courtdetenuined:

           The placem entofaproductinto the stream ofcomm erce,withoutm ore,isnotan
           act of the defendant purposefully directed tow ard the forum State. A dditional
           conductofthe defendantm ay indicate an intentto sen'e the m arket in the forum
           State,for example,designing the product for the market in the fonlm State,
           advertising in the forum State,establishing channelsforproviding regularadvice
           to custom ersin the fonlm State,orm arketing the productthrough a distributorwho
           hasagreedto serve asthesalesagentintheforum State.

    480U.S.at112(plurality).Subsequently,courtscoinedthistheddstream ofcommerceplus''test.
    See Vermeulenv.Renault,US.A.,lnc.s985F.2d1534,1548(11thCir.1993)(findingjurisdiction
    underdistream ofcommerceplus''analysis).
           The Suprem e Courtrevisited thisçcstream ofcommerce''analysis in J M clntyre M ach.,

    L/t;
       Iv.Nicastro,564U.S.873(2011).lnanopinionwrittenbyJusticeKennedy,apluralityofthe
    Suprem e Court opined that a defendant's ûitransm ission of goods perm its the exercise of

    jurisdictiononlywherethedefendantcanbesaidtohavetargetedtheforum;asageneralrule,it
    isnotenough thatthe defendantmighthave predicted thatitsgoodswillreach the forum State.''

    Id at882(plurality).lnanopinionconcurringinjudgment,JusticeBreyer,joinedbyJusticeAlito,
    concluded itwasûsunwise to almounce aruleofbroad applicability withoutfullconsideration of

    them odern-day consequences,''which JusticeBreyerconcluded the record inJ M clntyredid not

    Present.        887-88 (Breyer,J.,concurring injudgment). Underexisting Supreme Court



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    precedents and the im m ediate factualrecord,Justice Breyerconcluded thc l'ssomething m ore,'

    such as special state-related dcsign, advertising, advice, m arketing, or anything else,'' was

    lacking andthustherewasnojustificationforexercisingjurisdictionovertheforeigndefendant.
    Id at889.

           Because J Mclntyre did notproduce a majority opinion,the Courtmustfollow the
    narrow estholding am ong the plurality opinionsin thatcase. See M arks v.Unitedstates,430 U .S.

    188, l93 (1977). The narrowestholding comes from Justice Breyer's concurrence,which
    determ ined lsthe 1aw rem ainsthe same afterM clnt
                                                     yre.'' See AFTG-TG,LLC v.Nuvoton Tech.

    Corp.,689 F.3d 1358,1363 (Fed.Cir.2012). Accordingly,the Courtmustfollow applicable
    precedentfollow ing the Suprem e Court's existing stream -of-com m erce analysis. Id

           Plaintiffs' stream of com merce argum ent relies on the Eleventh Circuit's ruling in

    Vermeulen v.Renault, U S.A .,lnc.,where the courtapplied the 'istream of com m erce plus''test

    from the plurality opinion in Asahi. 985 F.2d at1548-52. ln Vermeulen,a G eorgia plaintiffwho

    suffered debilitating spinalinjuriesin a caraccidentsued the French state-owned automobile
    manufacturer Regie Nationale Des Usines Renault IISRNUR''Iand its American distribution
    affiliate pursuantto the Foreign Sovereign Im m unities A ct,alleging design defects in the vehicle

    thatshewasdriving when shewasinjured. 1d.at1537. TheEleventh Circuitdetermined the
    exerciseofspecificjurisdiction overRNUR satisfied due processbecause 'SRNUR intended its
    LecarstobebroughttotheUnited Statesandtooknumerousajhrmativestepstobringthatresult
    about....''16lat1550(emphasisinoriginal).
           ln determining thatRNUR purposely availed itselfoftherightsand privilegesofthelaws

    ofthe U nited States,the Eleventh Circuitem phasized thatRN U R ûsdesigned the RenaultLecarfor

    the Am erican m arket,''as the record showed thatRNUR m odified its vehicles içspecifically to



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    accom modate''American consm ers. Id at1549. The Eleventh Circuitalso focused on the fact

    that RNUR t'advertised its product in the United States,''tihad a large hand in directing''the

    nationwideadvertisingcampaign,andeven Cdreservedtherighttoveto''anyadvertisingcampaigns.

    Id Furthennore,the Courtnoted thatRNUR Stestablished channelsforproviding regularadvice

    to custom ers in the United States,''which included establishing dealerships thatCûincorporated

    Renault'sstrategiesand vision regarding the distribution ofitsproducts.''Id RN U R also tûcreated

    and controlled the distribution network thatbroughtitsproductsinto the United States,''and the

    record reflected in Distributor Agreem ents that RNUR çkretained ultimate control''over the

    network. Id at1550 (emphasisin original). Finally,theEleventh Circuitnoted thatRNUR'S
    involvem entwas further evidenced by Stthe extensive financialsupportrendered''to its dom estic

    distributor.       In short, the Eleventh Circuit determ ined that the plaintiffs sufficiently

    demonstratedtheidsomethingmore''thatjustisedexercisingfederaljurisdictionoverRNUR.
           H ere,in contrastto Verm eulen,and asoutlined supra,Plaintiffsdo notallege any factsthat

    the Foreign D efendants:designed the Class V ehicles in or specifically for the United States;

    directed any advertising campaign;established any channclsforadvising custom ersin theUnited

    States;created the distribution network in the U nited States;provided any financialsupportto its

    distributor;orotherwise controlled the Domestic Defendants. Indeed,Plaintiffs allege no facts

    explaining the corporate relationship,or specifying any contractual agreem ents,betw een any of

    the subsidiary Dom estic Defendantsand theirrespective foreign-based parents. Plaintiffsthus

    leave the Courtto inferwhich ofthe Foreign Defendants'contactssupporta finding ofspecific

    jurisdiction.C/ feon,301F.Supp.3dat1216& n.6(notingthelackofjurisdictionalallegations
    leftthecourtSsunabletoinferwhichofHonda'scontactswithFloridasupportgedjspecificpersonal
    jurisdiction'). W hilePlaintiffsallegetheDefendants,collectively,marketed and advertised the



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    ClassVehicles in the United States(D.E.2762 at!!27,29,31),and thatPlaintiffsobserved
    advertisementsabouttheClassVehicles,id at!!39-127,theseallegations,asdiscussedabove,
    failto delineate any ofthe Foreign Defendants'involvementorcontroloverthe marketing and

    advertising cam paigns in the United States. In short, Plaintiffs do not allege the necessary

    itsomethingmore''toinvokethisCourt'sjurisdiction overtheForeignDefendants.
           Plaintiffs rely on several other non-binding stream of com m erce cases, but each is

    distinguishable.Forinstance,PlaintiffscitelnreDepuy Orthopaedics,Inc.,PinnacleH i
                                                                                    p Implant

    Prod.Liab.Litig., 888 F.3d 753, 780 (5th Cir.2018) for the proposition that it lscalmot
    be ...nonm anufacturing parents categorically lie beyond the stream of com m erce no m atterthe

    nature oftheircontributions.'' (See D.E.3034 at49.) Butthere,the Fifth Circuitfound the
    nonm anufacturing parent corporation defendant engaged in            numbcr of factors that

    lûdistinguishgedl(itslrolefrom thepassiveparent-subsidiary relationship''thattheFifth Circuit
    holdsto be kûinsufficientto supportjurisdiction.'' See id at780 (discussing severalfactors,
    includingbutnotlim ited to,am erger,integrated design team s,patentassignm ents,and num erous

    jointadvertising and marketing efforts). Butas discussed above,Plaintiffs'generalized and
    conclusory allegations failto dem onstratethe Foreign D efendantsengaged in anything m ore than

    aSkpassive parent-subsidiaryrelationship.''
           Next,Plaintiffsrely on two Northern DistrictofAlabama caseswhich,actually,reached

    opposite conclusionsregarding the exercise ofspecificjurisdiction overforeign-based vehicle
    m anufacturers. Plaintiffs cite Tom as v.Bayerische M otoren W erkeA G ,2018 W L 4052177,at*3

    (N.D.Ala.Aug.24,2018),where the districtcourtinitially found itcould exercise specific
    jurisdictionoveraç'foreign manufacturergthatlsolditsvehiclestoarelatedentity,whichitknew
    tohaveanationwidedistribution channelin theUnited States.'' (SeeD.E.3034at50n.6.) But



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    upon reconsideration,the Tomas courtapplied the Eleventh Circuit'sStstream ofcomm erceplus''

    testforthe firsttime and reached the opposite conclusion. See Tomas v.Bayerische M otoren

    WerkeAG,2018 W L 6181172,at*3-4 (N.D.Ala.Nov.27,2018).Specifically,thecourtnlled
    thatitpreviously en'ed in relying on S'hypotheticalevidence,''which asked thecourtto ûsspeculate''

    as to the num berof vehiclessold in Alabam a. Id at *4. The courtalso explained that(teven

    assum ing''BM W A G lkûundoubtedly derived substantialrevenue from the sale ofthese productss'

    thiscontentiongwaslstilldconclusoryandinsufficienttosustainafindingofjurisdictionunderthe
    long-arm statute.'''      To reach this conclusion, the Tomas court distinguished Johnson v.

    Chrysler Canada Inc.,24 F.Supp.3d 1118 (N.D.Ala.2014)- the othercasePlaintiffscitein
    support(seeD.E.3034at60& n.22).ln sodoing,thecourtin TomasreliedonAskuev.Aurora
    Corp.ofAm.,whereadistrictcourtinGeorgiaruledthatallegationsthatadefendantmanufacturer
    dtundoubtedly derived substantial revenue from the sale of ...products'' and Ctengaged in a

    persistentcourse ofconductin Georgia by engaging adistributorto sellits products in thgatl
    market''were i'wholly conclusory and insufûcientto sustain a finding ofjurisdictionunderthe
    long-ann statute.'' 2012 W L 843939,at*4.

            Aside from these authorities,the weight of federalCircuit authority demonstrates that

    speciticjurisdiction underthestream ofcommercetheorywillnotbesustainedupon unspecitic
    and generalized allegations. See,e.g.,Shuker v.Sm ith & Nephew,PLC,885 F.3d 760,780

    (3dCir.2018) Csdeclinging)to adoptthe gplaintiffs'j stream-of-commerce theory of specific
    personaljurisdiction''and noting thatçsgtqhebarefactthat(a nonresidentdefendantjcontracted
    withagresident)distributorisnotenoughtoestablishpersonaljurisdictionintheState'')(citations
    omitted);Lesnickv.Hollingsworth drVoseCo.,35 F.3d 939,945(4th Cir.1994)($tTo permita
    statetoassertjurisdictionoveranypersoninthecountrywhoseproductissoldinthestatesimply



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    because a person must expectthat to happen destroys the notion of individualsovereignties

    inherentin our system of federalism. Such a rule would subjectdefendants to judgmentin
    locations based on the activity ofthird persons and notthe deliberate conductofthe defendant,

    makingitimpossiblefordefendantstoplan andstructuretheirbusincsscontactsandrisks.');St.
    Jarrev.HeidelbergerDruckmaschinen,A.G.,19 F.3d 1430 (4th Cir.1994)(afûrmingdismissal
    oflawsuitforlackofpersonaljurisdictionwheretherewasnoevidencetheforeignmanufacturer
    defendantd'designed the productsforthe m arketin Virginia,advertised in Virginia,established

    channelsforproviding regularadviceto custom ersinVirginia,ormarketed theproductthrough a

    distributorwho agreedtoserveasthesalesagentin Virginia''l;BridgeportMusic,Inc.v.StillN
    TheWaterPub.,327F.3d472,484n.11(6thCir.2003)(affirmingdismissalofallactionsagainst
    nonzesidentdefendantNTW understream ofcom merce plusapproach whereplaintifffailed to

    demonstrategroundsforjurisdictionbecausetsnocontractlanguagegwaslpresented''andbecause
    plaintiffdid notsetforth Slsufficientfacts''to find thatNTW Stactually required rdistributorjto
    market,distribute,orlicense''the infringing work in theapplicable forum);Palnikv.Westlake
    Entm 't,Inc.,344F.App'x 249,252(6th Cir.2009)(affirmingdismissaloflawsuitagainsttwo
    nonresident defendants under stream of com m erce theory- which required focus lton the

    distribution relationship'' because plaintiff's allegations did not provide tttreasonable

    particularity'as to''Sçthe relationship between the defendants'''and declining to 'iinfer thatan

    agreementofthesortnecessaryforjurisdictionunderBridgeport...existed').
           ln short,Plaintiffs'generalizedandconclusory allegationsfailto adequatelyplead thatthe

    Foreign Defendants purposefully availed them selves of the laws and privileges ofthe United

    States.Therefore,theCourtfindsthatundertheseallegations,exercisingspecifcjurisdictionover
    theForeignDefendantsunderRule4(k)(2)wouldnotcomportwith dueprocess.
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                  3. C onclusion

           Forthe foregoing reasons,the Courtfinds thatPlaintiffs'allegationsfailto establish a

   primafaciecaseofspeciicjurisdiction overtheForeign Defendàntspursuanttoeitherthestate
    long-arm statutesorthe federallong-arm statute. Therefore,allthe claim s asserted againstthe

    Foreign Defendants in the Transferor and Direct-File Actions are DISM ISSED for lack of

    personaljurisdiction.
                   JUR ISDICT IO NA L D ISC O V ERY
           Buried in the Om nibus Response,Plaintiffs argue that in the event the Courtdtis not

    convinced thatPlaintiffs'allegationsestablish personaljurisdiction,''the Courtshould Skdefer
    ruling ...untilthe partiescompletejurisdictionaldiscovery.'' (D.E.3034 at65.) Defendants
    oppose the Plaintiffs'conditionalrequest.

           iilFjederalcoul'ts have the power to order,attheir discretion,the discovery offacts
    necessary to ascertain theircom petency to entertain the m erits.'' Eaton v.D orchester D ev.,Inc.,

    692 F.2d 727,729 (11th Cir.1982)(citationsomitted). Sélljurisdictionaldiscovery is favored
    wherethereisagenuinedisputeconcerningjurisdictionalfactsnecessaryto decidethequestion
    ofpersonaljurisdiction;itisnotan unconditionalrightthatpennitsaplaintiffto seek factsthat
    would ultimatelyn0tsupportashowingapersonaljurisdiction.''Bernardelev.Bonorino,608F.
    Supp.2d 1313,1321(S.D.Fla.2009).Forseveralreasons,theCourtdoesnotfinditappropriate
    todeferrulingonthependingMotionstoDismissinordertocompletejurisdictionaldiscovery.
           First,the Eleventh Circuithas explained thatin certain cases district courts should not

    çsresel'verulingongapendingjmotiontodismissinordertoallow theplaintifftolookforwhatthe
    plaintiffshould havehad- butdidnot- befozecomingthrough thecourthousedoors,even though

    thecourtwould havethe inherentpow erto do so.'' Low ery v.Alabama Pow erCo.,483 F.3d ll84,

    1216 (11th Cir.2007).Andindeed,theparty who invokesfederaljurisdictionhastheburden of

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   establishing suchjurisdiction. Seeid (citing Fed.R.Civ.P.8(a)(1)($çA pleading thatstatesa
    claim for relief m ust contain ...a short and plain statem ent of the grounds for the court's

   J
   -'
    LICI
       -Sdiction....'')). fJwcry'sguide appliesto casesinvolving invocation offederalpersonal
   jurisdiction overnonresidentdefendants. See Yepez v.RegentSeven Seas Cruises,2011 W L
    3439943,at*2 (S.D.Fla.Aug.5,2011)(denying motion to stay ruling on motion to dismiss
    pendingjurisdictionaldiscoveryandnotingthelltypesoffactsplaintiffsareexpectedtoinvestigate
    prior to filing suit''include facts related to issues of personaljurisdiction over a foreign
    corporation)(citingftpwcry'
                              ,483F.3dat1216).Here,thePlaintiffswerewell-awareofthefact-
    intensive analysisthatfederalcourtsapply when deciding issuesofpersonaljurisdiction over
    nonresidcntdefendants. In lightofPlaintiffs'failure to investigate,collect,and allege sufficient

    factspriorto initiating thisstage ofthisnow 4-year-old com plex m ultidistrictlitigation lawsuit,

    the Courtdeclinesto deferruling on the pending M otionsto Dism iss.See,e.g.id.;Thompson,174

    F.Supp.3dat1338-39(rulingplaintiffwasdtforeclosedfrom pursuingjurisdictionaldiscoveryin
    an attem ptto m arshalfacts thathe Cshould have had- butdid not- before com ing through the

    courthouse'doors.'')(quotingftpwcry,483F.3dat1216).
           Second,Plaintiffs'informal(and conditional)requestfailsto itspecify whatinformation
    gplaintiffshavejsoughtorhow thatinformation would bolsterrtheirjallegations.'' See Iz
                                                                                        rzb//'v.
    Celebrity Cruises Inc.,683 F.App'x 786,792 (11th Cir.2017)(ruling districtcoul'tdid not
    improperly deny jurisdictionaldiscovery). For instance,Plaintiffs summarily assert(igtjhe
    jurisdictionaldiscoveryrequestsPlaintiffshaveservedaim toidentify Defendants'contactswith
    theUnitedStatesandvariousjurisdictions,aswellastheconnectionbetweenthesecontactsand
    Plaintiffs'claims.''(D.E.3034at66-67.) W ithoutmore,theCourtisunwillingtodeferrulingon
    the pcnding M otions to Dismiss. See I
                                         zJW/
                                            .J; 683 F. App'x at 792;Instabook Corp.



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   Instantpublisher.com,469 F.Supp.2d 1120, 1127 (M .D.Fla.2006) (denying request for
   jurisdictionaldiscovery andgrantingdefendant'smotiontodismissforlackofjurisdictionwhere
   plaintiffdidnottdexplainglhow suchdiscoverywouldbolsteritscontentions'').
           Third,thereisnogenuinefactualdisputeconcerningpersonaljurisdictionbecausenoneof
   the parties subm itted affidavitor declaration evidence in supportof,or in opposition to,the

   exerciseofpersonaljurisdictionovertheDomesticorForeignDefendants.W ithoutsuchadispute,
    it is unwarranted to extend this protracted litigation any longer by deferring a ruling on the

   othcrwise fully and extensively briefed M otionsto Dism iss. SeeBernardele,608 F.Supp.2d at

    1321 (i%gljurisdictional discovery is favored where there is a genuine dispute concerning
   jurisdictionalfactsnecessary todecidethe question ofpersonaljurisdiction ....'');Peruyero v.
   Airbus,S.A.S.,83 F.Supp.3d 1283,1290 (S.D.Fla.2014)(denying requestforjurisdictional
    discovery and granting motion to dismissforlack ofspecificjurisdiction wheretherewaslkno
    genuinedisputeonamaterialJ'urisdictionalfact'').
           Fourth,Plaintiffs'hedged request is procedurally im proper. lnstead of form ally m oving

    the Courtto deferruling on the pending M otionsto Dism iss,Plaintiffsbul'
                                                                            y theirrequestwithin

    theirOm nibus Response a requestthatisthen eonditioned upon the Courtnotbeing Stconvinced

    thatPlaintiffs'allegationsestablish personaljurisdiction.'' See D.E.3034 at65;United Techs.
    Corp.v.Mazer,556 F.3d 1260,1280-81(11th Cir.2009)(affirming districtcourt'sdenialof
    jurisdictional discovery where the plaintiff tknever formally moved the district court for
    jurisdictionaldiscoverybut,instead,buried suchrequestsinitsbriefsasaproposedalternativeto
    dismissing(defendantjonthestateofthecurrentrecord').
           Finally,in addition to never form ally ûling a motion,Plaintiffsalso never attempted to

    supplementtheirpositionwithanyjurisdictionaldiscovery,orotherwisesignaledtotheCourtthat



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   adeferredl'
             ulingwasappropriate.SeeUnited Techs.Corp.,556F.3d at1281(affirmingdistrict
   court'sdismissalon personaljurisdiction groundspriortojurisdictionaldiscovery becausethe
   plaintiffSlshould have taken every step possibleto signalto the districtcourtitsim mediate need

    forsuch discovery,''butfailed to take any ''reasonable stepsto seek discovery,ora deferralofa

    ruling pending discovery''during the severalmonthsthatthemotion to dismisswaspending).
    M oreover, this litigation has been pending for over 4 years and discovery has indeed been

    undertaken.Thus,Plaintiffshavehad many opportunitiesto supplem entthcrecord on thisissue.

    Thefactthatthey have notisindicativethatthere isno factualdispute on thisissue.

           Forthesereasons,Plaintiffs'informalrequesttodeferruling on personaljurisdiction if
    the Court is not tsconvinced that Plaintiffs' allegations establish personaljurisdiction'' is
    D EN IED .

                   C O N CLU SIO N
           In short,theCourtûndswith respectto the TransferorActionsthatthetransferordistrict

    courtscan exercisegeneraljurisdiction overtheDomesticDefendants;butthey cannotexercise
    generalorspeciicjurisdiction overtheForeign Dcfendants.AsfortheDirect-FileActions,the
    CourtfindsitlikewisecannotexercisegeneralorspecifcjurisdictionovertheForeignDefendants,
    butthatitcan exercisespecificjurisdictionovertheDomesticDefendantsastotheIUCO claims.
    W hethertheCourtcanexercisependentpersonaljurisdictionovertheDomesticDefendantsasto
    thePlaintiffs'remainingfederal,state,and com mon-law claim sintheDirect-FileActionsdepends

    upon whetherPlaintiffssufficiently plead plausibleRICO claims. See Koch,847 F.Supp.2d at

     1377-78(notingthatCtiftheonlyjurisdictionally suffcientclaim isdroppedordismissed ...the
    pendentclaim should be dismissed aswe11''). The Courtwillnow addressthe sufficiency of

    Plaintiffs'RICO allegations.

    111.    RICO

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           A.     (dPATTERN OF RACKETEERING ACTIVITY''- SECTION 1962(C)
           Plaintiffs assert federalRICO claims under 18 U.S.C.Section 1962(c) against each
   Defendant.TostateaplausibleSection 1962/)claim,PlaintiffsmustallegethatDefendants:(1)
    engagedinconduct(2)ofanenterprise(3)throughapattern (4)ofracketeeringactivity.Williams
    v.MohawkIndus.,Inc.,465F.3d 1277,1282(11thCir.2006),abrogatedonothergroundsbyRay
    v.SpiritAirlines,Inc.,836 F.3d 1340,l349(11th Cir.2016). Racketeering activity isdefined as
    anyactindictableunderanyofthestatutoryprovisionslistedin 18U.S.C.Section 1961(1),which
    includes m ailand w ire fraud in violation of 18 U .S.C .Sections 1341 and 1343. See K emp v.Am .

    Tel.& Tel.Co.,393F.3d 1354,1359(11thCir.2004).A lipatternofracketeeringactivity''requires
    thecommissionofatleasttwosuchactswithinaten-yearperiod.See 18U.S.C.#196145),
                                                                               *Ralput
    r.City Trading,LLC,476F.App'x 177,180(11thCir.2012).
           Plaintiffs'pattern of racketeering claim s are predicated on m ailand w ire fraud,and thus

    dtmustcomplynotonly with theplausibilitycriteriaarticulated in Twombly and Iqbal,butalsowith

    Fed.R.Civ.P.9(b)'sheightened pleading standard,which requiresthat$gijn alleging fraud or
    m istake,a party m ust state with particularity the circum stances constituting fraud Or m istake.'''

    Amer.DentalAss'nv.CignaCorp.,605F.3d1283,1291(1lthCir.2010)(quotingAmbrosiaCoal
    tf Constr.Co.v.PagesM orales,482F.3d 1309,1316n.10(11th Cir.2007:.klGiventheroutine
    useofmailandwirecommunicationsinbusinessoperations...g,1CRICO claimspremisedonmail
    orwire fraud m ustbeparticularly scrutinized because ofthe relative ease with which a plaintiff

    m ay m old a RICO pattern from allegations that, upon closer scrutiny, do not support it.'''

    Crawford v.Franklin CreditMgmt.Corp.,758F.3d 473,489 (2d Cir.2014)(quotingEh'on v.
    Embassy Suites(PuertoRico),lnc.,223F.3d 12,20(1stCir.2000)).
           TocomplywithRule9(b),Plaintiffsmustallege:$$(1)theprecisestatements,documents,
    ormisrcpresentationsmade;(2)thetime,place,andperson responsibleforthestatement,
                                                                                  '(3)the

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   contentandmannerinwhichthesestatementsmisledthePlaintiffs;and (4)whatthedefendants
   gained bythealleged fraud.'' Brooksv.BlueCrossdrBlueShield ofFla.,Inc.,116 F.3d 1364,
    1380-81(11th Cir.1997)+ercuriam)(citation omitted). In addition,theplaintiffmustallege
   particularfactswith respectto each defendant'sparticipation in the fraud. 1d.at 1381. ln other

    words,aplaintiffisrequired to setforth specitic allegationsasto each defendantthatwillfulfill

    the liwho,what,when,where,and how''pertaining to the underlying fraud. Garfeld v.NDC
    HealthCorp.,466F.3d 1255,1262(11th Cir.2006)(citationomitted).Atbottom,thepurposeof
    the particularity rule isto alertdefendantsto theirprecise misconductand protectthem against

    baseless chargesoffraudulentbehavior.See D urham v.Bus.M gmt.Assocs.,847 F.2d 1505,1511

    (11th Cir.1988)(citingSevilleIndus.M ach.Corp.v.SouthmostMach.Corp.,742F.2d786,791

    (3dCir.1984)).
           Here,Plaintiffsfailto plead w ith sufficientparticularity thatany ofthe Defendantsengaged

    in a pattern of racketeering activity prem ised on m ail and w ire fraud. Far from Ctprecise,''

    Plaintiffs' allegations describe in general term s the contents of the D efendants' internal

    com munications,and the Defendants'comm unicationswith Takata,governmentauthorities,and

    the public. By w ay ofexam ples,Plaintiffs allege D efendants'dtpattel'
                                                                          n ofracketeering activity in

    violation of the mail and wire fraud statutes'' include, inter alia'
                                                                       . internal comm unications

    concerning itdeviations from''and Stapproved deviationsfrom ''USCAR Specifications,and the

    ç'repeatedfailureofTakata'sintlatorstomeettheUSCAR Specifications''(D.E.2758at!!211(a),
    (c);D.E.2759at!217(a);D.E.2762 at!J314(b)(iii));internalcommunicationsconcerning lithe
    instabilityandvolatilityofammonium nitrate''(D.E.2762at!!280(a)-(b));communicationswith
    Takataregarding Skcountlessshipmentsof,andpaymentsfor,millionsofinflators''(D.E.2758at
    !J211(b);D.E.2759at!217(b);D.E.2762at!!279(b),313(b));andcommunicationswithTakata



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   concerningtsaninflatorrupturethatoccurred duringtesting''(D.E.2758at!211(d);D.E.2759at

   !2l7(d)).
          Taken together as true, while Plaintiffs' allegations dem onstrate Defendants had

    knowledge ofissueswith Takataairbags- and knowledgeisnotsubjectto Rule9(b)pleading
    requirements,Fed.R.Civ.P.9(b) beyond this,the allegations(çprovideno basisin factupon
    whichtheCourtcouldconcludethatanyspecificactofanyspecificDefendantg)isindictablefor
    mailorwirefraud,''Brooks,116 F.3d at1381. Forinstance,Plaintiffs'allegationsfailto explain

    how theStdeviationsfrom''orlsfailuretom eet''theUSCAR specificationshad any connection with

    vehicle safety or nationwide recalls based on the intlator defect,let alone how those alleged

    deviations or failures constitute m ailor w ire fraud. And Plaintiffs'allegations aboutpurchases

    and shipmentsofinflatorsseem to assum ethesecomm unicationsare fraud based,butthey donot

    allege additional details explaining how these otherw ise routine business com m unications

    constitute fraud.
           Plaintiffs'failure to link FCA 'S and V olksw agen's alleged com m unicationsto fraudulent

    conductare highlighted by the lack ofa single quote,from a single communication on a specific

    date,between any specificpersonnelatFCA orVolkswagen,with Takata personnel,with federal

    regulators,orwiththepublic.Consequently,Plaintiffsfailtoallegetheûswho,what,when,where,

    andhow''pertainingtothealleged fraud.Garheld,466F.3dat1262;seealsoBrooks,116F.3d
    at 1380-81 (noting that a plaintiff must allege Slthe precise statements, documents, or
    misrepresentationsmade,''andçlthetime,place,andpersonresponsibleforthestatemenf').
           A s forthe allegations against General M otors and M ercedes,Plaintiffs include only a

    handfulofallegationsinvolving specificpersonnel. Buttheseallegationsareseparately deficient

    because the Plaintiffs stillfailto allcge either ''the precise statements...ormisrepresentations



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   made''orfailtoallegetheçscontentand mannerin which theg)statementsmisled thePlaintiffs.''
   Brooka,116F.3dat1380-81;seealsoLawriev.GinnDev.Co.,LLC,656F.App'x464,474(11th
    Cir.2016)($ûRule9(b)requiresmore than an allegation thata misrepresentation wasmade;it
    requiresaplaintifftoidentify withprecisionwhatthemisrepresentationactuallywas.'').
           TheallegationsagainstGeneralM otorsinclude only a single com munication involving a

    specific GeneralM otorsem ployee. Plaintiffsallege thatLeo K now lden ofG eneralM otors senta

    communication to (an unspecified person)atTakatathatkddemanded thatTakata çputthe story
    togetherthatmay potentially lim itthe scope'ofa recall,following the field nzpture in a 2013

    ChevroletCruze.'' (D.E.2759at!217(i).) Plaintiffsthen ccmclusorily allege thatKnowlden's
    statem entwasmadeSiin orderto concealthescopeand natureofthelntlatorDefectand to promote

    thepurported safetyofGM vehicles.''Id Plaintiffsdonotallegewith particularity,however,hOw

    this singular statem ent which issusceptible to num erousexplanations---constitutesfraud.

           Then,while Plaintiffs'allegations against M ercedes reference several comm unications

    w ith greater specificity than other Defendants,upon close inspection,these allegations are also

    deficient. First,Plaintiffsreference multiple em ailcomm unicationsbetween M atthiasHaupt,a

    vicepresidentofTakataAG,andotheremployeesofTakata(D.E.2762at!!314(e)-(9,andone
    em ail exchange betw een H aupt and M ike Rains, the G overnm ent A ffairs Specialist at TK

    Holdings,lnc.,id at!317(h). In these internalTakata communications,Hauptdiscussesan
    upcom ing visit by Professor Rodolfo Schöneburg, Head of Vehicle Safety, Durability and

    Corrosion Protection atM ercedesCars,with Takata'sProductSafety Group.'' 1d.at!314(e).
    Hauptalso describesdtanotherhigh lcvelm eeting with M ercedesCarsPurchasing''asgoing dtvery

    welldespite the bad news''aboutcertain inflatorm odels,and thatdr aimlerstays comm itted to

    keep (Takataj $as aplayerin the industry.''' 1d at!314(9. Then,Hauptand Rains discuss


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   N HTSA'S(Cprelim inary Evaluation''ofintlators,and questionnaire,asappliedtoM ercedes.f#.at

   !314(h).Specifically,RainsinformsHauptthattdDaimlerwasgmistakenlylincludedonourletter
   to NHTSA yesterday. Ourrecordsshow thatthey are notaffected by therangesweposted.''Id

    (alterationinoriginal).RainslatertellsHauptthatTakatad'verballytold IINHTSAJthatDaimler
    shouldnotbeonthelist.''ItL (alterationin original).W hiletheseallegationsincludethedtperson
    responsible''forthe statem ents,none ofthe personsinvolved in these com m unications worked for

    M ercedes. Furtherm ore,while these comm unications m ay help supporta RICO claim against

    Takata,Plaintiffsdo notexplain how these internalTakata com municationscan be extended to

    supportaclaim thatM ercedescomm itted mailorwire fraud.

           Second,Plaintiffs allege multiple internal communications between specific M ercedes

    employeeson specificdates.1d.at!!314(b)(ii),(iv)-(vi).) Butthistim e,the contentsofthese
    com m unications are described,atbest,in generalterm s. For instance,Plaintiffs allege Brandon
    M arriott, a Product Engineer fOr Daim ler Chzysler, com m unicated to Steve Stram , another

    engineer at Daim ler Chzysler,thata Takata am m onium nitrate inflator had perform ance issues''

    andthatSsshot'inflators''used intestsçûhighlightan ongoing quality issue.'' 1d.at!314(b)(ii).
    PlaintiffsthenallegethatStram madeothercommunications(tounknownrecipients)dkregarding''
    variousissues,including tsTakata inflatorvariability,''çideploymentsin which intlatorfragm ents

    wereexpelled,''andTakata'sfailuretotdcomply with USCAR requirements.''Id at!314(e)(v).
    Plaintiffs also allege Stram m ade other communications to Takata that Ssdiscussed additional

    performanceissueswithTakata'sintlators''andCçregardledqhisinspectionoftheMonclovafacility
    afteritsammonium-nitrate-fueled explosion.'' Id at!!314(e)(iv),(vi). Holding asidewhether




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   thestatementsm adeby DaimlerChryslerl6em ployeescan beattributedto M ercedes,thecontents

   ofthese comm unicationstaken togetherdonotallege fraudulentconductby M ercedes- letalone

   with requisiteparticularity. lnstead,Plaintiffsleave ittotheCourtto fillin theblanks.

          Finally,Plaintiffs do allege one communication between a specific M ercedes employee

    and a specificTakataemployee,on a specificdate,thatincludesspecificcontents:

          lnanemaildatedJanuay 21,2016,from DanielFahrbach,ExecutiveAssistantto
          theExecutiveVicePresldentofMercedesCarsProcurementandSupplierQuality
          atDaimlerAG,tootherDaimleremgloyeesandTakataemployeesinGermanyand
          the U nited States, including M atthlas H aupt of Takata, Fahrbach sum m arizes a
          January 19, 2016,m eeting between Daimler and Takata and notes that,as a
           tdtechnicalupdate''onthetûActualSituationAirbagInflators,''(1)(tltlhehigherthe
           temperatureisthemorelikelyistheruptureoftheintlatorinthefield'';(2)aSifield
           ruptureofaSD1M odulein South Carolina''(amoduleusedbyiigtjhesprinter''dtat
           thedriverairbaf');and(3)$ç3 (PSDI51inflatorswererupturedduringtestingthis
           week ....700.000M B carsintheU.S.havethismodule'';and(4)d'Daimlerstates
           clearly thatthereisastrong willto continuebusinesswith Takata.

    fJ.at!314(g).Again,though,Plaintiffsdonotallegehow thesespecificstatementsconstituted
    fraud. Indeed,Plaintiffs failto allege any statem ents m ade by M ercedes to federalregulators or

    to the general public, w ith requisite particularity, that w ould allow the Court to infer that

    M ercedes'sinternalcomm unications,oritscom municationswith Takata,constitutem ailorwire

    fraud. See Lawrie,656 F.App'x at474 ($tRu1e9(b)requires more than an allegation thata
    m isrepresentation was made; it requires a plaintiff to identify with precision what the

    misrepresentationactuallywas.'').



            16 A sM ercedes points outin its M otion to Dism iss,som e ofPlaintiffs'allegations against
    Mercedes,such asthese,çiappeartorelateto a separateand distinctChryslercompany.'' (D.E.
    2988 at 48 n.22.) Mercedes argues that the Plaintiffs diconflate two distinct companies:
    DaimlerchryslerAG and DaimlerchryslerCorporation.'' Id Mercedesgoeson to arjuethat
    DaimlerchryslerCorporation tûdesigned,manufactured and sold (and purchased airbag lnflators
    for)Chrysler,Dodgeand Jeep vehiclesuntilitsbankruptcy in 2009,''and (sgaltnotime...ever
    designgcdl,manufacturerdj,or(soldjM ercedes-Benzvehicles.''I6l ltappearsthatthePlaintiffs'
     Om nibus Response doesnotchallenge orotherwise clarify M ercedes's argum enton thispoint.


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          The problem with the overall lack of specificity in Plaintiffs' allegations is further

   compounded by the fact that Plaintiffs imprecisely lump together each of the Defendants'

   corporate families. As a prime example,Plaintiffs define tivolkswagen''to include both the

   domestic-subsidiarycorporations(VolkswagenGroupofAmericaandAudiofAmerica,LLC)and
    the two foreign-based parent corporations (Volkswagen Aktiengesellschaft and Audi
    Aktiengesellschaft)(seeD.E.2762at!!30,280(a)-(l)).Plaintiffsdothesameastothecorporate
    familiesofGeneralMotorsandM ercedes.(SeeD.E.2759at!!2,217(a)-(n);D.E.2762atj!33,

    314(a)-(i).)
           A s the Eleventh Circuit has explained,because çdfair notice''is perhaps the m ost basic

    consideration underlying Rule9(b),plaintiffs who plead fraud kçmust reasonably notify the
    defendantsoftheirpurportedroleinthescheme.''Brooks,116F.3dat1381(intelmalcitationsand
    quotationsomitted). Thismeansthatin a case involving multiple defendants,dtthe complaint
    shouldinform cach defendantofthenatureofhisallegedparticipationin thefraud.''Id (quoting
    Divittorio v.Equidyne Extractive Indus.,Inc.,822 F.2d 1242,1247 (2d Cir.1987));see also
    ViridisCorp.v.FCW Glob.CreditM asterFun4 LP,155F.Supp.3d l344,1362(S.D.Fla.2015)
    (noting that when plaintiffs advance RICO claims premised on mail and wire fraud, the
    tdDefendants are entitled to know the specific allegations thatare being brought against each

    individualDefendant....'').
           For this additional reason, the Court finds that Plaintiffs' RICO claim s, which are

    predicated on m ail and w ire fraud,are not alleged w ith sufficient particularity as required by

    Rule9(b). SeeBrooks,116 F.3d at1381(aftirming dismissalofRICO claimsunderRule9(b)
    standardsbecauseplaintiffsçssimply tlumped together'a1loftheDefendantsin theirallegationsof




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   fraud'')(quoting Vicom,lnc.v.HarbridgeMerchantServs.,lnc.s20F,3d771,778(7thCir.1994)),
                                                                                        .
    Viridis Corp.,155 F.Supp.3d at1362.
           To be clear,though,theCourtdeclinesto dismissPlaintiffs'RICO claim ssolely on group

   pleading grounds- asM ercedes and Volkswagen request(see D.E.2988 at48-50)- because
   using collective references isnotan im perm issible pleading form perse. See SprintSols.,Inc.v.

    Fils-Amie,44 F.Supp.3d 1224,1227 (S.D.Fla.2014)CûgA)plaintiffmay plead claimsagainst
    multiple defendants by referring to them collectively,for example by referring to a group of

    defendantsasidefendants,''')(citing Crowev.Coleman,l13F.3d 1536,1539 (1lth Cir.1997));
    Toback,2013W L 5206103,at*2 Cs-fhoughPlaintiffreferstoDefendantscollectivelyasSGNC,'
    he has alleged sufficient factual detail to put D efendants on notice of the nature of the claim s

    againstthem,satisfyingtherequirementsofRule8.'').W henplaintiffsusecollectivereferences,
    they çsareconstruedasapplyingtoeach defendantindividually,''thatis,theyStsimplysignalg)that
    D efendants are both alleged to have participated in the conductatissue.'' SprintSols.,Inc.,44 F.

    Supp.3dat1227(citingCrtpwc,113F.3dat1539).Butcollectivelyreferencingdefendantsksmost
    often creategslproblems when broad allegationsare directed ata large and diverse group of
    defendants,leavingunclearjustwhoisallegedtohavecommittedwhichacts.''1d.Here,theCourt
    findsPlaintiffs'unspecificallegationsçsrunlqafoul''ofRule9(b)pleadingstandardsinpartbecause
    theallegationsfailto givethcindividualDefendantssuffcientnotice ofthefraud they arealleged

    to have comm itted.Seeid.
            ln short,w hile Plaintiffs advance extensive allegations to supporttheir substantive RICO

    claim,Rule9(b)requiresthatPlaintiffspleadtheseallegationswithparticularity.Asshownabove,
    Plaintiffshavefailed todo so. And Rule9(b)doesnotpermittheCourttoassemblePlaintiffs'
    allegationsSûinto acollageoffraud.''fawrie,656 F.App'x at474.



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          N ow,theCourtism indfulthatitpreviously declinedto dismissRICO claim sinthiscase.

   See In re Takata Airbag Prod.Liab.Litig.,2015 W L 9987659,at*2. Butthe Court'sprevious

   ruling isnotinconsistentwith finding thatPlaintiffs'RICO allegationsagainstthese Defendants

    lack therequiredparticularity underRule9(b).Duringtheopeningactofthislitigation,4years
    ago, the consum er plaintiffs asserted only tw o claim s for violations of RICO :a claim under

    Section l962(c)againstTakata,and aclaim underSection l962(d)againstTakataand Honda.
    (SeeD.E.579at150,162.)TheconsumerplaintiffsdidnotallegeviolationsofRICO againstany
    ofthe otherautom otivem anufacturing and distributing defendantsthatwere previously involved

    inthislitigation(e.g.BM W ,Ford,Mazda,M itsubishi,Nissan,Subaru,orToyota).(Seegenerally
    D.E.579.) lnstead,theconsumerplaintiffslimitedtheirsubstantiveRICO claim toTakata the
    defendant unequivocally at the center of this litigation- and their RICO conspiracy claim to

    Takata and a single automotive manufacturerand distributor(e.g.Honda). The Courtreadily
    acknowledges that the plausibility of the allegations underlying those lim ited RICO claim s

    presented a close question. But ultim ately, the Court found those allegations sufticiently

    particularizedunderRule9(b)to survivaldismissal.
           ln thisact,4 years laterand w ith the opportunity to conductdiscovery and supplem entthe

    record,the Consumer Plaintiffs here asserteightclaim s forviolations of RICO:claims under

    Sections1962(c)and 1962(d)againsteach ofFCA,GeneralM otors,Mercedes,andVolkswagen.
    (And thisdoesnotincludethetwenty claimsforviolationsofRICO asserted by theçsRecycler
    Plaintiffs,''which comprise claimsunder Sections1962(c) and 1962(d)againsteach ofFCA,
    GeneralM otors,M ercedes,Volkswagen,BM W ,Honda,M azda,Nissan,Subaru,and Toyota.)
    Despitethebenefitofyearsofdiscovery,the substantive RICO allegationsagainsttheimmediate

    Defendants are considerably m ore generaland conclusory than the allegationsasserted against



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   TakataandHonda,whichjustsurvivedRule9(b). (CompareD,E.2758at!!211(a)-(k)(FCA),
   and D.E 2759 at!!217(a)-(n)(GeneralM otors),and D.E.2762 at!!280(a)-(1),314(a)-(i)
   (Volkswagen andM ercedes),withD.E.579at!!427(a)-(u).) Consequently,theCourtfindsthe
   m ore generaland conclusory allegationspresented here certainly lack the speciticity required to

    satisfyRule9(b).
           Therefore,Plaintiffs fail to allege w ith suffcient particularity a pattern of racketeering

    activityunderSection 1962(c).Furthermore,becausethefailuretopleadapatternofracketeering
    doomsPlaintiffs'Section 1962(c)claims,the Courtneednotreach Defendants'argumentsthat
    Plaintiffs failto plead association-in-factor proxim ate causation. As a result,the M otions to

    DismisstheSection 1962(c)claimsareGRANTED;Count2intheBoyd Complaint,Count2in
    the WhitakerComplaint,and Counts 1and 3 in thePuhalla ComplaintareDISM ISSED.

           B.     SdCONSPIRACY TO VIOLATE RICOM-SECTION 1962(D)
           Plaintiffs also assert RICO conspiracy claims under Section 1962(d) against each
    Defendant. Section 1962(d)makesitSçunlawfulforanyperson toconspireto violate anyofthe
    provisionsofsubsection(a),(b),or(c)ofgsection 19621.5' 18U.S.C.j 1962(d).TheDefendants
    argue thatPlaintiffs fail to adequately plead a RIC O conspiracy claim . ln addition,FCA and

    GeneralM otorsarguethatPlaintiffs'conspiracy claim smustalso failbecausethePlaintiffsfailto

    adequately pleadtheirsubstantiveRICO claims.
           Contral'y to FCA 'Sand GeneralM otors'ssuggestion,thereis$tno controllingauthority''in

    the Eleventh Circuit or in the Supreme Courtthat requires this Court to dismiss Plaintiffs'

    conspiracy claim ssim ply becausethesubstantiveRICO claim swere deficiently alleged.SeeAm.

    DentalAss'n,605 F.3d at 1296 n.6. lnstead,the Eleventh Circuithas txplained thatSiwhere a

    plaintiff fails to state a RICO claim and the conspiracy count does not contain additional

    allegations,gthenltheconspiracyclaim necessarilyfails.''Rogersv.Nacchio,241F.App'x 602,

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   609(11thCir,2007).Uponclosereview oftheAmendedConsolidatedClassActionComplaints,
   theCourtfindsthatPlaintiffs'conspiracy(oritovel'
                                                  tacts'')allegationsdonotkdcontain additional
    allegations.'' ltappears the tsovertacts''allegations w hich substantially rehash the pattern of

    racketeering allegations simply refram ethepattern ofracketeering allegationsin the contextof

    a conspiratorialagreem ent. Thus,the Courtcould dism issPlaintiffs'conspiracy claim son this

    basisalone.

           Buteven ifPlaintiffs'l'ovel'
                                      tacts''allegationsdo ûkcontain additionalallegations''separate

    from thepattern ofracketeering contentions,the CourtstillfindsthatPlaintiffsfailto plausibly

    allegea RICO conspiracy involving any oftheDefendants. Sé-l-he essenceofa RICO conspiracy

    claim is that each defendant has agreed to participate in the conduct of an enterprise's illegal

    activities.'' Solomonv.Blue Cross& BlueShieldAss'n,574F.Supp.2d 1288,1291(S.D.Fla.
    2008)(citing 18 U.S.C.j 1962(d))(emphasisin original). ThisCourthaspreviously held that
    iiproofoftheagreementisattheheartofaconspiracyclaim.''1d.(quotingInreM anaged Care
    Litig.,430F.Supp.2d 1336,1345(S.D.Fla.2006)).Plaintiffscanestablish aRICO conspiracy
    claim byshowingaDefendant:(1)agreedtotheoverallobjectiveoftheconspiracy;or(2)agreed
    to committwo predicate acts. Am.DentalAss'n,605 F.3d at 1293 (quoting Republic of
    #J?7J?nJ,119F.3dat950).A IUCO agreementnecdnotbeestablishedby directevidence;itmay
    be inferred from the conductoftheparticipants.Id

            Unlike Section 1962(c) claims predicated on fraud, conspiracy claims under
    Section 1962(d) must satisfy Rule8 pleading requirements. See id.at 1290-96 (evaluating
    Section 1962(d)claim underRule8,andfraud-basedSection 1962(c)claim underRule9(b));see
    alsoAssociatedIndus.Ins.Co.v.AdvancedMgmt.Servs.,Inc.,2014W L 1237685,at*7n.7(S.D.
     Fla.M ar.26,2014)('1Ru1e9(b)'sparticularity requirementdoesnotapply to RICO conspiracy



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        1s-''l.UnderRule8,though,RICO conspiracy claim scannotbesupported by allegationsthat
   clain'
   are içrnerely conclusory and unsupported by any factualallegations-'' Solom on,574 F.Supp.2d at

    1291(quotingRepublicofpanama,119F.3dat950).
           Here,Plaintiffs'conspiracy allegations fare no betterthan theirpattern of racketeering

    allegations. Plaintiffs generally allege that each Defendant Cdwas associated with''a RICO

    enterprisethatttagreedandconspiredtoviolate 18U.S.C.j1962(c),thatis,agreedtoconductand
    participate, directly and indirectly, in the conduct of the affairs''of the RICO enterprise.

    (SeeD.E.2758at!219;D.E.2759at!;225;D.E.2762at!!288,322.) Plaintiffsthen generally
    allegethateach Defendantand Takata:

           (SlharedinformationabouttheDefectiveAirbags'inherenttlaws,theirinabilityto
           m eetsafety speciscations,and abnorm alairbag deploym ents experienced by other
           autom akers;delayed and/orprevented therelease ofinculpatory inform ation;and
           m aintained a consistentpublic posture as to the scope ofvehicles affected by the
           DefectiveAirbagsand thesafetyrisksthose airbagsposed.

    (SeeD.E.2758at!220;D.E.2759at!226;D.E.2762 at!!289,323.) Plaintiffsf'
                                                                        urtherallege
    thatD efendants'and Takata's diclose cooperation on issues sunounding the lntlator Defect,their

    concealmentofthenatureandscopeofthelntlatorDefect,andtheirjointparticipationinpredicate
    acts ...is evidence ofthe conspiracy.'' 1d.

           Lookingbeyond thesegeneralcontentions,Plaintiffsalso assertallegationsagainstspecific

    Defendants. Like the pattern Ofracketeering allegations,Plaintiffs allege thatFCA Stengineers

    continued to approve the use ofammonium nitrate intlators''çûgdlespite being presented with
    deviation requestsand testresultsfrom Takata showing thatthe amm onium nitrate intlatorsdid

    notmeettheUSCAR specitications.'' (D.E.2758at!222(b).) Plaintiffsthen allegethatafter
    çienergetic disassemblies''occurred during testing and in the field between 2010 and 2013,that

    FCA dtdid notcom m ence an officialrecallforitsvehicles until2014,'5and even then,çilim ited the



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   scopeoftherecalltohumidpartsofthecountry.''1d.at!!222(c)-(e).Finally,Plaintiffsallege
   thatFCA Sffalsely claim ed thattheriskscaused by the lntlatorDefectdisappeared to thenorth of

    som earbitrary latitude in theAm erican South''and also l'm ischaracterized the lnflatorDefectas

    theproductofidiosyncraticmanufacturingtlaws.''ld at!222(e).
           Next,PlaintiffsallegethatGeneralM otorsknew theywereusingTakataairbagscontaining

    ammonium nitrateand tlexpressed concel'
                                          n to TakataaboutçAN gammonium nitrate)propellant
    stability,'''butSsultim ately did nothing to rem edy the problem and keptpurchasing intlators from

    Takata.''(D.E.2759at!227(b).)AswithallegationsagainstFCA,PlaintiffscontendthatGeneral
    M otorsw asaware of dtenergetic disassem blies''thatoccurred in testing,and in the field,between

    2010 and 2014,butthatGeneralM otorsfsfailed to take properaction and concealed from Plaintiffs

    and Classmemberstheirknowledge ofthese events,''and then along with Takata,Sideceptively

    blamed ganqairbag ruptureon amanufacturingproblem andissued only alimitedrecall.''f#.at
    !!227(c)-(d). Plaintiffs then allege thatGeneralMotorsikdid notcommence recallsfortheir
    vehiclesuntilapproxim ately Febnzary2014,''and thenm ischaracterized thelntlatorDefectasthe

    productofidiosyncraticmanufacturingflaws.''Id at!227(e).
           A s to V olksw agen,Plaintiffs allege that V olksw agen and Takata Ssknew thatpropellant

    degradation,including through moisture and tem perature,could lead to over-pressurization and

    nzpture,''and kçdiscussed ...adversetestresults''regarding ûsinflatorsnzptured during testing''in

    October2004 andFebruary2009.(D.E.2762 at!!290(a),(c),(9.) Plaintiffsf'urtherallegethat
    the SttGroup of Five W orking Com mittee,'of which Volkswagen was a member, discussed

    am monium nitrate propellantwith Takata,including m odule testing,helium leak testing,and

    temperature-and moisture related failure modes.'' Id at!220(d). Then Plaintiffsassertthat
    Volkswagen and TakataSkcomm unicated variousconcel'
                                                      nsabouttheinflators''followinga Takata



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   airbag rupturein testing conductedby Volkswagen inApril2009.Id at!220(e). Collectively,
   Plaintiffsallege V olksw agen tifailed to tim ely disclose these factsand eventsto the public in order

   toconcealthenatureandscopeoftheInflatorDefect.''Id at!!220(c)-(h).
           ln addition,Plaintiffsalso advance severalallegationsconcerning Takata's S'predicate acts

    in furtherance oftheconspiracy.''1d.at!291.Notably,theseallegations- which arerecycled
    againsteachoftheDefendants(seegenerally D.E.2758 at!!223-24;D.E.2759 at!228;D.E.
    2762 at!!291,326-327)- d0notinvolve any communicationsbetween Takata and any ofthe
    Defendants. lnstead,these allegationsfocusentirely on Takata's comm unicationswith Honda,

    federalregulators,and class vehicle ow ners.

           Even taking the allegations againstFCA,GeneralM otors,and Volkswagen astnze,the

    Coul'tcannotconclude thatany ofthese Defendantsentered into an agreementwith Takata $%o

    commitacriminalact.'' ViridisCorp.,155F.Supp.3dat1366(notingthatfailuretoallegeSlan
    agreem ent...to com m ita crim inalactisa glaring deticiency''in pleading a civilconspiracy claim

    under R1CO). These allegations demonstrate FCA,GeneralM otors,and Volkswagen had
    knowledge thatTakata airbagsinstalled in theirvehiclescould be defective- butthe allegations

    do notrise to the levelof demonstrating thatthese Defendantsentered into an agreementwith

    Takata to commitwire ormailfraud.

           The allegationsagainstM ercedespresentacloserquestion. In addition to severalgeneral

    allegationsaboutM ercedes'sknowledgeofthe alleged intlatordefects- which are insufficientto

    plead an agreementto comm ita criminalact- plaintiffsallegethatM erccdesdtm odified itsown

    spccifications forthe Takata inflators so thatthey w ould be easierforTakata to m eet,by agreeing

    to deviationsin orderto getthe lnflatorsapproved forinstallation.'' (D.E.2762 at!325(c).)
    Plaintiffs also allcge that M ercedes and Takata:itdecided together to forego key perform ance



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   requirem ents and resolve testing failures that they knew should have rendered the Defective

   Inflators unfit for approval''; tsagreed to ignore tests related to ballistic perform ance at hot

   temperatures'';and laterSçworked togetherto try to convinceNHTSA to reduce the scope ofthe

   recall.''1d.at!!325(d),(g)-(h),(p).Notably,noneoftheseallegationsincludeasingledateor
    identifyasinglepersonactingonbehalfofM ercedesorTakata.Seeid.at!!325(a)-(p).
          W hile Plaintiffs do plead a relationship beyond sim ple inform ation sharing,they stillfail

    to plausibly allege thatM ercedesentered into an agreementwith Takata to commitwire orm ail

    fraud. Earlierin this litigation,this Courtallowed RICO conspiracy claim sto proceed against

    Takata and Honda because the plaintiffsalleged thatTakata and Hondatook a series ofjoint
    actionsoverthe courseofa decade.See In re TakataAirbag prod.Liab.Litig.,2015 W L 9987659,

    at*2. Notably,the plaintiffs'allegations %juxtaposeldlcommunicationsbetween Honda and
    Takatawith atimeline ofTakata'salleged conspiratorialconductto implicatethatHondaacted in

    agreementwiththeobjectivesofthealleged conspiracy.''1d.
           For instance,there, the plaintiffs alleged that after an airbag in a 2002 Honda A ccord

    exploded in 2004,ésl-
                        londa and Takata investigatedthe incident''and Honda ktimm ediately shared

    a11availableinformation''with Takata.'' (D.E.579 at!438(a).) Theplaintiffsalso allegedthat
    within thesame year,t'Takata concealed and destroyed negativeresultsfrom secretairbagtestsit

    conducted in responseto the explosion,''and thatçsl-londawasaware ofTakata'ssecrettesting''

    because Honda and Takata com municated aboutthe incidentand 'sagreed to describe the 2004

    incident...asan 'anomaly.''' 1d.at!438(b). Theplaintiffsthen alleged thatin 2007,Honda
    Streported three airbag nzptures,al1causing injuries,to Takata,''and thatin addition to Honda
    deciding çsnotto ordera recallbutratherto awaitthe results ofa çfailure mode analysis'to be

    perform ed by Takata,''Honda and Takata tsagain chose to keep vitally important,safety-related



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   informationbetween onlythetwo ofthem.''Id at!438(c).Theplaintiffsassertedthat,alsoin
   2007,Hondaçûbegan collecting inflatorsretunzedtodealers''and dçfrom scrapyards''and sentthem

   to Takata forinvestigation,allwithoutinform ing vehicle ownersorregulators,''forwhattum ed

    outtobeayear-longstudyoftheIntlatorDefect.fJ.at!438(d).Theplaintiffsalsoallegedthat
    inSeptember2011,ttl-londaandTakatainitiatedajointanalysisintoan çoutsideofrange'incident
    thatoccurred''thesameyear.1d.at!438(h).
           Additionally,theplaintiffspleadedthatin2009TakataandHondatjointlydraftedaletter
    toNHTSALI''inresponsetoarequestforinformationregarding Honda'srecalls- which didnot
    include inform ation about the secret 2004 aizbag tests or the issues w ith Takata's M onclova,

    M exico m anufacturing plant- and thusHonda and Takata dçin concert,know ingly and consciously

    om itted and withheld crucial infonnation from governm ent regulators in order to prevent

    regulatory action that would have resulted in a broaderrecalland possibly regulatory sanctions.''

    1d at!438(9.And finally,theplaintiffsallegedthatalsoin2011,beforetdmassiveHondarecall
    expansions ginlDecember2011,Takataand Hondatjointly settled atleastonepersonalinjury
    lawsuit''where shrapnelfrom an exploding airbag severed the driver'scarotid artery,suggesting

    dtthejointdesireandeffortbyTakataandHondatoconcealtheexistenceoftheInflatorDefectand
    therisksposedbyitfrom regulatorsandfrom thepublic.''1d.at!438(g).
           Takentogetherastnle,theallegationsagainstTakataandHondashowedthattheytjointly
    and secretly'' investigated possible causes of certain airbag deployments, Cçdelayed and/or

    prevented the release of inculpatory inform ation,'' lsm isled regulatory authoritiesr'' and

    lçm aintained a consistent public posture as to the scope of vehicles affected by the Defective

    Airbagsand the safety risksthose airbagsposed.'' In re Takata Airbag Prod.Liab.Litig.,2015

    W L 9987659,at*2.
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           ln stark contrast,Plaintiffs'allegationsagainstM ercedes,even when taken astrue,do not

   demonstrate:ajointeffortby M ercedes and Takata to mislead regulatory authoritiesand the
   general public by restricting the release of,or exposure to,incriminating conduct,
                                                                                    'a joint
   investigation byM ercedesand Takatato detenninethecausesofafield airbag rupture;any after-

    the-factsharingofusedinflatorsfortestingpurposes;oranyjointpublicposition concerningthe
    inflatorissues letalone downplaying a field rupture incidentasan ûûanom aly.''N ()rdo Plaintiffs'

    allegationsinclude any dates,oridentify any speciticM ercedesorTakatapersomwl,thatwould

    enabletheCourtto Sjuxtaposecommunicationsbetween (MercedeslandTakatawith atimeline
    ofTakata'salleged conspiratorialconductto implicatethatgM ercedeslacted in agreementwith
    theobjectivesoftheallegedconspiracy.''1d.lnshort,theseglaringpleadingdeficiencies- which
    apply with equal vigor to the allegations advanced against FCA , General M otors, and

    Volkswagen- lead theCourtto find thatPlaintiffs'allegationsfailto sufficiently allegethatany

    oftheDefendantsentered into an agreementwith Takata to commitwire ormailfraud.

           Therefore,theM otionstoDismisstheSection 1962(d)claimsareGRANTED;Count3in
    the Boyd Complaint,Count3 in the Whitaker Complaint,and Counts 2 and 4 in the Puhalla

    Com plaintare D ISM ISSED .
    IV .    R EM AIN IN G CLA IM S IN DIR ECT -FILE A C TIO N S - PEN D ENT PE R SO N A L
            JU R ISD ICTIO N
            Finally,an issueremainsasto whethcrtheCourtcan exercisepersonaljurisdiction over
    the Domestic Defendants as to the Direct-File Plaintiffs' rem aining claim s, which include

    M agnuson-M oss W arranty Act claim s, and various state statutory and com mon-law claim s.

    Plaintiffsarguethe Coul'tmay exercisependentpersonaljurisdiction overtheseclaimsbecause
     they Ssclearlyarisefrom Sacommonnucleusofoperativefacts'''astheRICO claims.(D.E.3034
     at56-57.) Defendantsassel'tthe Coul'tcarmotexercisependentpersonaljurisdiction overthe


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   remainingclaimsbecausePlaintiffs'RICO claims theonlyjurisdictionally sufticientclaims
    areinadequatelypleaded andm ustbedism issed.

           The doctrine ofpendentpersonaljurisdiction arisesStwhere a federalstatute authorizes
   nationwideserviceofprocessand thefederaland stateclaim s Sderive from a comm on nucleusof

    operativefacts'....''Azalp LLC,2015 W L 12711232,at*5(quotingKoch,847F.Supp.2dat
    1374). lnsuch acase,Sçthedistrictcourtmay assertpersonaljurisdiction overthepartiestothe
    relatedstatelaw claimsevenifpersonaljurisdiction isnotothenviseavailable.''Id However,Ctif
    theonlyjurisdictionally suficientclaim isdroppedordismissed,particularly ifthatoccursearly
    in the litigation,the pendentclaim should be dismissed aswe1l.''Koch,847 F.Supp.2d at1377-

    78(quoting4A.W right& Miller,FederalPracticeandprocedurej 1069.7,p.236(2002)).
           EarlierinthisOrder,theCourtfound thatitcould exercisespecificjurisdiction overthe
    D om estic D efendants as to the R IC O claim s in the D irect-File A ctions pursuant to the- RICO

    nationw ideservice ofprocessprovision.Seesupra Section 1l.D .1.b. Separately,though,the Court

    dism issed the Plaintiffs'RICO claim sasinsufficiently pleaded.Seesupra Section 111.A sa result,

    Plaintiffs'remaining claimsagainstthe Domestic Defendants are çisubjectto dismissalunless
    (theyqcan 'independentlyestablish personaljurisdictionwithrespectto thoseclaims.''' Prou v.
    Giarla,62F.Supp.3d 1365,1374(S.D.Fla.2014)(quotingKoch,847F.Supp.2dat1378).
           TheCourtfindsthatPlaintiffscannotindependentlyestablishpersonaljurisdictionoverthe
    D om estic Defendants as to the Direct-File A ctions. First,unlike the federalRICO statute,the

    M agnuson-M ossW arranty Act- thePlaintiffs'lastremaining federalclaim---doesnotprovidefor

    nationwideserviceofprocess.SeeBluewaterTrading LLC v.FountainePajot,S.A.,2008W L
    2705432,at*2(S.D.Fla.July9,2008)(idr-l-jheM agnuson-MossActdoesnotauthorizenationwide
    service.''),aff'
                   d,335F.App'x 905(11th Cir.2009).Andsecond,theCourtalreadyfoundthatit



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   cannotexercisepersonaljurisdictionovertheDomesticDefendantspursuanttotheFloridalong-
   arm statute. See supra Sed ion l1.D .1.a.

          Asaresult,becausePlaintiffs'onlyjurisdictionallysufficientclaimshavebeendismissed,
    itnecessarily followsthatPlaintiffs'pendentclaims mustalso be dism issed. See Leon,30lF.

    Supp.3d at 1236 (stW ithout a surviving RICO claim on which to base pendent personal
   jurisdiction,theCourtcannotconsiderPlaintiffs'remainingstate1aw claims.'');Prou,62F.Supp.
    3dat1374 ($çHadPlaintiffproperlypledhisFederalRICO claims,theCourtwouldhavebeenable
    to exercise personaljurisdiction overhisremaining state law claims...underthe doctrine of
    pendentpersonaljurisdiction.'')(citingKoch,847F.Supp.2dat1377-78CdgllfthePlaintiffhad
    adequately pled aRICO causeofaction,underthedoctrineofpendentpersonaljurisdiction the
    Courtcould have exercised personaljurisdiction overDefendantswith respectto the state-law
    Clairn.
          s....'')).
           Therefore,theCourtDISM ISSES forlack ofpersonaljurisdiction a11remaining claims
    assertedbytheDirect-FilePlaintiffsl7againsttheDom esticDefendants.Consequently,theDirect-

    File A ctions are D ISM ISSED in theirentirety.

                                               C ON CLU SIO N

           Based on theforegoing,itis




           17AsdelineatedintheCourt'spriororder(seeD.E.3394at4-5& n.3),theFloridaDirect-
    FilePlaintiffsinclude:VictorKhottry(Boy+ ;DavidW hitaker(Whitaker);andJacquelineCarrillo,
    Steven Levin,HarperTucker,M ichaelC .K aufm an,M ary Jackson Robinson,Bladim irBusto,Jr.,
    RamoncitoIgnacio,SilviaGil,StephaniePuhalla,andCharlesSakolsky(Puhalla)(seeD.E.2758
    at23-24;D.E.2759at30, *D.E.2762at56-57).
            Thc non-Florida Direct-File Plaintiffs,a1lfrom the Puhalla Complaint,include:Efrain
    FerrerandSeanM cGinity(California);LindaDean (Kentucky);PattieByrd@ ew Jersey);Glenn
    M iller@ ew York);ChristopherAllen CobbandM ichaelRiddick (NorthCarolina);AngelaCook
    (Ohio);AngelaDickie and AntoniaDowling (South Carolina);and Alandrix Hanis,LateciaJ.
    Jackson,andChloeW allace(Texas).(SeeD.E.2762at56-57.)

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         ORDERED AND ADJUDGED thattheDefendants'M otionstoDismissareGM NTED

   IN PA R T and DEN IED IN PA R T as follow s:

          (1) M ercedes's and General M otors's M otions to D ism iss for lack of standing are
             D ENIED .

          (2)Volkswagen'sMotion toDismissforlackofstandingisGRANTED- bUtonly asto
             the claim s brought by the purported A udi sub-classes against V olksw agen,and the
             claim sbroughtby thepurportedVolkswagen sub-classesagainstAudi.Accordingly:

             (a)A11claimsasserted by AudiownersorlesseesagainstVolkswagen in Countsl2,
                 31, 32, 52, 53 are D ISM ISSED . ln addition, as for the com m on-law claim s
                 asserted against V olkswagen by A udi owners or lessees: Counts 6 and 8 are
                 DISM ISSED astotheAlabama,M ichigan,and Virginiasub-classes;and Count7
                 isD ISM ISSED asto the V irginia sub-class;and

             (b)Allclaimsasserted byVolkswagen ownersorlesseesagainstAudiin Counts 13,
                 14,15,16,17,18,19,23,24,26,40,42,43,46,47,48,and 55 are DISM ISSED .
                 ln addition,as forthe comm on-law claim sasserted againstAudiby Volkswagen
                 ownersorlessees:Count6isDISM ISSED asto theArizona,Arkansas,California,
                 Connecticut,Indiana,Kentucky,Ohio,South Carolina,and W isconsin sub-classes;
                 Count 7 is DISM ISSED as to the Arizona, Arkansas, Connecticut, Indiana,
                 Kentucky,Ohio,and W isconsin sub-classes;and Count8 isDISM ISSED asto the
                 A rizona, A rkansas, California, Connecticut, lndiana, K entucky, Ohio,
                 Pennsylvania,South Carolina,and W isconsin sub-classes.

          (2)M ercedes'sandVolkswagens'M otiontoDismissforlackofsubject-matterjurisdiction
             onpreemptionandprimaryjurisdictiongroundsisDENIED.
          (3)Defendants'M otionsto Dismissclaimsasserted by thenonresidentPlaintiffsin the
             TransferorandDirect-FileActionsunderBristol-MkersareDENIED.
          (4)TheForeignDefendants:A1lclaimsintheTransferorandDirect-FileActionsasserted
             against the Foreign Defendants (Daimler AG, Audi Aktiengesellschafl, and
             Volkswagen Aktiengesellschaft)arc DISM ISSED for lack ofpersonaljurisdiction.
              Consequently, D efendants D aim ler A G ,A udi Aktiengesellschah, and V olksw agen
              AktiengesellschaftareDISM ISSED.

          (5)TheDirect-FileActions:TheDircct-FileActionsareDISM ISSED in theirentirety
              forlackofpersonaljurisdictionovertheDomesticDefendantsandForeignDefendants.
          (6)TheTransferor Actions:A11RICO claimsasserted againstFCA,GeneralM otors,
              M crcedes,A udi,and V olksw agen are D ISM ISSED ,specifically:Counts2 and 3 in the
              Boyd Com plaint;Counts 2 and 3 in the W hitaker Com plaint;and Counts 1,2,3,and 4
              in thePuhalla Com plaint.


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          The Courtreserves nzling on the sufficiency ofPlaintiffs'remaining claims againstthe

   DomesticDefendantsin theTransferorActions.



          DONEAND ORDEREDinChambers, M iami,Florida,this VdayofJune,2019.

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                                                       tm til!o STATESDISTRICTJUDGE
    Copiesfurnished to:

    CounselofRecord




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